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 Deloitte Financial Advisory Services LLP
 555 12th Street NW Suite 400
 Washington, DC 20004-1207
 Telephone: 202.220.2120
 Facsimile: 855.405.2590
 Steven Stanton

 Financial Advisory Services Provider

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------- |
 In re:                                                          |
                                                                 | Chapter 11
 WESTINGHOUSE ELECTRIC COMPANY                                   |
 LLC, et al., 1                                                  | Case No. 17-10751 (MEW)
                                   Debtors.                      |
                                                                 | (Jointly Administered)
 --------------------------------------------------------------- |

     FINAL FEE APPLICATION OF DELOITTE FINANCIAL ADVISORY SERVICES LLP
      FOR COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
                  EXPENSES INCURRED AS FINANCIAL ADVISORY
              SERVICES PROVIDER TO THE DEBTORS FOR THE PERIOD
                 FROM MARCH 29, 2017 THROUGH MARCH 31, 2018
 Name of Applicant:                                                              Deloitte Financial Advisory Services LLP
 Authorized to Provide Services as:                                              Financial Advisory Services Provider
 Date of Retention:                                                              Nunc Pro Tunc to March 29, 2017
 Period for which Compensation and                                               March 29, 2017 through March 31, 2018
 Reimbursement is Sought:
 Amount of Compensation Sought as                                                                                         $893,289.85
 Actual, Reasonable, and Necessary:
 Amount of Expense Reimbursement Sought:                                                                                    $18,789.57
 Total Amount of Fees and Expense
 Reimbursement Sought as Actual, Reasonable
                                                                                                                          $912,079.42
 and Necessary (100%):
 This is (a)n: ____ monthly __ interim _X_ final application



 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, if any, are: Westinghouse
 Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833), Fauske and Associates LLC (8538), Field Services, LLC (2550),
 Nuclear Technology Solutions LLC (1921), PaR Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100),
 Shaw Global Services, LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster Construction Inc.
 (1673), Stone & Webster, Inc. d/b/a WECTEC Global Project Services Inc. (8572); Stone & Webster International Inc. (1586), Stone & Webster
 Services LLC (5448), Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina Energy
 Solutions, Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining
 Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC
 LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry Products International
 Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse Technology Licensing Company LLC (5961).
 The Debtors’ principal offices are located at 1000 Westinghouse Drive, Cranberry Township, Pennsylvania 16066.
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                   PRIOR MONTHLY FEE STATEMENTS FILED

                                   Amounts                Amounts Approved/          Holdback
                                   Requested               Pending Approval          Amounts
 Date Filed     Period         Fees       Expenses         Fees       Expenses         Fees
 Docket No.    Covered                                    (80%)        (100%)         (20%)

 9/8/2017      3/29/17 –
                            $212,481.70   $8,073.53     $169,985.36   $8,073.53     $42,496.34
   #1333        6/30/17
 9/14/2017     7/01/17 –
                             $74,130.35   $4,216.55     $59,718.92    $12,290.08    $14,929.73
   #1362        7/31/17
10/27/2017     8/01/17 –
                            $104,950.90     $2.24       $83,960.72      $2.24       $20,990.63
   #1644       8/31/17
11/03/2017     9/01/17 –
                             $85,324.10    $386.95      $68,259.28     $386.95      $17,064.82
     #1691     9/30/17
11/29/2017     10/01/17 –
                          $181,105.30     $4,043.91     $144,884.24   $4,043.91     $36,221.06
   #1829       10/31/17
01/09/2018     11/01/17 –
                          $147,717.80     $2,066.39     $118,174.24   $2,066.39     $29,543.56
   #2103       11/30/17
02/12/2018     12/01/17 –
                             $57,964.60         $0.00   $46,371.68        $0.00      $11,592.92
  #2507        12/31/17

03/12/2018     1/01/18 –
                             $19,831.90         $0.00   $15,865.52        $0.00       $3,966.38
  #2801        1/31/18
04/10/2018     2/01/18 –
                              $7,121.10         $0.00    $5,696.88        $0.00       $1,424.22
  #3057        2/28/18
05/08/2018     3/01/18 –
                              $2,143.80         $0.00    $1,715.04        $0.00        $428.76
  #3181        3/31/18

  Totals                    $893,289.85   $18,789.57 $714,631.88 $18,789.57         $178,657.97




                                            2
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                                       CUMULATIVE TIME SUMMARY
                             For the Period of March 29, 2017 through March 31, 2018

                                                                                   Total             Hourly
     Name                                      Position                                                                   Total Fees
                                                                                   Hours              Rate
     Minars, Scott                             Partner/Principal                   205.10                $592             $121,419.20
     Cohen, Mark                               Managing Director                    73.60                $592              $43,571.20
     Collins, Bryan                            Partner/Principal                     8.00                $592               $4,736.00
     Donohue, Alycia                           Managing Director                     1.00                $592                 $592.00
     Hiemstra, Jeffrey                         Managing Director                     3.60                $592               $2,131.20
     Johnston, Josh                            Managing Director                     7.90                $592               $4,676.80
     Stanton, Steven                           Managing Director                   110.60                $592              $65,475.20
     Larson, Jen                               Partner/Principal                     8.10                $592               $4,795.20
     Oliveti, Frank                            Managing Director                     1.20                $592                 $710.40
     Rohrs, Jane                               Managing Director                     0.50                $592                 $296.00
     Sasso, Anthony                            Managing Director                    32.30                $592              $19,121.60
     Storer, Glen                              Partner/Principal                     4.00                $592               $2,368.00
     Sturiale, Lisa                            Partner/Principal                     8.50                $592               $5,032.00
     Larson, Jen                               Sr. Manager                          21.40                $513              $10,978.20
     Stafford, Ted                             Sr. Manager                         217.10                $513             $111,372.30
     Strahle, Robert                           Sr. Manager                          89.50                $513              $45,913.50
     Matulewicz, Kari                          Manager                              68.30                $473              $32,305.90
     McGonigle, David                          Manager                             438.30                $473             $207,315.90
     Neyland, Tamsyn                           Manager                              21.40                $473              $10,122.20
     Sakuma, Takeru                            Sr. Consultant                       20.60                $406               $8,363.60
     Abrom, Carisa                             Sr. Consultant                       30.90                $350              $10,815.00
     Cooper, Carla                             Sr. Consultant                       77.80                $350              $27,230.00
     Letts, Joshua                             Sr. Consultant                      165.30                $350              $57,855.00
     Hommen, Kelly                             Consultant                           15.60                $340               $5,304.00
     Letts, Joshua                             Consultant                          223.70                $340              $76,058.00
     Cohen, Mark*                              Managing Director                     8.00                $296               $2,368.00
     Sasso, Anthony*                           Managing Director                     7.00                $296               $2,072.00
     Stafford, Ted*                            Sr. Manager                          33.30             $256.50               $8,541.45
     Letts, Joshua*                            Consultant                           10.00             $175.00               $1,750.00
     Total Fees                                                                  1,912.60                                 $893,289.85

  Average Hourly Billing Rate: $467.06




 * For each professional incurring non-working travel time, Deloitte FAS charged at half of that professional’s applicable billing rate. Hours
 captured by this category are limited to non-working travel time and are therefore not duplicative of time charged in any other category


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                   CUMULATIVE FEES BY CATEGORY SUMMARY
                   For the Period of March 29, 2017 through March 31, 2018


   Project Categories                                 Total Hours             Total Fees


   Accounting Consultative Services                         35.00             $18,673.20
   Dispute Consulting                                       13.20              $7,814.40
   Firm Retention                                            6.00              $2,838.00
   Litigation                                              412.50            $194,114.20
   Non-Working Travel                                       58.30             $14,731.45
   Preparation of Fee Applications                         172.10             $65,878.60
   Project Barracuda                                      1131.00            $540,691.60
   Project Bluefin                                          24.10             $12,791.60
   Project Bluefin – Post Closing                           47.60             $28,179.20
   Tax Consultative Services                                12.80              $7,577.60
   Total Fees                                             1,912.60           $893,289.85




                 CUMULATIVE EXPENSES BY CATEGORY SUMMARY
                   For the Period of March 29, 2017 through March 31, 2018

   Description                                                                  Amount

   Airfare                                                                     $8,149.58
   Ground Transportation                                                       $3,810.75
   Hotel                                                                       $5,988.29
   Meals                                                                        $810.06
   Telephone, Conference                                                         $14.89
   Internet Access While Traveling                                               $16.00
   Grand Total                                                               $18,789.57




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 Deloitte Financial Advisory Services LLP
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 Steven Stanton

 Financial Advisory Services Provider

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------- |
 In re:                                                          |
                                                                 | Chapter 11
 WESTINGHOUSE ELECTRIC COMPANY                                   |
 LLC, et al., 1                                                  | Case No. 17-10751 (MEW)
                                   Debtors.                      |
                                                                 | (Jointly Administered)
 --------------------------------------------------------------- |

  FINAL FEE APPLICATION OF DELOITTE FINANCIAL ADVISORY SERVICES LLP
   FOR COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
               EXPENSES INCURRED AS FINANCIAL ADVISORY
           SERVICES PROVIDER TO THE DEBTORS FOR THE PERIOD
              FROM MARCH 29, 2017 THROUGH MARCH 31, 2018

            Deloitte Financial Advisory Services LLP (“Deloitte FAS” or the “Applicant”), financial
 advisory services provider to the above-captioned debtors and debtors-in-possession (collectively,
 the “Debtors”) in these chapter 11 cases, hereby seeks allowance of compensation and
 reimbursement of expenses pursuant to section 330 of title 11 of the United States Code (the
 “Bankruptcy Code”), rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy
 Rules”), and rule 2016-1 of the Local Rules of the United States Bankruptcy Court for the Southern
 District of New York (the “Local Rules”), for the period commencing March 29, 2017 through
 and including March 31, 2018 (the “Final Application Period”). In support of this final fee
 application (the “Final Application”), Deloitte FAS respectfully represents as follows:


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, if any, are: Westinghouse
 Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833), Fauske and Associates LLC (8538), Field Services, LLC (2550),
 Nuclear Technology Solutions LLC (1921), PaR Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100),
 Shaw Global Services, LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster Construction Inc.
 (1673), Stone & Webster, Inc. d/b/a WECTEC Global Project Services Inc. (8572); Stone & Webster International Inc. (1586), Stone & Webster
 Services LLC (5448), Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina Energy
 Solutions, Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining
 Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC
 LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry Products International
 Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse Technology Licensing Company LLC (5961). The
 Debtors’ principal offices are located at 1000 Westinghouse Drive, Cranberry Township, Pennsylvania 16066.
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                                         JURISDICTION

        1.      The Court has subject matter jurisdiction to consider and determine this matter

 pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

 Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                        STATUTORY BASIS

        2.      The statutory predicates for the relief requested herein are: (i) sections 330 and 331

 of the Bankruptcy Code; (ii) rule 2016 of the Bankruptcy Rules; (iii) rule 2016-1 of the Local

 Rules; and (iv) the Compensation Order (as defined below). This Final Application has been

 prepared in accordance with General Order M-447, Amended Guidelines for Fees and

 Disbursements for Professionals in Southern District of New York Bankruptcy Cases, effective as

 of February 5, 2013 (the “Local Guidelines”), and the United States Trustee Guidelines for

 Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C.

 § 330, effective January 30, 1996 (the “UST Guidelines” and, together with the Local Guidelines,

 the “Guidelines”). Pursuant to the Guidelines, a certification regarding compliance with the

 Guidelines is attached hereto as Exhibit C.

                                         BACKGROUND

        A. General Background

        3.      On March 29, 2017 (the “Petition Date”), each of the Debtors commenced a voluntary

 case under chapter 11 of the Bankruptcy Code. The Debtors are authorized to operate their

 businesses and manage their properties as debtors in possession pursuant to sections 1107(a) and

 1108 of the Bankruptcy Code. No trustee, examiner, or statutory committee of creditors has been

 appointed in these chapter 11 cases.

        4.      The Debtors’ cases are being jointly administered pursuant to Bankruptcy Rule

 1015(b).




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        B. Interim Compensation and the Retention of Deloitte FAS

        5.      On May 24, 2017, the Court entered the Order Pursuant to 11 U.S.C. §§ 105(a),

 330, 331, Fed. R. Bankr. P. 2016, and Local Rule 2016-1 Establishing Procedures for Interim

 Compensation and Reimbursement of Expenses of Professionals [Docket No. 544] (the

 “Compensation Order”). Pursuant to the terms of the Compensation Order, retained professionals

 shall, among other things, file interim and final fee applications for approval of fees and expenses

 in accordance with the relevant provision of the Bankruptcy Code, the Bankruptcy Rules, and the

 Local Rules.

        6.      On August 11, 2017, the Debtors filed the Application of Debtors Pursuant to 11

 U.S.C. §§ 327(a) and 328, Fed. R. Bankr. P. 2014(a) and 2016, and Local Rules 2014-1 and 2016-

 1 for Authority to Employ and Retain Deloitte Financial Advisory Services LLP as Financial

 Advisory Services Provider to the Debtors Nunc Pro Tunc to the Petition Date [Docket No. 1129]

 (the “Retention Application”).

        7.      On September 5, 2017, the Court approved the Retention Application and Deloitte

 FAS’s retention as financial advisory services provider to the Debtors nunc pro tunc to the Petition

 Date [Docket No. 1299] (the “Retention Order”).

        8.      On June 12, 2018, the Debtors filed the Supplemental Application of the Debtors

 Pursuant to 11 U.S.C. §§ 327(a) and 328(a), Fed. R. Bankr. P. 2014(a) and 2016, and Local Rules

 2014-1 and 2016-1 for Authority to Expand the Retentions of Deloitte Consulting LLP nunc pro

 tunc to January 19, 2018 and Deloitte Financial Advisory Services LLP nunc pro tunc to February

 9, 2018 [Docket No. 3433] (the “Supplemental Retention Application”).

        9.      On June 27, 2018, the Court approved the Supplemental Retention Application and

 Deloitte FAS’s expanded retention as financial advisory services provider to the Debtors nunc pro

 tunc to February 9, 2018 [Docket No. 3489] (the “Supplemental Retention Order”).

         PRIOR FEE STATEMENTS FILED DURING THE FINAL FEE PERIOD

        10.     On September 8, 2017, Deloitte FAS filed its first combined monthly fee statement

 for interim allowance and payment of compensation in the amount of $212,481.70 and

 reimbursement of expenses in amount of $8,073.53 for the period from March 29, 2017 through

 June 30, 2017 [Docket No. 1333] (the “First Combined Monthly Statement Period”) pursuant to
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 the Compensation Order, requesting payment for 80% of fees and 100% of expenses for the First

 Combined Monthly Statement Period.

           11.   On September 14, 2017, Deloitte FAS filed its second monthly fee statement for

 interim allowance and payment of compensation in the amount of $74,648.65 and reimbursement

 of expenses in the amount of $4,216.55 for the period from July 1, 2017 through July 31, 2017

 [Docket No. 1362] (the “Second Monthly Statement Period”) pursuant to the Compensation Order,

 requesting payment for 80% of fees and 100% of expenses for the Second Monthly Statement

 Period.

           12.   On October 27, 2017, Deloitte FAS filed its third monthly fee statement for interim

 allowance and payment of compensation in the amount of $104,950.90 and reimbursement of

 expenses in the amount of $2.24 for the period from August 1, 2017 through August 31, 2017

 [Docket No. 1644] (the “Third Monthly Statement Period”) pursuant to the Compensation Order,

 requesting payment for 80% of fees and 100% of expenses for the Third Monthly Statement

 Period.

           13.   On November 3, 2017, Deloitte FAS filed its fourth monthly fee statement for

 interim allowance and payment of compensation in the amount of $85,324.10 and reimbursement

 of expenses in the amount of $386.95 for the period from September 1, 2017 through September

 30, 2017 [Docket No. 1691] (the “Fourth Monthly Statement Period”) pursuant to the

 Compensation Order, requesting payment for 80% of fees and 100% of expenses for the Fourth

 Monthly Statement Period.

           14.   On November 29, 2017, Deloitte FAS filed its fifth monthly fee statement for

 interim allowance and payment of compensation in the amount of $181,105.30 and reimbursement

 of expenses in the amount of $4,4043.91 for the period from October 1, 2017 through October 31,

 2017 [Docket No. 1829] (the “Fifth Monthly Statement Period”) pursuant to the Compensation

 Order, requesting payment for 80% of fees and 100% of expenses for the Fifth Monthly Statement

 Period.

           15.   On January 9, 2018, Deloitte FAS filed its sixth monthly fee statement for interim

 allowance and payment of compensation in the amount of $147,717.80 and reimbursement of

 expenses in the amount of $2,066.39 for the period from November 1, 2017 through November

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 30, 2017 [Docket No. 2103] (the “Sixth Monthly Statement Period”) pursuant to the Compensation

 Order, requesting payment for 80% of fees and 100% of expenses for the Sixth Monthly Statement

 Period.

           16.   On February 12, 2018, Deloitte FAS filed its seventh monthly fee statement for

 interim allowance and payment of compensation in the amount of $57,964.60 for the period from

 December 1, 2017 through December 31, 2017 [Docket No. 2507] (the “Seventh Monthly

 Statement Period”) pursuant to the Compensation Order, requesting payment for 80% of fees for

 the Seventh Monthly Statement Period.

           17.   On March 12, 2018, Deloitte FAS filed its eighth monthly fee statement for interim

 allowance and payment of compensation in the amount of $19,831.90 for the period from January

 1, 2018 through January 31, 2018 [Docket No. 2801] (the “Eighth Monthly Statement Period”)

 pursuant to the Compensation Order, requesting payment for 80% of fees for the Eighth Monthly

 Statement Period.

           18.   On April 10, 2018, Deloitte FAS filed its ninth monthly fee statement for interim

 allowance and payment of compensation in the amount of $7,121.10 for the period from February

 1, 2018 through February 28, 2017 [Docket No. 3057] (the “Ninth Monthly Statement Period”)

 pursuant to the Compensation Order, requesting payment for 80% of fees for the Ninth Monthly

 Statement Period.

           19.   On May 8, 2018, Deloitte FAS filed its tenth monthly fee statement for interim

 allowance and payment of compensation in the amount of $2,143.80 for the period from March 1,

 2018 through March 31, 2018 [Docket No. 3181] (the “Tenth Monthly Statement Period”)

 pursuant to the Compensation Order, requesting payment for 80% of fees for the Tenth Monthly

 Statement Period.

                                     RELIEF REQUESTED

           20.   By this Final Application and pursuant to the terms and conditions set forth in the

 Engagement Letter and Additional Financial Services SOW (as defined in the Retention

 Application and Supplemental Retention Application, respectively), Deloitte FAS requests

 compensation of 100% of its total fees in the amount of $893,289.85 during the Final Application


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 Period. Deloitte FAS also seeks reimbursement of its actual and necessary expenses incurred

 during the Final Application Period in the amount of $18,789.57, for a total requested

 compensation of fees and expenses of $912,079.42. Deloitte FAS submits this Final Application

 in accordance with the Compensation Order, Retention Order, and Supplemental Retention Order.

 All services for which Deloitte FAS requests compensation were performed for, or on behalf of,

 the Debtors.

                                          BASIS FOR RELIEF

        21.     This Final Application is the final fee application submitted by Deloitte FAS in

 these cases. By this Final Application, Deloitte FAS requests the approval of fees in the amount

 of $893,289.85 incurred during the Final Application Period.            The Applicant maintains

 computerized records of the time expended in the rendering of the professional services required

 by the Debtors. These records are maintained in the ordinary course of the Applicant’s business.

 A detailed statement of hours spent rendering professional services to the Debtors, in support of

 Deloitte FAS’s request of compensation for fees incurred during the Final Application Period, is

 attached hereto as Exhibit A. Exhibit A (i) identifies the professionals and paraprofessionals that

 rendered services in each project category; and (ii) describes each service such professional or

 paraprofessional performed.

        22.     Deloitte FAS also maintains computerized records of all expenses incurred in

 connection with the performance of professional services. By this Final Application, Deloitte FAS

 also seeks expense reimbursement of $18,789.57. A summary of actual and necessary expenses

 incurred by Deloitte FAS during the Final Application Period is attached hereto as Exhibit B.

 Deloitte FAS does not charge for photocopying, out-going facsimile transmissions, or long

 distance calls on faxes. Deloitte FAS customarily charges for conference call expenses.

        23.     No agreement or understanding exists between Deloitte FAS and any nonaffiliated

 or unrelated person or persons for the sharing of compensation received or to be received for

 professional services rendered in or in connection with these cases.



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                           DESCRIPTION OF SERVICES RENDERED

        24.       Deloitte FAS served or advised the Debtors in the following areas throughout the

 Final Application Period. Detailed descriptions of these services, the amount of fees incurred, and

 the amount of hours spent providing services throughout the Final Application Period are also

 provided in the attached Exhibit A.

 Accounting Consultative Services

 Hours 35.00, Amount $18,673.20


        •     During the Final Application Period, Deloitte FAS advised the Debtors regarding

              accounting matters in connection with the purchase of Stone & Webster.


 Dispute Consulting

 Hours 13.20, Amount $7,814.40

        •     During the Final Application Period, Deloitte FAS advised the Debtors in analyzing

              accounting, financial and construction cost information in connection with a dispute

              with Chicago Bridge & Iron related to its sale of Stone & Webster to the Debtors.

 Firm Retention

 Hours 6.0, Amount $2,838.00

        •     During the Final Application Period, Deloitte FAS incurred time analyzing the pre-

              petition fees and expenses incurred by the Debtors and Deloitte FAS’s employment

              retention procedures, and preparing Deloitte FAS’s employment application and

              declaration in support thereof.

 Litigation

 Hours 412.50, Amount $194,114.20

        •     During the Final Application Period, Deloitte FAS advised the Debtors in analyzing

              financial information and other data in connection with the purchase price adjustment
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                 between Westinghouse Electric Company and Chicago Bridge & Iron related to the

                 acquisition of outstanding equity interest of CB&I Stone & Webster Inc.

 Project Bluefin – Post Closing

 Hours 47.60, Amount $28,179.20

           •     During the Final Application Period, Deloitte FAS advised the Debtors in connection

                 with post-closing accounting for the purchase of Stone & Webster.

 Project Bluefin

 Hours 24.10; Amount $12,791.60

           •     During the Final Application Period, Deloitte FAS advised the Debtors regarding

                 accounting matters in connection with the purchase of Stone & Webster.

 Tax Consultative Services

 Hours 12.80, Amount $7,577.60

           •     During the Final Application Period, Deloitte FAS advised Debtors in connection with

                 tax matters related to the purchase of Stone & Webster.

 Project Barracuda

 Hours 1,131.00; Amount $540,691.60

           •     During the Final Application Period, Deloitte FAS advised the Debtors in analyzing

                 accounting, financial and construction cost information in connection with a dispute

                 with Chicago Bridge & Iron related to its sale of Stone & Webster to the Debtors.

 Non-Working Travel

 Hours 58.30, Amount $14,731.45

           •     During the Final Application Period, Deloitte FAS professionals traveled from their

                 respective residences to Dallas, Texas and New York, New York to attend meetings with

                 the Debtors.2


 2 For each professional incurring non-working travel time, Deloitte FAS charged at half of that professional’s applicable billing rate. Hours

 captured by this category are limited to non-working travel time and are therefore not duplicative of time charged in any other category.


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 Preparation of Fee Applications

 Hours 172.10; Amount $65,878.60

        •     During the Final Application Period, Deloitte FAS prepared monthly and interim fee

              applications for fees and expenses related to services rendered throughout the Final

              Application Period filed with the court.

  ALLOWANCE OF COMPENSATION AND ACTUAL AND NECESSARY EXPENSES

        A. Compensation Sought

        25.       Because of the benefits realized by the Debtors, the nature of services provided, the

 amount of work done, the time consumed and the skill required, Deloitte FAS requests that it be

 allowed, on a final basis, compensation for the professional services rendered during the Final

 Application Period in the sum of $893,289.85.

        26.       During the Final Application Period, allowance of compensation in the amount

 requested would result in a blended hourly billing rate for professionals of approximately $467.06.

 The fees charged by Deloitte FAS in these cases are billed in accordance with its existing billing

 structure and procedures in effect during the Final Application Period.

        27.       Deloitte FAS respectfully submits that the professional services rendered by

 Deloitte FAS on behalf of the Debtors during the Final Application Period were reasonable,

 necessary and appropriate to the administration of these chapter 11 cases and related matters.

        B. Reimbursement of Actual and Necessary Expenses Incurred by Deloitte FAS

        28.       As set forth in Exhibit B attached hereto, Deloitte FAS has disbursed, and requests

 reimbursement for, a total of $18,789.57 in expenses on behalf of the Debtors in providing

 professional services during the Final Application Period, which represents actual, necessary

 expenses incurred in the rendition of professional services in these cases.

        29.       Deloitte FAS believes that the actual expenses incurred in providing professional

 services during the Final Application Period were necessary, reasonable and justified under the

 circumstances to serve the needs of the Debtors in these cases.

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    DELOITTE FAS’S REQUESTED FEES AND REIMBURSEMENT OF EXPENSES
                   SHOULD BE ALLOWED BY THIS COURT

        30.     Section 330 provides that a court may award a professional employed under section

 327 of the Bankruptcy Code “reasonable compensation for actual, necessary services rendered . .

 . and reimbursement for actual, necessary expenses.” 11 U.S.C. § 330(a)(1). Section 330 sets

 forth the criteria for the award of compensation and reimbursement:
                In determining the amount of reasonable compensation to be awarded . . . the court
                shall consider the nature, the extent, and the value of such services, taking into
                account all relevant factors, including –

                (a)       the time spent on such services;

                (b)       the rates charged for such services;

                (c)       whether the services were necessary to the administration of, or beneficial
                          at the time at which the service was rendered toward the completion of, a
                          case under this title;

                (d)       whether the services were performed within a reasonable amount of time
                          commensurate with the complexity, importance, and nature of the problem,
                          issue, or task addressed;

                (e)       with respect to a professional person, whether the person is board certified
                          or otherwise has demonstrated skill and experience in the bankruptcy field;
                          and
                (f)       whether the compensation is reasonable based on the customary
                          compensation charged by comparably skilled practitioners in cases other
                          than cases under this title.

 11 U.S.C. § 330(a)(3).

        31.     In the instant case, Deloitte FAS respectfully submits that the services for which it

 seeks compensation in this Final Application Period were necessary for and beneficial to the

 Debtors and were performed economically, effectively, and efficiently. Deloitte FAS further

 submits that the compensation requested herein is reasonable in light of the nature, extent, and

 value of such services to the Debtors and all parties-in-interest. Further, in accordance with the

 factors enumerated in section 330 of the Bankruptcy Code, the amount of fees requested is fair

 and reasonable given: (i) the complexity of these cases; (ii) the time expended; (iii) the nature and

 extent of the services rendered; (iv) the value of such services; and (v) the costs of comparable




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 services other than in a case under the Bankruptcy Code. Accordingly, the approval of the

 compensation and expense reimbursement sought herein is warranted.

                      CERTIFICATE OF COMPLIANCE AND WAIVER

           32.   Finally, as set forth in Exhibit C attached hereto, the undersigned representative of

 Deloitte FAS certifies that Deloitte FAS has reviewed the requirements of rule 2016-1 of the Local

 Rules and that the Final Application substantially complies with that Local Rule. To the extent

 that the Final Application does not comply in all respects with the requirements of Local Rule

 2016-1, Deloitte FAS believes that such deviations are not material and respectfully requests that

 any such requirement be waived.
                 WHEREFORE, Deloitte FAS respectfully requests that the Court enter an order:

 (i) granting the allowance, on a final basis, of compensation for professional services rendered by

 the Applicant to the Debtors during the Final Application Period in the amount of $893,289.85,

 which represents 100% of the total compensation for professional services rendered during the

 Final Application Period; (ii) granting the reimbursement, on a final basis, of $18,789.57 of the

 actual and necessary costs and expenses incurred by Deloitte FAS in these cases during the

 Application Period; (iii) authorizing the Debtors to pay Deloitte FAS $912,079.42, which

 represents 100% of the compensation for services rendered and 100% of the total expenses

 incurred in connection with such services; and (iv) granting such other relief as may be just and

 proper.

 Dated: October 1, 2018
 Washington, DC                                        Respectfully submitted,

                                                       DELOITTE FINANCIAL ADVISORY
                                                       SERVICES LLP


                                                       /s/ Steven Stanton
                                                       Steven Stanton
                                                       Managing Director
                                                       555 12th Street NW Ste 400
                                                       Washington, DC 20004-1207
                                                       Telephone: 202.220.2120
                                                       Facsimile: 855.405.2590



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                            EXHIBIT A
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                       Westinghouse Electric Company LLC
                      Deloitte Financial Advisory Services LLP
                   Fees Sorted by Category for the Fee Period
                                    March 29, 2017 - March 31, 2018

Date                        Description                                 Rate    Hours      Fees

Accounting Consultative Services
03/29/2017
   Minars, Scott            Researched accounting issues              $592.00     1.4    $828.80
                            pertaining to bankruptcy reporting
                            issues
   Minars, Scott            Discussed status of WEC bankruptcy        $592.00     0.8    $473.60
                            and other ancillary accounting issues
                            on a call with T. Baird (WEC).
03/30/2017
   Minars, Scott            Discussed accounting issues               $592.00     0.3    $177.60
                            pertaining to bankruptcy reporting with
                            T. Sasso (Deloitte)
   Sasso, Anthony           Discussed accounting issues               $592.00     0.3    $177.60
                            pertaining to bankruptcy reporting with
                            S. Minars (Deloitte)
03/31/2017
   McGonigle, David         Meeting with T. Sasso, S. Minars          $473.00     0.9    $425.70
                            (Deloitte) and C. Weber (WEC) to
                            discuss current status of bankruptcy
                            process as it relates to financial
                            reporting and walked through financial
                            reporting requirements for accounting
                            for bankruptcy
   Minars, Scott            Meeting with T. Sasso, D. McGonigle       $592.00     0.9    $532.80
                            (Deloitte) and C. Weber (WEC) to
                            discuss current status of bankruptcy
                            process as it relates to financial
                            reporting and walked through financial
                            reporting requirements for accounting
                            for bankruptcy
   Minars, Scott            Researched bankruptcy related             $592.00     0.2    $118.40
                            accounting issues pertaining to WEC.
   Sasso, Anthony           Meeting with D. McGonigle, S. Minars      $592.00     0.9    $532.80
                            (Deloitte) and C. Weber (WEC) to
                            discuss current status of bankruptcy
                            process as it relates to financial
                            reporting and walked through financial
                            reporting requirements for accounting
                            for bankruptcy




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                       Westinghouse Electric Company LLC
                      Deloitte Financial Advisory Services LLP
                   Fees Sorted by Category for the Fee Period
                                    March 29, 2017 - March 31, 2018
Date                        Description                                 Rate    Hours      Fees

Accounting Consultative Services
04/18/2017
   Minars, Scott            Discussion with T. Baird (WEC)            $592.00     1.5    $888.00
                            regarding Sarbanes Oxley
                            implementation work
04/20/2017
   Minars, Scott            Follow-up discussion with T. Baird        $592.00     0.5    $296.00
                            (WEC) regarding SOX implementation
                            work
04/21/2017
   Minars, Scott            Call with T. Baird (WEC) to discuss       $592.00     0.5    $296.00
                            Independent Auditors ("IA") process
                            going-forward
06/05/2017
   McGonigle, David         Updated tax memorandum including          $473.00     1.2    $567.60
                            supporting exhibits based on finalized
                            opening balance sheet.
06/15/2017
   McGonigle, David         Reviewed newly provided construction      $473.00     0.6    $283.80
                            activity material and corresponding
                            email request to update ASC740 tax
                            memo
   McGonigle, David         Discussion with S. Minars (Deloitte)      $473.00     0.3    $141.90
                            regarding additional information
                            needed from the Client to update the
                            ASC740 tax memo
   Minars, Scott            Read email correspondence and             $592.00     0.8    $473.60
                            studied accounting question relating to
                            deferred taxes
   Minars, Scott            Discussion with D. McGonigle              $592.00     0.3    $177.60
                            (Deloitte) regarding additional
                            information needed from the Client to
                            update the ASC740 tax memo
06/27/2017
   McGonigle, David         Meeting with K. Brady (WEC), S.           $473.00     0.5    $236.50
                            Minars (Deloitte) to discuss ASC 805
                            tax memo




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                       Westinghouse Electric Company LLC
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                   Fees Sorted by Category for the Fee Period
                                    March 29, 2017 - March 31, 2018
Date                        Description                                   Rate    Hours      Fees

Accounting Consultative Services
07/14/2017
   Minars, Scott            Review and assess draft materials for       $592.00     0.9    $532.80
                            meeting with WEC BOD and Foley
                            regarding ongoing post-closing dispute
                            scheduled for Monday July 17, 2017
07/22/2017
   Donohue, Alycia          Meeting with S. Minars (Deloitte) to        $592.00     1.0    $592.00
                            discuss update to WEC year end
                            accounting matters
   Minars, Scott            Meeting with A. Donohue (Deloitte) to       $592.00     1.0    $592.00
                            discuss update to WEC year end
                            accounting matters
07/25/2017
   McGonigle, David         Reviewed updated cost estimates             $473.00     2.0    $946.00
                            provided for the Vogtle and VC
                            Summer nuclear construction projects.
   McGonigle, David         Meeting with S. Minars (Deloitte) to        $473.00     0.4    $189.20
                            discuss the update to ASC740 memo.
   McGonigle, David         Meeting with S. Minars (Deloitte) to        $473.00     0.5    $236.50
                            discuss the tax impact to include in
                            ASC740 memo for the bankruptcy.
   Minars, Scott            Meeting with G. McGonigle (Deloitte)        $592.00     0.5    $296.00
                            to discuss the tax impact to include in
                            ASC740 memo for the bankruptcy.
   Minars, Scott            Meeting with G. McGonigle (Deloitte)        $592.00     0.4    $236.80
                            to discuss the update to ASC740
                            memo.
07/26/2017
   McGonigle, David         Meeting with S. Minars and E. Tzavelis      $473.00     0.2     $94.60
                            (Deloitte) to discuss the accounting for
                            the post-petition deferred tax asset
                            taxes associated with the VC Summer
                            and Vogtle project liabilities related to
                            tax memo prepared for WEC.
   McGonigle, David         Meeting with S. Minars and L. Sturiale      $473.00     0.4    $189.20
                            (Deloitte) to discuss the accounting for
                            the post-petition deffered tax asset
                            taxes associated with the VC Summer
                            and Vogtle project liabilities related to
                            tax memo prepared for WEC.


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                    Fees Sorted by Category for the Fee Period
                                    March 29, 2017 - March 31, 2018
Date                        Description                                 Rate    Hours       Fees

Accounting Consultative Services
07/26/2017
   McGonigle, David         Updated ASC 740 memo for project          $473.00     2.0    $946.00
                            activity
   Minars, Scott            Meeting with L. Sturiale and D.           $592.00     0.4    $236.80
                            McGonigle (Deloitte) to discuss the
                            accounting for the post-petition DTA
                            taxes associated with the project
                            liabilities.
   Minars, Scott            Meeting with E. Tzavelis and D.           $592.00     0.2    $118.40
                            McGonigle (Deloitte) to discuss the
                            accounting for the post-petition DTA
                            taxes associated with the project
                            liabilities.
   Sturiale, Lisa           Meeting with S. Minars and D.             $592.00     0.4    $236.80
                            McGonigle (Deloitte) to discuss the
                            accounting for the post-petition DTA
                            taxes associated with the project
                            liabilities.
07/27/2017
   McGonigle, David         Updated schedules related to tax          $473.00     3.0   $1,419.00
                            memo prepared for WEC based on
                            post-bankruptcy discussions with S.
                            Minars (DT) and WEC.
   McGonigle, David         Meeting with S. Minars and L. Sturiale    $473.00     0.5    $236.50
                            (Deloitte) to discuss bankruptcy impact
                            of tax balances for the ASC 740
                            memorandum.
   McGonigle, David         Reviewed ranges of liability in expert    $473.00     0.6    $283.80
                            report related to ongoing post-closing
                            dispute for impact on tax memo being
                            prepared for WEC.
   McGonigle, David         Meeting with K. Brady, W. Heinricher      $473.00     0.5    $236.50
                            (WEC) and L. Sturiale (Deloitte) to
                            discuss accounting for the ASC 740
                            memorandum.
   McGonigle, David         Meeting with S. Minars, L. Sturiale and   $473.00     0.4    $189.20
                            T. Sasso (Deloitte) to discuss
                            bankruptcy impact of tax balances for
                            the ASC 740 memorandum.
   McGonigle, David         Reviewed project accounting material      $473.00     0.3    $141.90
                            to prepare for call with K Brady and W
                            Heinricher (WEC) regarding same

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                       Westinghouse Electric Company LLC
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                    Fees Sorted by Category for the Fee Period
                                      March 29, 2017 - March 31, 2018
Date                          Description                                 Rate    Hours        Fees

Accounting Consultative Services
07/27/2017
   Minars, Scott              Meeting with L. Sturiale, T. Sasso and    $592.00     0.4     $236.80
                              D. McGonigle (Deloitte) to discuss
                              bankruptcy impact of tax balances for
                              the ASC 740 memorandum.
   Minars, Scott              Meeting with L. Sturiale and D.           $592.00     0.5     $296.00
                              McGonigle (Deloitte) to discuss
                              bankruptcy impact of tax balances for
                              the ASC 740 memorandum.
   Sturiale, Lisa             Meeting with S. Minars, T. Sasso and      $592.00     0.4     $236.80
                              D. McGonigle (Deloitte) to discuss
                              bankruptcy impact of tax balances for
                              the ASC 740 memorandum.
   Sturiale, Lisa             Meeting with K. Brady, W. Heinricher      $592.00     0.5     $296.00
                              (WEC) and D. McGonigle (Deloitte) to
                              discuss accounting for the ASC 740
                              memorandum.
   Sturiale, Lisa             Meeting with S. Minars and D.             $592.00     0.5     $296.00
                              McGonigle (Deloitte) to discuss
                              bankruptcy impact of tax balances for
                              the ASC 740 memorandum.
07/28/2017
   McGonigle, David           Updated ASC 740 Memo based on S.          $473.00     2.9    $1,371.70
                              Minar's (Deloitte) notes
   Minars, Scott              Review of ASC740 memorandum draft         $592.00     1.8    $1,065.60
                              and the supporting information
                              provided by WEC
07/31/2017
   Sturiale, Lisa             Review tax accounting memo for Loss       $592.00     0.5     $296.00
                              contingency and send document to K.
                              Brady (WEC)
   Subtotal for Accounting Consultative Services:                                  35.0   $18,673.20

Dispute Consulting
07/01/2017
   Stanton, Steven            Reviewed case document related to         $592.00     1.9    $1,124.80
                              ongoing legal proceedings in Delaware
                              courts related to post-acquisiton
                              dispute


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                       Westinghouse Electric Company LLC
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                 Fees Sorted by Category for the Fee Period
                                      March 29, 2017 - March 31, 2018
Date                           Description                                 Rate    Hours       Fees

Dispute Consulting
07/01/2017
   Stanton, Steven             Continued to review case document         $592.00     2.1   $1,243.20
                               related to ongoing legal proceedings in
                               Delaware courts related to post-
                               acquisiton dispute
07/02/2017
   Stanton, Steven             Reviewed case document related to         $592.00     3.0   $1,776.00
                               ongoing legal proceedings in Delaware
                               courts related to post-acquisiton
                               dispute
07/06/2017
   Stanton, Steven             Continued to review case document         $592.00     2.8   $1,657.60
                               related to ongoing legal proceedings in
                               Delaware courts related to post-
                               acquisiton dispute
07/13/2017
   Cohen, Mark                 Review of presentation deck provided      $592.00     0.8    $473.60
                               by D. Heffer (Foley) in preparation for
                               meeting with WEC Board and Foley
                               regarding post-acquisition dispute.
   Stanton, Steven             Reviewed presentation materials           $592.00     1.2    $710.40
                               regarding ongoing post-closig dispute
                               provided by D. Heffer (Foley) ahead of
                               Meeting with WEC Board and Foley.
07/14/2017
   Stanton, Steven             Reviewed Case Document related to         $592.00     0.5    $296.00
                               ongoing legal proceedings in Delaware
                               courts related to post-acquisiton
                               dispute
07/21/2017
   Stanton, Steven             Reviewed proposed court order related     $592.00     0.9    $532.80
                               to ongoing post-acquisition dispute in
                               Delaware supreme court
   Subtotal for Dispute Consulting:                                                 13.2   $7,814.40




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                    Fees Sorted by Category for the Fee Period
                                         March 29, 2017 - March 31, 2018
Date                              Description                                  Rate    Hours       Fees

Firm Retention
05/30/2017
   McGonigle, David               Preparation of pre-petition fee and        $473.00     2.9   $1,371.70
                                  expenses incurred per Deloitte's office
                                  of general counsel request for retention
                                  application
05/31/2017
   McGonigle, David               Continued preparation of pre-petition      $473.00     2.8   $1,324.40
                                  fee and expenses incurred per
                                  Deloitte's office of general counsel
                                  request for retention application
   McGonigle, David               Composed email requesting any              $473.00     0.1     $47.30
                                  relationship with bankruptcy court
                                  personnel to S. Minars, M. Cohen, S.
                                  Stanton, J. Larson, T. Stafford, M.
                                  Cohen, J. Letts, K. Homment (all
                                  Deloitte).
   McGonigle, David               Summarized responses to email from         $473.00     0.2     $94.60
                                  S. Minars, M. Cohen, S. Stanton, J.
                                  Larson, T. Stafford, M. Cohen, J. Letts,
                                  K. Homment (all Deloitte) requesting
                                  disclosure of any relationship with
                                  court personnel
   Subtotal for Firm Retention:                                                          6.0   $2,838.00

Litigation
03/29/2017
   Cohen, Mark                    Meeting to discuss project status and      $592.00     0.6    $355.20
                                  dispute procedures with J. Johnston,
                                  S. Minars, T. Stafford, R. Strahle, D.
                                  McGonigle, J. Letts and K. Hommen
                                  (Deloitte).
   Hommen, Kelly                  Meeting to discuss project status and      $340.00     0.6    $204.00
                                  dispute procedures with J. Johnston,
                                  S. Minars, T. Stafford, R. Strahle, D.
                                  McGonigle, J. Letts and M. Cohen
                                  (Deloitte).
   Johnston, Josh                 Meeting to discuss project status and      $592.00     0.6    $355.20
                                  dispute procedures with M. Cohen, S.
                                  Minars, T. Stafford, R. Strahle, D.
                                  McGonigle, J. Letts and K. Hommen
                                  (Deloitte).

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                        Westinghouse Electric Company LLC
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                     Fees Sorted by Category for the Fee Period
                                    March 29, 2017 - March 31, 2018
Date                        Description                                 Rate    Hours      Fees

Litigation
03/29/2017
   Letts, Joshua            Reviewed a portion of the total           $340.00     2.9    $986.00
                            population of emails pursuant to
                            discovery requests
   Letts, Joshua            Prepared listing of relevant discovery    $340.00     1.1    $374.00
                            documents based on current day's
                            analysis for review.
   Letts, Joshua            Meeting to discuss project status and     $340.00     0.6    $204.00
                            dispute procedures with J. Johnston,
                            S. Minars, T. Stafford, R. Strahle, D.
                            McGonigle, M. Cohen and K. Hommen
                            (Deloitte).
   Letts, Joshua            Updated template for documentation of     $340.00     2.1    $714.00
                            discovery requests
   McGonigle, David         Meeting to discuss project status and     $473.00     0.6    $283.80
                            dispute procedures with J. Johnston,
                            S. Minars, T. Stafford, M. Cohen, R.
                            Strahle, J. Letts and K. Hommen
                            (Deloitte).
   Minars, Scott            Meeting to discuss project status and     $592.00     0.6    $355.20
                            dispute procedures with J. Johnston,
                            R. Strahle, T. Stafford, M. Cohen, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte).
   Stafford, Ted            Meeting to discuss project status and     $513.00     0.6    $307.80
                            dispute procedures with J. Johnston,
                            S. Minars, M. Cohen, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte).
   Strahle, Robert          Meeting to discuss project status and     $513.00     0.6    $307.80
                            dispute procedures with J. Johnston,
                            S. Minars, T. Stafford, M. Cohen, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte).
03/30/2017
   Cohen, Mark              Meeting to discuss discovery process      $592.00     0.3    $177.60
                            and timeline, including impact of
                            bankruptcy process with S. Minars, J.
                            Johnston, J. Letts, R. Strahle, T.
                            Stafford and D. McGonigle (Deloitte).



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                       Westinghouse Electric Company LLC
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                    Fees Sorted by Category for the Fee Period
                                    March 29, 2017 - March 31, 2018
Date                        Description                                 Rate    Hours       Fees

Litigation
03/30/2017
   Johnston, Josh           Meeting to discuss discovery process      $592.00     0.3    $177.60
                            and timeline, including impact of
                            bankruptcy process with S. Minars, M.
                            Cohen, R. Strahle, T. Stafford and D.
                            McGonigle (Deloitte).
   Letts, Joshua            Meeting to discuss discovery process      $340.00     0.3    $102.00
                            and timeline, including impact of
                            bankruptcy process with S. Minars, J.
                            Johnston, R. Strahle, T. Stafford and
                            D. McGonigle (Deloitte).
   Letts, Joshua            Reviewed a portion of the total           $340.00     2.8    $952.00
                            population of emails pursuant to
                            discovery requests
   Letts, Joshua            Prepared listing of relevant discovery    $340.00     1.2    $408.00
                            documents based on current day's
                            analysis for review.
   Letts, Joshua            Meeting to discuss discovery review       $340.00     0.3    $102.00
                            progress and next steps with D.
                            McGonigle (Deloitte).
   Letts, Joshua            Organized pertinent discovery             $340.00     3.0   $1,020.00
                            documents to date to facilitate review
   Letts, Joshua            Continued to organized pertinent          $340.00     1.0    $340.00
                            discovery documents to date to
                            facilitate review
   McGonigle, David         Updated discovery timeline calendar       $473.00     0.2     $94.60
   McGonigle, David         Meeting to discuss discovery process      $473.00     0.3    $141.90
                            and timeline, including impact of
                            bankruptcy process with S. Minars, J.
                            Johnston, J. Letts, R. Strahle, T.
                            Stafford and M. Cohen (Deloitte).
   McGonigle, David         Meeting to discuss discovery review       $473.00     0.3    $141.90
                            progress and next steps with J. Letts
                            (Deloitte).
   Minars, Scott            Meeting to discuss discovery process      $592.00     0.3    $177.60
                            and timeline, including impact of
                            bankruptcy process with M. Cohen, J.
                            Johnston, J. Letts, R. Strahle, T.
                            Stafford and D. McGonigle (Deloitte).




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                        Westinghouse Electric Company LLC
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                     Fees Sorted by Category for the Fee Period
                                    March 29, 2017 - March 31, 2018
Date                        Description                                 Rate    Hours       Fees

Litigation
03/30/2017
   Stafford, Ted            Meeting to discuss discovery process      $513.00     0.3    $153.90
                            and timeline, including impact of
                            bankruptcy process with S. Minars, J.
                            Johnston, J. Letts, R. Strahle and D.
                            McGonigle (Deloitte).
   Stafford, Ted            Performed review of email discovery       $513.00     0.4    $205.20
                            analysis.
   Strahle, Robert          Meeting to discuss discovery process      $513.00     0.3    $153.90
                            and timeline, including impact of
                            bankruptcy process with S. Minars, J.
                            Johnston, J. Letts, T. Stafford and D.
                            McGonigle (Deloitte).
03/31/2017
   Letts, Joshua            Meeting to discuss status update on       $340.00     0.3    $102.00
                            discovery review progress and timeline
                            with D. McGonigle (Deloitte).
   Letts, Joshua            Meeting to discuss status of discovery    $340.00     0.5    $170.00
                            review with T. Stafford and D.
                            McGonigle (Deloitte)
   Letts, Joshua            Drafted privilege log to facilitate       $340.00     3.0   $1,020.00
                            attorney-review of discovery
                            documents
   Letts, Joshua            Continued to draft privilege log to       $340.00     0.9    $306.00
                            facilitate attorney-review of discovery
                            documents
   Letts, Joshua            Reviewed a portion of the total           $340.00     2.9    $986.00
                            population of emails pursuant to
                            discovery requests
   Letts, Joshua            Prepared listing of relevant discovery    $340.00     1.0    $340.00
                            documents based on current day's
                            analysis for review.
   McGonigle, David         Meeting to discuss status update on       $473.00     0.3    $141.90
                            discovery review progress and timeline
                            with J. Letts (Deloitte).
   McGonigle, David         Meeting to discuss status of discovery    $473.00     0.5    $236.50
                            review with T. Stafford and J. Letts
                            (Deloitte)
   Stafford, Ted            Drafting of expert report related to      $513.00     2.9   $1,487.70
                            disputed items.


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Litigation
03/31/2017
   Stafford, Ted            Meeting to discuss status of discovery    $513.00     0.5    $256.50
                            review with D. McGonigle and J. Letts
                            (Deloitte)
04/01/2017
   Letts, Joshua            Drafted privilege log related to          $340.00     0.5    $170.00
                            discovery requests
04/02/2017
   Letts, Joshua            Created log of responsive items related   $340.00     0.5    $170.00
                            to discovery process for counsel
   Stafford, Ted            Reviewed the expert report related to     $513.00     1.5    $769.50
                            disputed items.
   Stafford, Ted            Updated the draft of the expert report    $513.00     2.7   $1,385.10
                            related to disputed items.
04/03/2017
   Hommen, Kelly            Meeting in Pittsburgh with J. Johnston,   $340.00     0.4    $136.00
                            S. Minars, T. Stafford, D. McGonigle
                            and K. Hommen (Deloitte) regarding
                            legal briefs being prepared by Foley
                            relating to Delware Supreme Court
                            proceedings, discovery process
                            update, and discussion on moving
                            forward.
   Johnston, Josh           Meeting in Pittsburgh with J. Johnston,   $592.00     0.4    $236.80
                            S. Minars, T. Stafford, D. McGonigle
                            and K. Hommen (Deloitte) regarding
                            legal briefs being prepared by Foley
                            relating to Delware Supreme Court
                            proceedings, discovery process
                            update, and discussion on moving
                            forward.
   Letts, Joshua            Created log of responsive items related   $340.00     2.4    $816.00
                            to discovery process for Foley
   McGonigle, David         Meeting in Pittsburgh with J. Johnston,   $473.00     0.4    $189.20
                            S. Minars, T. Stafford, D. McGonigle
                            and K. Hommen (Deloitte) regarding
                            legal briefs being prepared by Foley
                            relating to Delware Supreme Court
                            proceedings, discovery process
                            update, and discussion on moving
                            forward.

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Litigation
04/03/2017
   McGonigle, David         Discussed discovery review process        $473.00     0.4    $189.20
                            with T. Stafford (Deloitte), D. Heffer
                            and S. Madava (Foley)
   Minars, Scott            Meeting in Pittsburgh with J. Johnston,   $592.00     0.4    $236.80
                            S. Minars, T. Stafford, D. McGonigle
                            and K. Hommen (Deloitte) regarding
                            legal briefs being prepared by Foley
                            relating to Delware Supreme Court
                            proceedings, discovery process
                            update, and discussion on moving
                            forward.
   Stafford, Ted            Review of email production of items       $513.00     1.9    $974.70
                            pertinent for discovery
   Stafford, Ted            Meeting in Pittsburgh with J. Johnston,   $513.00     0.4    $205.20
                            S. Minars, T. Stafford, D. McGonigle
                            and K. Hommen (Deloitte) regarding
                            legal briefs being prepared by Foley
                            relating to Delware Supreme Court
                            proceedings, discovery process
                            update, and discussion on moving
                            forward.
   Stafford, Ted            Review of email production of items       $513.00     1.7    $872.10
                            pertinent for discovery
   Stafford, Ted            Discussed discovery review process        $513.00     0.4    $205.20
                            with D. McGonigle (Deloitte), D. Heffer
                            and S. Madava (Foley)
   Stafford, Ted            Review of email production of items       $513.00     2.6   $1,333.80
                            pertinent for discovery
   Strahle, Robert          Meeting in Pittsburgh with J. Johnston,   $513.00     0.4    $205.20
                            S. Minars, T. Stafford, D. McGonigle
                            and K. Hommen (Deloitte) regarding
                            legal briefs being prepared by Foley
                            relating to Delware Supreme Court
                            proceedings, discovery process
                            update, and discussion on moving
                            forward.
04/04/2017
   Cohen, Mark              Call with Marcum, LLP to discuss the      $592.00     0.4    $236.80
                            current dispute schedule and potential
                            timing of deliverables going forward


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Litigation
04/04/2017
   Letts, Joshua           Created log of responsive items related   $340.00     3.0   $1,020.00
                           to discovery process for Foley
   Letts, Joshua           Reviewed log of responsive items          $340.00     0.3    $102.00
                           related to discovery process
   Letts, Joshua           Pursuant to discovery determination by    $340.00     0.6    $204.00
                           independent auditor, reviewed emails
                           related to discovery request 7.b
   Letts, Joshua           Updated discovery log with Deloitte       $340.00     0.9    $306.00
                           professionals pursuant to D. Heffer and
                           Y. Aronoff (Foley) comments
   Stafford, Ted           Reviewed documents related to             $513.00     1.2    $615.60
                           discovery requests pursuant to
                           discovery determination by
                           independent auditor
   Stafford, Ted           Review of email production of items       $513.00     0.4    $205.20
                           pertinent for discovery
04/05/2017
   Cohen, Mark             Meeting to discuss current dispute        $592.00     0.5    $296.00
                           timeline and potential impact the
                           bankruptcy will have on the process
                           with J. Johnston, S. Minars, T.
                           Stafford, R. Strahle, D. McGonigle, J.
                           Letts and K. Hommen (Deloitte).
   Hommen, Kelly           Meeting to discuss current dispute        $340.00     0.5    $170.00
                           timeline and potential impact the
                           bankruptcy will have on the process
                           with J. Johnston, S. Minars, T.
                           Stafford, R. Strahle, D. McGonigle, J.
                           Letts and M. Cohen (Deloitte).
   Johnston, Josh          Meeting to discuss current dispute        $592.00     0.5    $296.00
                           timeline and potential impact the
                           bankruptcy will have on the process
                           with M. Cohen, S. Minars, T. Stafford,
                           R. Strahle, D. McGonigle, J. Letts and
                           K. Hommen (Deloitte).
   Letts, Joshua           Meeting to discuss current dispute        $340.00     0.5    $170.00
                           timeline and potential impact the
                           bankruptcy will have on the process
                           with J. Johnston, S. Minars, T.
                           Stafford, R. Strahle, D. McGonigle, M.
                           Cohen and K. Hommen (Deloitte).

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Litigation
04/05/2017
   Letts, Joshua            Updated responsive documents log           $340.00     2.1    $714.00
                            related to discovery for Foley
   Letts, Joshua            Call with T. Stafford (Deloitte) to        $340.00     0.9    $306.00
                            discuss the impact of the bankruptcy
                            on scheduling and workload (i.e. what
                            to focus on going forward)
   McGonigle, David         Meeting to discuss current dispute         $473.00     0.5    $236.50
                            timeline and potential impact the
                            bankruptcy will have on the process
                            with J. Johnston, S. Minars, T.
                            Stafford, M. Cohen, R. Strahle, J. Letts
                            and K. Hommen (Deloitte).
   Minars, Scott            Meeting to discuss current dispute         $592.00     0.5    $296.00
                            timeline and potential impact the
                            bankruptcy will have on the process
                            with J. Johnston, R. Strahle, T.
                            Stafford, M. Cohen, D. McGonigle, J.
                            Letts and K. Hommen (Deloitte).
   Sakuma, Takeru           Reviewed discovery requests to assist      $406.00     2.0    $812.00
                            in identifying pertinent items
   Stafford, Ted            Meeting to discuss current dispute         $513.00     0.5    $256.50
                            timeline and potential impact the
                            bankruptcy will have on the process
                            with J. Johnston, S. Minars, M. Cohen,
                            R. Strahle, D. McGonigle, J. Letts and
                            K. Hommen (Deloitte).
   Stafford, Ted            Call with J. Letts (Deloitte) to discuss   $513.00     0.9    $461.70
                            the impact of the bankruptcy on
                            scheduling and workload (i.e. what to
                            focus on going forward)
   Strahle, Robert          Meeting to discuss current dispute         $513.00     0.5    $256.50
                            timeline and potential impact the
                            bankruptcy will have on the process
                            with J. Johnston, S. Minars, T.
                            Stafford, M. Cohen, D. McGonigle, J.
                            Letts and K. Hommen (Deloitte).
04/06/2017
   Letts, Joshua            Reviewed a portion of the total            $340.00     3.0   $1,020.00
                            population of emails pursuant to
                            discovery requests


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Litigation
04/06/2017
   Letts, Joshua          Prepared listing of relevant discovery     $340.00     1.0    $340.00
                          documents for review based on last
                          two day's analysis
   Letts, Joshua          Continued to review a portion of the       $340.00     2.5    $850.00
                          total population of emails pursuant to
                          discovery requests
   Stafford, Ted          Continue to review of email production     $513.00     0.7    $359.10
                          of items pertinent for discovery
   Stafford, Ted          Planned schedule of discovery review       $513.00     0.3    $153.90
                          process.
04/07/2017
   Letts, Joshua          Reviewed identified responsive             $340.00     0.4    $136.00
                          documents to prepare for call with Y.
                          Aronoff (Foley)
   Letts, Joshua          Further review of a portion of the total   $340.00     2.9    $986.00
                          population of emails pursuant to
                          discovery requests
   Letts, Joshua          Prepared listing of relevant discovery     $340.00     1.5    $510.00
                          documents for review based on last
                          two day's analysis
   Letts, Joshua          Continued review of a portion of the       $340.00     2.3    $782.00
                          total population of emails pursuant to
                          discovery requests
   Sakuma, Takeru         Reviewed database of Japanese              $406.00     0.5    $203.00
                          emails within Relativity database
                          relating to discovery proceeding
                          pursuant to Independent Auditor's
                          ruling.
   Stafford, Ted          Review of arbitration discovery            $513.00     0.3    $153.90
                          production.
   Stafford, Ted          Review of production log for discovery     $513.00     0.6    $307.80
                          process
04/10/2017
   Cohen, Mark            Meeting regarding status update on         $592.00     0.1     $59.20
                          bankruptcy proceedings and discovery
                          items with S. Minars, T. Stafford, J.
                          Letts and K. Hommen (Deloitte).




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Litigation
04/10/2017
   Hommen, Kelly          Meeting regarding status update on        $340.00     0.1     $34.00
                          bankruptcy proceedings and discovery
                          items with S. Minars, T. Stafford, J.
                          Letts and M. Cohen (Deloitte).
   Letts, Joshua          Reviewed a portion of the total           $340.00     3.0   $1,020.00
                          population of emails pursuant to
                          discovery requests
   Letts, Joshua          Prepared listing of relevant discovery    $340.00     1.0    $340.00
                          documents based on current day's
                          analysis for review.
   Letts, Joshua          Meeting regarding status update on        $340.00     0.1     $34.00
                          bankruptcy proceedings and discovery
                          items with S. Minars, T. Stafford, K.
                          Hommen and M. Cohen (Deloitte).
   Letts, Joshua          Reviewed Relativity review process to     $340.00     0.3    $102.00
                          assess open discovery items
                          remaining
   Letts, Joshua          Reviewed a portion of the total           $340.00     2.2    $748.00
                          population of emails pursuant to
                          discovery requests
   Minars, Scott          Meeting regarding status update on        $592.00     0.1     $59.20
                          bankruptcy proceedings and discovery
                          items with M. Cohen, T. Stafford, J.
                          Letts and K. Hommen (Deloitte).
   Stafford, Ted          Meeting regarding status update on        $513.00     0.1     $51.30
                          bankruptcy proceedings and discovery
                          items with S. Minars, K. Hommen, J.
                          Letts and M. Cohen (Deloitte).
   Stafford, Ted          Review of arbitration related discovery   $513.00     1.0    $513.00
                          production.
04/11/2017
   Cohen, Mark            Meeting to discuss current dispute        $592.00     0.3    $177.60
                          timeline and potential impact the
                          bankruptcy will have on the process
                          with J, Johnson, S. Minars and T.
                          Stafford (Deloitte).




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Litigation
04/11/2017
   Johnston, Josh          Meeting to discuss current dispute        $592.00     0.3    $177.60
                           timeline and potential impact the
                           bankruptcy will have on the process
                           with S. Minars, M. Cohen and T.
                           Stafford (Deloitte).
   Letts, Joshua           Drafted responses to Y. Aronoff and D.    $340.00     1.0    $340.00
                           Heffer (Foley) regarding questions
                           pertaining to discovery review process
   Letts, Joshua           Drafted summary of discovery review       $340.00     0.5    $170.00
                           items still remaining
   Letts, Joshua           Reviewed a portion of the total           $340.00     1.9    $646.00
                           population of emails pursuant to
                           discovery requests
   Letts, Joshua           Conitnued to review a portion of the      $340.00     2.1    $714.00
                           total population of emails pursuant to
                           discovery requests
   Letts, Joshua           Prepared listing of relevant discovery    $340.00     1.9    $646.00
                           documents for review based on last
                           two day's analysis
   Minars, Scott           Meeting to discuss current dispute        $592.00     0.3    $177.60
                           timeline and potential impact the
                           bankruptcy will have on the process
                           with J, Johnson, M. Cohen and T.
                           Stafford (Deloitte).
   Stafford, Ted           Meeting to discuss current dispute        $513.00     0.3    $153.90
                           timeline and potential impact the
                           bankruptcy will have on the process
                           with J, Johnson, S. Minars and M.
                           Cohen (Deloitte).
   Stafford, Ted           Review of arbitration discovery           $513.00     1.2    $615.60
                           production with Y. Aronoff (Foley)
   Stafford, Ted           Review of arbitration related discovery   $513.00     1.0    $513.00
                           production.
04/12/2017
   Letts, Joshua           Reviewed a portion of the total           $340.00     1.3    $442.00
                           population of emails pursuant to
                           discovery requests
   Letts, Joshua           Continued to review a portion of the      $340.00     2.9    $986.00
                           total population of emails pursuant to
                           discovery requests

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Litigation
04/12/2017
   Letts, Joshua            Prepared listing of relevant discovery    $340.00     1.4    $476.00
                            documents for review based on last
                            two day's analysis
   Letts, Joshua            Prepared listing of relevant discovery    $340.00     2.0    $680.00
                            documents for review based on day's
                            analysis
   Sakuma, Takeru           Translated into Japanese a portion of     $406.00     1.8    $730.80
                            the total population of Japanese emails
                            pertaining to discovery requests
   Sakuma, Takeru           Continued to translate Japanese a         $406.00     2.6   $1,055.60
                            portion of the total population of
                            Japanese emails pertaining to
                            discovery requests
   Sakuma, Takeru           Summarized pertinent Japanese             $406.00     0.6    $243.60
                            emails for the discovery requests
   Stafford, Ted            Review of arbitration related discovery   $513.00     1.5    $769.50
                            production.
04/13/2017
   Cohen, Mark              Call with C. Daigle (Marsh Risk           $592.00     0.2    $118.40
                            Consulting) regarding status of
                            bankruptcy, court proceeding and
                            independent auditor process.
   Letts, Joshua            Meeting with D. McGonigle (Deloitte) to   $340.00     0.3    $102.00
                            discuss external change order (ECO)
                            selections for the estimated at
                            completion (EAC) Revenue exhibit
   Letts, Joshua            Reviewed current EAC revenue exhibit      $340.00     0.4    $136.00
   Letts, Joshua            Updated EAC revenue exhibit               $340.00     3.0   $1,020.00
   Letts, Joshua            Updated documentation for external        $340.00     1.5    $510.00
                            change order (ECO) selections
   Letts, Joshua            Reviewed identified Japanese              $340.00     0.2     $68.00
                            documents from T. Sakuma (Deloitte)
   McGonigle, David         Meeting with J. Letts (Deloitte) to       $473.00     0.3    $141.90
                            discuss external change order (ECO)
                            selections and other items related to
                            the EAC Revenue exhibit
   Sakuma, Takeru           Translated into Japanese a portion of     $406.00     2.5   $1,015.00
                            the total population of Japanese emails
                            pertaining to discovery requests

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Litigation
04/13/2017
   Sakuma, Takeru          Continued to translate Japanese a         $406.00     0.9    $365.40
                           portion of the total population of
                           Japanese emails pertaining to
                           discovery requests
   Stafford, Ted           Review of arbitration related discovery   $513.00     0.2    $102.60
                           production.
04/14/2017
   Letts, Joshua           Reviewed a portion of the total email     $340.00     0.4    $136.00
                           population pertaining to discovery
                           requests
   Sakuma, Takeru          Translated Japanese a portion of the      $406.00     2.7   $1,096.20
                           total population of Japanese emails
                           pertaining to discovery requests
   Sakuma, Takeru          Continued to translate Japanese a         $406.00     2.2    $893.20
                           portion of the total population of
                           Japanese emails pertaining to
                           discovery requests
   Sakuma, Takeru          Summarized pertinent Japanese             $406.00     1.1    $446.60
                           emails for the discovery requests
04/17/2017
   Cohen, Mark             Meeting to discuss project status,        $592.00     0.3    $177.60
                           including bankruptcy proceedings and
                           discovery review process with J.
                           Johnson, J. Letts, S. Minars, T.
                           Stafford, R. Strahle, D. McGonigle and
                           K. Hommen (Deloitte).
   Hommen, Kelly           Meeting to discuss project status,        $340.00     0.3    $102.00
                           including bankruptcy proceedings and
                           discovery review process with J.
                           Johnson, J. Letts, S. Minars, T.
                           Stafford, R. Strahle, D. McGonigle and
                           M. Cohen (Deloitte).
   Johnston, Josh          Meeting to discuss project status,        $592.00     0.3    $177.60
                           including bankruptcy proceedings and
                           discovery review process with J.
                           Johnson, M. Cohen, J. Letts, S.
                           Minars, T. Stafford, R. Strahle, D.
                           McGonigle and K. Hommen (Deloitte).




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Litigation
04/17/2017
   Letts, Joshua            Reviewed Japanese translation of          $340.00     0.4    $136.00
                            discovery requests identified as
                            pertinent
   Letts, Joshua            Compared human vs machine                 $340.00     1.9    $646.00
                            translation of foreign documents
                            pursuant to discovery request
   Letts, Joshua            Reviewed a portion of the total email     $340.00     2.8    $952.00
                            population pertaining to discovery
                            requests
   Letts, Joshua            Meeting to discuss project status,        $340.00     0.3    $102.00
                            including bankruptcy proceedings and
                            discovery review process with J.
                            Johnson, M. Cohen, S. Minars, T.
                            Stafford, R. Strahle, D. McGonigle and
                            K. Hommen (Deloitte).
   McGonigle, David         Meeting to discuss project status,        $473.00     0.3    $141.90
                            including bankruptcy proceedings and
                            discovery review process with J.
                            Johnson, J. Letts, S. Minars, T.
                            Stafford, M. Cohen, R. Strahle and K.
                            Hommen (Deloitte).
   Minars, Scott            Meeting to discuss project status,        $592.00     0.3    $177.60
                            including bankruptcy proceedings and
                            discovery review process with J.
                            Johnson, J. Letts, r. Strahle, T.
                            Stafford, M. Cohen, D. McGonigle and
                            K. Hommen (Deloitte).
   Sakuma, Takeru           Translated Japanese a portion of the      $406.00     2.5   $1,015.00
                            total population of Japanese emails
                            pertaining to discovery requests
   Sakuma, Takeru           Summarized pertinent Japanese             $406.00     0.6    $243.60
                            emails for the discovery requests
   Stafford, Ted            Performed review of electronic            $513.00     2.7   $1,385.10
                            document production for arbitration.
   Stafford, Ted            Meeting to discuss project status,        $513.00     0.3    $153.90
                            including bankruptcy proceedings and
                            discovery review process with J.
                            Johnson, J. Letts, S. Minars, M.
                            Cohen, R. Strahle, D. McGonigle and
                            K. Hommen (Deloitte).


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                        Westinghouse Electric Company LLC
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                     Fees Sorted by Category for the Fee Period
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Date                        Description                                 Rate    Hours      Fees

Litigation
04/17/2017
   Strahle, Robert          Meeting to discuss project status,        $513.00     0.3    $153.90
                            including bankruptcy proceedings and
                            discovery review process with J.
                            Johnson, J. Letts, S. Minars, T.
                            Stafford, M. Cohen, D. McGonigle and
                            K. Hommen (Deloitte).
04/18/2017
   Cohen, Mark              Meeting to discuss the stay associated    $592.00     0.3    $177.60
                            with the bankruptcy, its impact on the
                            independent auditor process and
                            status of discovery with T. Stafford, J
                            Johnston, M. Cohen (Deloitte), T.
                            Baird, D. Mura (WEC) and D. Heffer
                            (Foley).
   Johnston, Josh           Meeting to discuss the stay associated    $592.00     0.3    $177.60
                            with the bankruptcy, its impact on the
                            independent auditor process and
                            status of discovery with T. Stafford, J
                            Johnston, M. Cohen (Deloitte), T.
                            Baird, D. Mura (WEC )and, D. Heffer
                            (Foley).
   McGonigle, David         Performed review of electronic            $473.00     0.4    $189.20
                            discovery review process for D. Heffer
                            (Foley).
   Stafford, Ted            Performed review of electronic            $513.00     0.8    $410.40
                            discovery production for arbitration.
   Stafford, Ted            Continued to perform review of            $513.00     0.5    $256.50
                            electronic discovery production for
                            arbitration.
   Stafford, Ted            Meeting to discuss the stay associated    $513.00     0.3    $153.90
                            with the bankruptcy, its impact on the
                            independent auditor process and
                            status of discovery with T. Stafford, J
                            Johnston, M. Cohen (Deloitte), T.
                            Baird, D. Mura (WEC), D. Heffer
                            (Foley).
04/19/2017
   Letts, Joshua            Meeting with D. McGonigle (Deloitte) to   $340.00     0.4    $136.00
                            discuss status of discovery review and
                            project timeline going forward.


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Date                        Description                                 Rate    Hours      Fees

Litigation
04/19/2017
   Letts, Joshua            Reviewed a portion of the total           $340.00     2.8    $952.00
                            population of emails pursuant to
                            discovery requests
   Letts, Joshua            Prepared listing of relevant discovery    $340.00     0.9    $306.00
                            documents for review based on last
                            two day's analysis
   Letts, Joshua            Continued to review a portion of the      $340.00     0.4    $136.00
                            total population of emails pursuant to
                            discovery requests
   McGonigle, David         Meeting with J. Letts (Deloitte) to       $473.00     0.4    $189.20
                            discuss status of discovery review and
                            project timeline going forward.
   Stafford, Ted            Performed review of electronic            $513.00     0.4    $205.20
                            discovery production for arbitration.
04/20/2017
   Cohen, Mark              Internal meeting with J. Johnston, S.     $592.00     0.3    $177.60
                            Minars, R. Strahle, D. McGonigle and
                            T. Stafford (Deloitte) to discuss G.
                            Thornton's withdrawal as the
                            Independent Arbitrator and
                            expectations for the engagement going
                            forward
   Johnston, Josh           Internal meeting with M. Cohen, S.        $592.00     0.3    $177.60
                            Minars, D. McGonigle, R. Strahle and
                            T. Stafford (Deloitte) to discuss G.
                            Thornton's withdrawal as the
                            Independent Arbitrator and
                            expectations for the engagement going
                            forward
   McGonigle, David         Internal meeting with J. Johnston, S.     $473.00     0.3    $141.90
                            Minars, R. Strahle, M. T. Stafford and
                            M. Cohen (Deloitte) to discuss G.
                            Thornton's withdrawal as the
                            Independent Arbitrator and
                            expectations for the engagement going
                            forward




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Litigation
04/20/2017
   Minars, Scott            Internal meeting with J. Johnston, T.     $592.00     0.3    $177.60
                            Stafford, R. Strahle, D. McGonigle and
                            M. Cohen (Deloitte) to discuss G.
                            Thornton's withdrawal as the
                            Independent Arbitrator and
                            expectations for the engagement going
                            forward
   Stafford, Ted            Internal meeting with J. Johnston, S.     $513.00     0.3    $153.90
                            Minars, R. Strahle, D. McGonigle and
                            M. Cohen (Deloitte) to discuss G.
                            Thornton's withdrawal as the
                            Independent Arbitrator and
                            expectations for the engagement going
                            forward
   Strahle, Robert          Internal meeting with J. Johnston, S.     $513.00     0.3    $153.90
                            Minars, M. Cohen and T. Stafford
                            (Deloitte) to discuss G. Thornton's
                            withdrawal as the Independent
                            Arbitrator and expectations for the
                            engagement going forward
04/21/2017
   McGonigle, David         Updated organization and status of        $473.00     0.3    $141.90
                            expert report on disputed items to
                            facilitate transition.
   Stafford, Ted            Drafted responses to vendor for tape      $513.00     0.5    $256.50
                            recovery.
04/24/2017
   Cohen, Mark              Meeting to discuss potential              $592.00     0.4    $236.80
                            independent auditor replacements and
                            go-forward strategy with J. Johnston,
                            S. Minars, T. Stafford, R. Strahle, J.
                            Letts and K. Hommen (Deloitte).
   Hommen, Kelly            Meeting to discuss potential              $340.00     0.4    $136.00
                            independent auditor replacements and
                            go-forward strategy with J. Johnston,
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle and J. Letts, (Deloitte).




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Litigation
04/24/2017
   Johnston, Josh           Meeting to discuss potential                $592.00     0.4    $236.80
                            independent auditor replacements and
                            go-forward strategy with S. Minars, M.
                            Cohen, T. Stafford, R. Strahle, J. Letts
                            and K. Hommen (Deloitte).
   Letts, Joshua            Meeting to discuss potential                $340.00     0.4    $136.00
                            independent auditor replacements and
                            go-forward strategy with J. Johnston,
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle and K. Hommen (Deloitte).
   Letts, Joshua            Internal call with D. McGonigle             $340.00     0.2     $68.00
                            (Deloitte) to discuss case status and
                            project timeline.
   McGonigle, David         Internal call with J. Letts (Deloitte) to   $473.00     0.2     $94.60
                            discuss case status and project
                            timeline.
   Minars, Scott            Meeting to discuss potential                $592.00     0.4    $236.80
                            independent auditor replacements and
                            go-forward strategy with J. Johnston,
                            R. Strahle, M. Cohen, T. Stafford, J.
                            Letts and K. Hommen (Deloitte).
   Stafford, Ted            Meeting to discuss potential                $513.00     0.4    $205.20
                            independent auditor replacements and
                            go-forward strategy with J. Johnston,
                            S. Minars, M. Cohen, R. Strahle, J.
                            Letts and K. Hommen (Deloitte).
   Strahle, Robert          Meeting to discuss potential                $513.00     0.4    $205.20
                            independent auditor replacements and
                            go-forward strategy with J. Johnston,
                            S. Minars, M. Cohen, T. Stafford, J.
                            Letts and K. Hommen (Deloitte).
04/25/2017
   Cohen, Mark              Research potential Independent              $592.00     0.6    $355.20
                            Auditor ("IA") candidates going forward
   Stafford, Ted            Analysis of discovery records for           $513.00     1.6    $820.80
                            arbitration proceeding.




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Litigation
04/26/2017
   Hommen, Kelly            Meeting to discuss project timeline and   $340.00     0.2     $68.00
                            updates on the bankruptcy
                            proceedings with J. Johnston, S.
                            Minars, R. Strahle, D. McGonigle and
                            J. Letts (Deloitte).
   Johnston, Josh           Meeting to discuss project timeline and   $592.00     0.2    $118.40
                            updates on the bankruptcy
                            proceedings with S. Minars, R. Strahle,
                            D. McGonigle, J. Letts and K. Hommen
                            (Deloitte).
   Letts, Joshua            Meeting to discuss project timeline and   $340.00     0.2     $68.00
                            updates on the bankruptcy
                            proceedings with J. Johnston, S.
                            Minars, R. Strahle, D. McGonigle and
                            K. Hommen (Deloitte).
   McGonigle, David         Meeting to discuss project timeline and   $473.00     0.2     $94.60
                            updates on the bankruptcy
                            proceedings with J. Johnston, S.
                            Minars, R. Strahle, J. Letts and K.
                            Hommen (Deloitte).
   Minars, Scott            Meeting to discuss project timeline and   $592.00     0.2    $118.40
                            updates on the bankruptcy
                            proceedings with J. Johnston, R.
                            Strahle, D. McGonigle, J. Letts and K.
                            Hommen (Deloitte).
   Stafford, Ted            Collected electronic discovery details    $513.00     0.4    $205.20
                            for arbitration.
   Strahle, Robert          Meeting to discuss project timeline and   $513.00     0.2    $102.60
                            updates on the bankruptcy
                            proceedings with J. Johnston, S.
                            Minars, D. McGonigle, J. Letts and K.
                            Hommen (Deloitte).
04/27/2017
   Stafford, Ted            Analysis of independent auditors          $513.00     0.3    $153.90
                            options for arbitration.
04/28/2017
   Cohen, Mark              Meeting to discuss Independent            $592.00     0.5    $296.00
                            Auditor alternatives with S. Minars
                            (Deloitte)



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Litigation
04/28/2017
   Cohen, Mark             Researched replacement independent        $592.00     0.5    $296.00
                           auditor suggestions provided by
                           Marcum
   Letts, Joshua           Reviewed initial findings on potential    $340.00     0.6    $204.00
                           independent auditors.
   Letts, Joshua           Researched potential independent          $340.00     2.8    $952.00
                           auditors that do not have conflicts
   Letts, Joshua           Updated listing of potential              $340.00     2.1    $714.00
                           independent auditors
   Minars, Scott           Meeting to discuss Independent            $592.00     0.5    $296.00
                           Auditor alternatives with M. Cohen
                           (Deloitte)
   Sakuma, Takeru          Summarized pertinent Japanese             $406.00     0.6    $243.60
                           emails for the discovery requests
   Stafford, Ted           Researched potential Independent          $513.00     1.3    $666.90
                           Auditors for arbitration proceedings.
05/01/2017
   Cohen, Mark             Discussed potential independent           $592.00     0.6    $355.20
                           auditor candidates/firms and additional
                           research to perform with J. Johnston,
                           S. Minars, T. Stafford, R. Strahle, D.
                           McGonigle, J. Letts and K. Hommen
                           (all Deloitte).
   Cohen, Mark             Review of list of potential firms and     $592.00     1.0    $592.00
                           candidates to serve as Independent
                           Auditor ('IA"), including research
                           Deloitte relationships with potential
                           candidates.
   Hommen, Kelly           Discussed potential independent           $340.00     0.6    $204.00
                           auditor candidates/firms and additional
                           research to perform with J. Johnston,
                           S. Minars, M. Cohen, T. Stafford, R.
                           Strahle, D. McGonigle and J. Letts (all
                           Deloitte).
   Johnston, Josh          Discussed potential independent           $592.00     0.6    $355.20
                           auditor candidates/firms and additional
                           research to perform with S. Minars, M.
                           Cohen, T. Stafford, R. Strahle, D.
                           McGonigle, J. Letts and K. Hommen
                           (all Deloitte).

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Litigation
05/01/2017
   Johnston, Josh           Research of Independent Auditor           $592.00     1.8   $1,065.60
                            options for arbitration.
   Letts, Joshua            Discussed potential independent           $340.00     0.6    $204.00
                            auditor candidates/firms and additional
                            research to perform with J. Johnston,
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle, D. McGonigle and K. Hommen
                            (all Deloitte).
   Letts, Joshua            Updated summary of Tier 3 IA options      $340.00     2.3    $782.00
   Letts, Joshua            Updated summary of Tier 5 IA options      $340.00     1.7    $578.00
   Letts, Joshua            Researched potential IA                   $340.00     2.4    $816.00
                            candidates/firms for qualifications
   Letts, Joshua            Researched publications by potential      $340.00     1.9    $646.00
                            independent auditor candidates
   McGonigle, David         Discussed potential independent           $473.00     0.6    $283.80
                            auditor candidates/firms and additional
                            research to perform with J. Johnston,
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle, J. Letts and K. Hommen (all
                            Deloitte).
   McGonigle, David         Created template spreadsheet for list     $473.00     0.5    $236.50
                            of potential Independent Auditors and
                            Construction Experts
   McGonigle, David         Updated the listing of potential Tier 1   $473.00     2.8   $1,324.40
                            IA candidates
   McGonigle, David         Updated the listing of potential Tier 2   $473.00     1.9    $898.70
                            IA candidates
   McGonigle, David         Updated the listing of potential Tier 4   $473.00     0.7    $331.10
                            IA candidates
   McGonigle, David         Updated Listing of Potential              $473.00     0.6    $283.80
                            Independent Auditors and Experts
                            based on notes provided by T. Stafford
                            (Deloitte)
   Minars, Scott            Discussed potential independent           $592.00     0.6    $355.20
                            auditor candidates/firms and additional
                            research to perform with J. Johnston,
                            M. Cohen, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (all Deloitte).


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Litigation
05/01/2017
   Minars, Scott            Researche the preliminary listing of      $592.00     1.8   $1,065.60
                            potential IA candidates
   Stafford, Ted            Discussed potential independent           $513.00     0.6    $307.80
                            auditor candidates/firms and additional
                            research to perform with J. Johnston,
                            S. Minars, M. Cohen, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (all Deloitte).
   Stafford, Ted            Reviewed market research for              $513.00     2.3   $1,179.90
                            independent auditors for arbitration
                            proceeding.
   Strahle, Robert          Discussed potential independent           $513.00     0.6    $307.80
                            auditor candidates/firms and additional
                            research to perform with J. Johnston,
                            S. Minars, M. Cohen, T. Stafford, D.
                            McGonigle, J. Letts and K. Hommen
                            (all Deloitte).
05/02/2017
   Cohen, Mark              Reviewed summary of potential             $592.00     0.8    $473.60
                            Independent Auditors ("IA")
   Cohen, Mark              Meeting with T. Baird (WEC), S.           $592.00     0.2    $118.40
                            Minars, J. Johnston, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss
                            potential Independent Auditors for the
                            purchase price dispute.
   Johnston, Josh           Meeting with T. Baird (WEC), S.           $592.00     0.2    $118.40
                            Minars, M. Cohen, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss
                            potential independent auditors for the
                            purchase price dispute.
   Letts, Joshua            Researched potential independent          $340.00     2.1    $714.00
                            auditor candidates
   McGonigle, David         Updated Listing of potential              $473.00     0.7    $331.10
                            Independent auditors and experts
                            based on S. Minars (Deloitte) notes.
   McGonigle, David         Updated Listing of Potential              $473.00     0.5    $236.50
                            Independent Auditors and Experts to
                            reflect additional candidates provided
                            by D. Heffer (Foley)



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Litigation
05/02/2017
   McGonigle, David         Discussed project timeline and updates    $473.00     0.3    $141.90
                            on the bankruptcy proceedings with S.
                            Minars (Deloitte)
   McGonigle, David         Meeting with T. Baird (WEC), S.           $473.00     0.2     $94.60
                            Minars, J. Johnston, M. Cohen and T.
                            Stafford (all Deloitte) to discuss
                            potential independent auditors for the
                            purchase price dispute.
   Minars, Scott            Reviewed the updated and expanded         $592.00     1.2    $710.40
                            IA candidate listing and provided
                            comments.
   Minars, Scott            Discussed project timeline and updates    $592.00     0.3    $177.60
                            on the bankruptcy proceedings with D.
                            McGonigle (Deloitte)
   Minars, Scott            Meeting with T. Baird (WEC), J.           $592.00     0.2    $118.40
                            Johnston, M. Cohen, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss
                            potential independent auditors for the
                            purchase price dispute.
   Stafford, Ted            Reviewed market research for              $513.00     1.2    $615.60
                            independent auditors for arbitration
                            proceeding.
   Stafford, Ted            Meeting with T. Baird (WEC), S.           $513.00     0.2    $102.60
                            Minars, J. Johnston, M. Cohen and D.
                            McGonigle (all Deloitte) to discuss
                            potential independent auditors for the
                            purchase price dispute.
05/03/2017
   Hommen, Kelly            Meeting with J. Johnston, S. Minars, T.   $340.00     0.3    $102.00
                            Stafford, R. Strahle, D. McGonigle and
                            J. Letts (all Deloitte) to discuss
                            potential independent auditor
                            candidates, WEC state supreme court
                            proceedings, and recent news
                            publications addressing the dispute




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Litigation
05/03/2017
   Johnston, Josh           Meeting with S. Minars, T. Stafford, R.   $592.00     0.3    $177.60
                            Strahle, D. McGonigle, J. Letts and K.
                            Hommen (all Deloitte) to discuss
                            potential independent auditor
                            candidates, WEC state supreme court
                            proceedings, and recent news
                            publications addressing the dispute
   Letts, Joshua            Meeting with J. Johnston, S. Minars, T.   $340.00     0.3    $102.00
                            Stafford, R. Strahle, D. McGonigle and
                            K. Hommen (all Deloitte) to discuss
                            potential independent auditor
                            candidates, WEC state supreme court
                            proceedings, and recent news
                            publications addressing the dispute
   Letts, Joshua            Researched potential independent          $340.00     1.6    $544.00
                            auditor candidates/firms
   McGonigle, David         Draft email to the team summarizing       $473.00     0.3    $141.90
                            potential firms to include as IA
                            candidates
   McGonigle, David         Meeting with J. Johnston, S. Minars, T.   $473.00     0.3    $141.90
                            Stafford, R. Strahle, J. Letts and K.
                            Hommen (all Deloitte) to discuss
                            potential independent auditor
                            candidates, WEC state supreme court
                            proceedings, and recent news
                            publications addressing the dispute
   Minars, Scott            Meeting with J. Johnston, T. Stafford,    $592.00     0.3    $177.60
                            R. Strahle, D. McGonigle, J. Letts and
                            K. Hommen (all Deloitte) to discuss
                            potential independent auditor
                            candidates, WEC state supreme court
                            proceedings, and recent news
                            publications addressing the dispute
   Stafford, Ted            Review of industry market data for        $513.00     0.8    $410.40
                            arbitration.
   Stafford, Ted            Meeting with J. Johnston, S. Minars, R.   $513.00     0.3    $153.90
                            Strahle, D. McGonigle, J. Letts and K.
                            Hommen (all Deloitte) to discuss
                            potential independent auditor
                            candidates, WEC state supreme court
                            proceedings, and recent news
                            publications addressing the dispute

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Litigation
05/03/2017
   Strahle, Robert          Meeting with J. Johnston, S. Minars, T.    $513.00     0.3    $153.90
                            Stafford, D. McGonigle, J. Letts and K.
                            Hommen (all Deloitte) to discuss
                            potential independent auditor
                            candidates, WEC state supreme court
                            proceedings, and recent news
                            publications addressing the dispute
05/04/2017
   Letts, Joshua            Researched potential Independent           $340.00     0.1     $34.00
                            auditor candidates
   Stafford, Ted            Review of industry market data for         $513.00     0.7    $359.10
                            arbitration.
05/05/2017
   McGonigle, David         Updated powerpoint summary of              $473.00     0.5    $236.50
                            potential IA candidates going forward
   McGonigle, David         Updated list of parties in interest for    $473.00     1.7    $804.10
                            additional resumes
   Stafford, Ted            Review of industry market data related     $513.00     1.3    $666.90
                            to search for new independent auditor
                            pursuant to ongoing post-closing
                            dispute.
05/09/2017
   Cohen, Mark              Call with client and counsel P. Wang,      $592.00     0.5    $296.00
                            D Heffer (Foley), R. Swanson, T. Baird
                            (WEC), J. Johnston, S. Minars, T.
                            Stafford and D. McGonigle (all Deloitte)
                            to discuss recent court proceedings
                            and arbitration status
   Johnston, Josh           Call with client and counsel P. Wang,      $592.00     0.5    $296.00
                            D Heffer (Foley), R. Swanson, T. Baird
                            (WEC), S. Minars, M. Cohen, T.
                            Stafford and D. McGonigle (all Deloitte)
                            to discuss recent court proceedings
                            and arbitration status
   McGonigle, David         Call with client and counsel P. Wang,      $473.00     0.5    $236.50
                            D Heffer (Foley), R. Swanson, T. Baird
                            (WEC), J. Johnston, S. Minars, M.
                            Cohen and T. Stafford (all Deloitte) to
                            discuss recent court proceedings and
                            arbitration status

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Litigation
05/09/2017
   Minars, Scott           Call with client and counsel P. Wang,      $592.00     0.5    $296.00
                           D Heffer (Foley), R. Swanson, T. Baird
                           (WEC), J. Johnston, M. Cohen and T.
                           Stafford, D. McGonigle (all Deloitte) to
                           discuss recent court proceedings and
                           arbitration status
   Stafford, Ted           Call with client and counsel P. Wang,      $513.00     0.5    $256.50
                           D Heffer (Foley), R. Swanson, T. Baird
                           (WEC), J. Johnston, S. Minars, M.
                           Cohen and D. McGonigle (all Deloitte)
                           to discuss recent court proceedings
                           and arbitration status
   Stafford, Ted           Analysis of market data for arbitration    $513.00     0.6    $307.80
                           related to search for new independent
                           auditor pursuant to ongoing post-
                           closing dispute.
05/10/2017
   Johnston, Josh          Meeting to discuss progress in             $592.00     0.1     $59.20
                           searching for a new independent
                           auditor and potential project timeline
                           moving forward with J. Johnston, and
                           J. Letts (Deloitte).
   Letts, Joshua           Meeting to discuss progress in             $340.00     0.1     $34.00
                           searching for a new independent
                           auditor and potential project timeline
                           moving forward with J. Johnston, R.
                           Strahle and, J. Letts (Deloitte).
05/12/2017
   Stafford, Ted           Analysis of market data for arbitration    $513.00     0.2    $102.60
                           related to search for new independent
                           auditor pursuant to ongoing post-
                           closing dispute.
05/15/2017
   Cohen, Mark             Discussed top independent auditor          $592.00     0.3    $177.60
                           candidates and strategy, as well as
                           effects of potential Delaware State
                           Supreme court rulings with J.
                           Johnston, S. Minars, T. Stafford, R.
                           Strahle, D. McGonigle and J. Letts (all
                           Deloitte).


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Litigation
05/15/2017
   Johnston, Josh           Discussed top independent auditor         $592.00     0.3    $177.60
                            candidates and strategy, as well as
                            effects of potential Delaware State
                            Supreme court rulings with S. Minars,
                            M. Cohen, T. Stafford, R. Strahle, D.
                            McGonigle and J. Letts (all Deloitte).
   Letts, Joshua            Discussed top independent auditor         $340.00     0.3    $102.00
                            candidates and strategy, as well as
                            effects of potential Delaware State
                            Supreme court rulings with J.
                            Johnston, S. Minars, M. Cohen, T.
                            Stafford, R. Strahle and D. McGonigle
                            (all Deloitte).
   McGonigle, David         Discussed top independent auditor         $473.00     0.3    $141.90
                            candidates and strategy, as well as
                            effects of potential Delaware State
                            Supreme court rulings with J.
                            Johnston, S. Minars, M. Cohen, T.
                            Stafford, R. Strahle and J. Letts (all
                            Deloitte).
   Minars, Scott            Discussed top independent auditor         $592.00     0.3    $177.60
                            candidates and strategy, as well as
                            effects of potential Delaware State
                            Supreme court rulings with J.
                            Johnston, M. Cohen, T. Stafford, R.
                            Strahle, D. McGonigle and J. Letts (all
                            Deloitte).
   Stafford, Ted            Discussed top independent auditor         $513.00     0.3    $153.90
                            candidates and strategy, as well as
                            effects of potential Delaware State
                            Supreme court rulings with J.
                            Johnston, S. Minars, M. Cohen, R.
                            Strahle, D. McGonigle and J. Letts (all
                            Deloitte).
05/16/2017
   Cohen, Mark              Call with client and counsel T. Baird     $592.00     0.2    $118.40
                            (WEC), D. Heffer (Foley), J. Johnston,
                            S. Minars, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss IA
                            selection and arbitration status



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Litigation
05/16/2017
   Johnston, Josh           Call with client and counsel T. Baird      $592.00     0.2    $118.40
                            (WEC), D. Heffer (Foley), M. Cohen, S.
                            Minars, T. Stafford and D. McGonigle
                            (all Deloitte) to discuss IA selection
                            and arbitration status
   McGonigle, David         Call with client and counsel T. Baird      $473.00     0.2     $94.60
                            (WEC), D. Heffer (Foley), J. Johnston,
                            M. Cohen, S. Minars and T. Stafford
                            (all Deloitte) to discuss IA selection
                            and arbitration status
   Minars, Scott            Call with client and counsel T. Baird      $592.00     0.2    $118.40
                            (WEC), D. Heffer (Foley), J. Johnston,
                            M. Cohen, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss IA
                            selection and arbitration status
   Stafford, Ted            Call with client and counsel T. Baird      $513.00     0.2    $102.60
                            (WEC), D. Heffer (Foley), J. Johnston,
                            M. Cohen, S. Minars and D. McGonigle
                            (all Deloitte) to discuss IA selection
                            and arbitration status
05/19/2017
   Minars, Scott            Reviewed the responses to the internal     $592.00     3.2   $1,894.40
                            Deloitte parties-in-interest conflict
                            checking.
   Stafford, Ted            Analysis of market data for arbitration.   $513.00     0.2    $102.60
05/22/2017
   Cohen, Mark              Meeting to discuss ongoing bankruptcy      $592.00     0.2    $118.40
                            proceedings and independent auditor
                            selection progress with J. Johnston, S.
                            Minars, T. Stafford, D. McGonigle, J.
                            Letts and K. Hommen (all Deloitte).
   Hommen, Kelly            Meeting to discuss ongoing bankruptcy      $340.00     0.2     $68.00
                            proceedings and independent auditor
                            selection progress with J. Johnston, S.
                            Minars, M. Cohen, T. Stafford, D.
                            McGonigle and J. Letts (all Deloitte).




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Litigation
05/22/2017
   Johnston, Josh           Meeting to discuss ongoing bankruptcy       $592.00     0.2    $118.40
                            proceedings and independent auditor
                            selection progress with S. Minars, M.
                            Cohen, T. Stafford, D. McGonigle, J.
                            Letts and K. Hommen (all Deloitte).
   Letts, Joshua            Meeting to discuss ongoing bankruptcy       $340.00     0.2     $68.00
                            proceedings and independent auditor
                            selection progress with J. Johnston, S.
                            Minars, M. Cohen, T. Stafford, D.
                            McGonigle and K. Hommen (all
                            Deloitte).
   McGonigle, David         Meeting to discuss ongoing bankruptcy       $473.00     0.2     $94.60
                            proceedings and independent auditor
                            selection progress with J. Johnston, S.
                            Minars, M. Cohen, T. Stafford, J. Letts
                            and K. Hommen (all Deloitte).
   Minars, Scott            Meeting to discuss ongoing bankruptcy       $592.00     0.2    $118.40
                            proceedings and independent auditor
                            selection progress with J. Johnston M.
                            Cohen, T. Stafford, D. McGonigle, J.
                            Letts and K. Hommen (all Deloitte).
   Stafford, Ted            Meeting to discuss ongoing bankruptcy       $513.00     0.2    $102.60
                            proceedings and independent auditor
                            selection progress with J. Johnston, S.
                            Minars, M. Cohen, D. McGonigle, J.
                            Letts and K. Hommen (all Deloitte).
05/23/2017
   Cohen, Mark              Call with client and counsel T. Baird,      $592.00     0.4    $236.80
                            D.Mura (WEC), S. Minars, D.
                            McGonigle and T. Stafford (all Deloitte)
                            to discuss IA selection and arbitration
                            status.
   McGonigle, David         Call with client and counsel T. Baird,      $473.00     0.4    $189.20
                            D.Mura (WEC), S. Minars, M. Cohen
                            and T. Stafford (all Deloitte) to discuss
                            IA selection and arbitration status.
   Minars, Scott            Call with client and counsel T. Baird,      $592.00     0.4    $236.80
                            D.Mura (WEC), M. Cohen, D.
                            McGonigle and T. Stafford (all Deloitte)
                            to discuss IA selection and arbitration
                            status.

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Litigation
05/23/2017
   Stafford, Ted            Call with client and counsel T. Baird,    $513.00     0.4    $205.20
                            D.Mura (WEC), S. Minars, D.
                            McGonigle and M. Cohen (all Deloitte)
                            to discuss IA selection and arbitration
                            status.
05/24/2017
   Cohen, Mark              Internal call to discuss potential IA     $592.00     0.2    $118.40
                            candidates across available firms with
                            S. Minars, T. Stafford, R. Strahle, J.
                            Letts, D. McGonigle and K. Hommen
                            (all Deloitte).
   Hommen, Kelly            Internal call to discuss potential IA     $340.00     0.2     $68.00
                            candidates across available firms with
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle, D. McGonigle and J. Letts (all
                            Deloitte).
   Letts, Joshua            Internal call to discuss potential IA     $340.00     0.1     $34.00
                            candidates across available firms with
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle, D. McGongile and K. Hommen
                            (all Deloitte).
   McGonigle, David         Internal call to discuss potential IA     $473.00     0.2     $94.60
                            candidates across available firms with
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle, J. Letts and K. Hommen (all
                            Deloitte).
   Minars, Scott            Internal call to discuss potential IA     $592.00     0.2    $118.40
                            candidates across available firms with
                            D. McGonigle, M. Cohen, T. Stafford,
                            R. Strahle, J. Letts and K. Hommen (all
                            Deloitte).
   Stafford, Ted            Internal call to discuss potential IA     $513.00     0.2    $102.60
                            candidates across available firms with
                            S. Minars, M. Cohen, D. McGonigle, R.
                            Strahle, J. Letts and K. Hommen (all
                            Deloitte).
   Stafford, Ted            Reviewed market research for              $513.00     0.5    $256.50
                            arbitration related to search for new
                            independent auditor pursuant to
                            ongoing post-closing dispute.


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Litigation
05/24/2017
   Strahle, Robert          Internal call to discuss potential IA     $513.00     0.2    $102.60
                            candidates across available firms with
                            S. Minars, M. Cohen, T. Stafford, D.
                            McGonigle, J. Letts and K. Hommen
                            (all Deloitte).
05/25/2017
   Stafford, Ted            Review of arbitration and court           $513.00     1.0    $513.00
                            proceedings and filings related to
                            search for new independent auditor
                            pursuant to ongoing post-closing
                            dispute.
05/30/2017
   Cohen, Mark              Call with client and counsel R.           $592.00     0.1     $59.20
                            Swanson, D. Mura (WEC), P. Wang,
                            D. Heffer (Foley), J. Johnston, S.
                            Minars, R. Strahle, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss IA
                            selection and arbitration status
   Johnston, Josh           Call with client and counsel R.           $592.00     0.1     $59.20
                            Swanson, D. Mura (WEC), P. Wang,
                            D. Heffer (Foley), M. Cohen, S. Minars,
                            R. Strahle, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss IA
                            selection and arbitration status
   McGonigle, David         Call with client and counsel R.           $473.00     0.1     $47.30
                            Swanson, D. Mura (WEC), P. Wang,
                            D. Heffer (Foley), J. Johnston, S.
                            Minars, M. Cohen, R. Strahle and T.
                            Stafford (all Deloitte) to discuss IA
                            selection and arbitration status
   Minars, Scott            Call with client and counsel R.           $592.00     0.1     $59.20
                            Swanson, D. Mura (WEC), P. Wang,
                            D. Heffer (Foley), J. Johnston, M.
                            Cohen, R. Strahle, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss IA
                            selection and arbitration status




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Litigation
05/30/2017
   Stafford, Ted            Call with client and counsel R.           $513.00     0.1     $51.30
                            Swanson, D. Mura (WEC), P. Wang,
                            D. Heffer (Foley), J. Johnston, S.
                            Minars, M. Cohen, R. Strahle and D.
                            McGonigle (all Deloitte) to discuss IA
                            selection and arbitration status
   Strahle, Robert          Call with client and counsel R.           $513.00     0.1     $51.30
                            Swanson, D. Mura (WEC), P. Wang,
                            D. Heffer (Foley), J. Johnston, S.
                            Minars, M. Cohen, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss IA
                            selection and arbitration status
06/02/2017
   McGonigle, David         Reviewed similar construction             $473.00     2.7   $1,277.10
                            arbitration case to prepare key take-
                            away slides for the arbitration
06/03/2017
   Stafford, Ted            Engagement planning related to            $513.00     0.2    $102.60
                            search for new independent auditor
                            and on-going arbitration process.
06/04/2017
   Stanton, Steven          Reviewed purchase agreement under         $592.00     0.5    $296.00
                            dispute between WEC and CB&I
06/05/2017
   Cohen, Mark              Meeting to discuss bankruptcy             $592.00     0.1     $59.20
                            proceedings and internal team
                            structure going forward with T.
                            Stafford, R. Strahle, D. McGonigle, J.
                            Letts and K. Hommen (all Deloitte)
   Cohen, Mark              Call with C. Daigle (Marsh) regarding     $592.00     0.4    $236.80
                            status update of the Independent
                            Auditor ("IA") process
   Hommen, Kelly            Meeting to discuss bankruptcy             $340.00     0.1     $34.00
                            proceedings and internal team
                            structure going forward with M. Cohen,
                            T. Stafford, R. Strahle, D. McGonigle
                            and J. Letts (all Deloitte)




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Litigation
06/05/2017
   Letts, Joshua            Meeting to discuss bankruptcy              $340.00     0.1     $34.00
                            proceedings and internal team
                            structure going forward with M. Cohen,
                            T. Stafford, R. Strahle, D. McGonigle
                            and K. Hommen (all Deloitte)
   McGonigle, David         Meeting to discuss bankruptcy              $473.00     0.1     $47.30
                            proceedings and internal team
                            structure going forward with M. Cohen,
                            T. Stafford, R. Strahle, J. Letts and K.
                            Hommen (all Deloitte)
   McGonigle, David         Finished the review of a similar case in   $473.00     1.1    $520.30
                            connection with preparing a
                            presentation for strategy impacts on
                            the purchase price dispute.
   McGonigle, David         Updated team schedule input template       $473.00     0.7    $331.10
                            based on new timeline estimates
   McGonigle, David         Prepared presentation summarizing          $473.00     3.0   $1,419.00
                            similar dispute and lessons to
                            implement for current dispute litigation
   McGonigle, David         Prepared presentation summarizing          $473.00     1.0    $473.00
                            similar dispute and strategy to
                            implement for current dispute litigation
   Stafford, Ted            Meeting to discuss bankruptcy              $513.00     0.1     $51.30
                            proceedings and internal team
                            structure going forward with M. Cohen,
                            R. Strahle, D. McGonigle, J. Letts and
                            K. Hommen (all Deloitte)
   Stafford, Ted            Prepare summary of arbitration             $513.00     0.7    $359.10
                            materials and timeline.
   Stanton, Steven          Continued review of the purchase           $592.00     0.3    $177.60
                            agreement under dispute between
                            WEC and CB&I
   Strahle, Robert          Meeting to discuss bankruptcy              $513.00     0.1     $51.30
                            proceedings and internal team
                            structure going forward with M. Cohen,
                            R. Strahle, D. McGonigle, J. Letts and
                            K. Hommen (all Deloitte)




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Litigation
06/06/2017
   Cohen, Mark              Call with T. Baird (WEC) to schedule      $592.00     0.3    $177.60
                            meeting with Deloitte, WEC and Foley
                            teams regarding analysis for the
                            disputed net working capital ("NWC")
                            calculation
   Cohen, Mark              Conference call with S. Stanton           $592.00     0.7    $414.40
                            (Deloitte) to discuss overall status of
                            the IA process
   Stanton, Steven          Conference call with M. Cohen             $592.00     0.7    $414.40
                            (Deloitte) to discuss overall status of
                            the IA process
06/07/2017
   Cohen, Mark              Meeting to discuss upcoming client        $592.00     0.3    $177.60
                            meeting and timeline of project going
                            forward with S. Stanton, J. Larson, T.
                            Stafford, D. McGonigle, J. Letts, K.
                            Hommen (all Deloitte)
   Cohen, Mark              Discussion with T. Baird (WEC) on         $592.00     0.1     $59.20
                            scheduling in-person meeting
                            regarding IA process going forward for
                            June 21 or June 22
   Hommen, Kelly            Meeting to discuss upcoming client        $340.00     0.3    $102.00
                            meeting and timeline of project going
                            forward with M. Cohen, S. Stanton, J.
                            Larson, T. Stafford, D. McGonigle and
                            J. Letts (all Deloitte)
   Larson, Jen              Meeting to discuss upcoming client        $513.00     0.3    $153.90
                            meeting and timeline of project going
                            forward with M. Cohen, S. Stanton, T.
                            Stafford, D. McGonigle, J. Letts, K.
                            Hommen (all Deloitte)
   Letts, Joshua            Meeting to discuss upcoming client        $340.00     0.3    $102.00
                            meeting and timeline of project going
                            forward with M. Cohen, S. Stanton, J.
                            Larson, T. Stafford, D. McGonigle, K.
                            Hommen (all Deloitte)
   McGonigle, David         Meeting to discuss upcoming client        $473.00     0.3    $141.90
                            meeting and timeline of project going
                            forward with M. Cohen, S. Stanton, J.
                            Larson, T. Stafford, J. Letts, K.
                            Hommen (all Deloitte)

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Litigation
06/07/2017
   Stafford, Ted            Meeting to discuss upcoming client        $513.00     0.3    $153.90
                            meeting and timeline of project going
                            forward with M. Cohen, S. Stanton, J.
                            Larson, D. McGonigle, J. Letts, K.
                            Hommen (all Deloitte)
   Stafford, Ted            Analysis of arbitration determinations    $513.00     0.5    $256.50
                            and disputes.
   Stanton, Steven          Meeting to discuss upcoming client        $592.00     0.3    $177.60
                            meeting and timeline of project going
                            forward with M. Cohen, J. Larson, T.
                            Stafford, D. McGonigle, J. Letts, K.
                            Hommen (all Deloitte)
06/08/2017
   Cohen, Mark              Discussion with T. Baird (WEC) on         $592.00     0.2    $118.40
                            scheduling in-person meeting
                            regarding IA process and coordination
                            of team resources going forward
   McGonigle, David         Updated presentation of similar dispute   $473.00     0.9    $425.70
                            and strategies to implement in current
                            dispute per notes from T. Stafford
                            (Deloitte)
06/09/2017
   Stanton, Steven          Continued review of the purchase          $592.00     0.4    $236.80
                            agreement under dispute between
                            WEC and CB&I
06/12/2017
   Cohen, Mark              Call with S. Minars (Deloitte) on         $592.00     0.2    $118.40
                            logistics for in-person meeting
                            regarding the IA process going-forward
                            with WEC and Foley
   Minars, Scott            Call with M. Cohen (Deloitte) on          $592.00     0.2    $118.40
                            logistics for in-person meeting
                            regarding the IA process going-forward
                            with WEC and Foley
06/13/2017
   Cohen, Mark              Call with T. Baird (WEC) regarding        $592.00     0.3    $177.60
                            planning for meeting with WEC,
                            Deloitte and Foley on 6/22 related to
                            the IA process going forward

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Litigation
06/13/2017
   Cohen, Mark              Call with S. Minars (Deloitte) regarding   $592.00     0.2    $118.40
                            preparation for in-person meeting with
                            WEC and Foley pertaining to the IA
                            process going-forward
   McGonigle, David         Updated presentation of strategic 'keys    $473.00     1.0    $473.00
                            for arbitration' based on S. Minars'
                            notes.
   Minars, Scott            Call with M. Cohen (Deloitte) regarding    $592.00     0.2    $118.40
                            preparation for in-person meeting with
                            WEC and Foley pertaining to the IA
                            process going-forward
   Stafford, Ted            Draft email on auditor process to D.       $513.00     0.2    $102.60
                            Heffer and P. Wang (Foley)
06/14/2017
   Cohen, Mark              Meeting to discuss upcoming meeting        $592.00     1.0    $592.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with S. Minars, S. Stanton, T. Stafford,
                            R. Strahle, J. Larson, D. McGonigle, K.
                            Hommen (Deloitte).
   Cohen, Mark              Call with R. Mercado (Marcum) on           $592.00     0.8    $473.60
                            ongoing status of engagement and
                            research of construction experts to
                            serve as subject matter experts
   Hommen, Kelly            Meeting to discuss upcoming meeting        $340.00     1.0    $340.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with S. Minars, S. Stanton, T. Stafford,
                            R. Strahle, J. Larson, D. McGonigle, M.
                            Cohen (Deloitte).
   Larson, Jen              Meeting to discuss upcoming meeting        $513.00     1.0    $513.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with S. Minars, S. Stanton, T. Stafford,
                            R. Strahle, M. Cohen, D. McGonigle,
                            K. Hommen (Deloitte).




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                        Westinghouse Electric Company LLC
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Date                        Description                                  Rate    Hours      Fees

Litigation
06/14/2017
   McGonigle, David         Meeting to discuss upcoming meeting        $473.00     1.0    $473.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with S. Minars, S. Stanton, T. Stafford,
                            R. Strahle, J. Larson, M. Cohen, K.
                            Hommen (Deloitte).
   McGonigle, David         Reviewed and updated project working       $473.00     0.4    $189.20
                            group list
   Minars, Scott            Meeting to discuss upcoming meeting        $592.00     1.0    $592.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with M. Cohen, S. Stanton, T. Stafford,
                            R. Strahle, J. Larson, D. McGonigle, K.
                            Hommen (Deloitte).
   Stafford, Ted            Meeting to discuss upcoming meeting        $513.00     1.0    $513.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with S. Minars, S. Stanton, M. Cohen,
                            R. Strahle, J. Larson, D. McGonigle, K.
                            Hommen (Deloitte).
   Stafford, Ted            Call with J. Egertson (self employed       $513.00     0.5    $256.50
                            consultant) regarding arbitration
                            proceeding status.
   Stafford, Ted            Draft email on auditor process to D.       $513.00     0.2    $102.60
                            Heffer and P. Wang (Foley)
   Stafford, Ted            Research of internal auditor selection     $513.00     0.3    $153.90
                            for arbitration proceeding.
   Stanton, Steven          Meeting to discuss upcoming meeting        $592.00     1.0    $592.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with S. Minars, M. Cohen, T. Stafford,
                            R. Strahle, J. Larson, D. McGonigle, K.
                            Hommen (Deloitte).
   Stanton, Steven          Analyzed schedule 11.1(a) in the           $592.00     0.5    $296.00
                            purchase agreement
   Strahle, Robert          Meeting to discuss upcoming meeting        $513.00     1.0    $513.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with S. Minars, S. Stanton, T. Stafford,
                            M. Cohen, J. Larson, D. McGonigle, K.
                            Hommen (Deloitte).

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                        Westinghouse Electric Company LLC
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Date                        Description                                  Rate    Hours       Fees

Litigation
06/16/2017
   Stanton, Steven          Reviewed submissions to the delaware       $592.00     0.5    $296.00
                            supreme court regarding IA process
06/18/2017
   Larson, Jen              Review the Verified Complaint and          $513.00     2.6   $1,333.80
                            CB&I Appeal.
06/19/2017
   Cohen, Mark              Meeting to discuss in-person meeting       $592.00     0.1     $59.20
                            with WEC on 6/22 pertaining to the IA
                            process going forward and potential IA
                            candidates with T. Stafford, R. Strahle,
                            K. Hommen (Deloitte)
   Hommen, Kelly            Meeting to discuss in-person meeting       $340.00     0.1     $34.00
                            with WEC on 6/22 pertaining to the IA
                            process going forward and potential IA
                            candidates with T. Stafford, R. Strahle,
                            M. Cohen (Deloitte)
   Stafford, Ted            Meeting to discuss in-person meeting       $513.00     0.1     $51.30
                            with WEC on 6/22 pertaining to the IA
                            process going forward and potential IA
                            candidates with M. Cohen, R. Strahle,
                            K. Hommen (Deloitte)
   Strahle, Robert          Meeting to discuss in-person meeting       $513.00     0.1     $51.30
                            with WEC on 6/22 pertaining to the IA
                            process going forward and potential IA
                            candidates with T. Stafford, M. Cohen,
                            K. Hommen (Deloitte)
06/20/2017
   Larson, Jen              Reviewed Chicago Bridge & Iron             $513.00     0.4    $205.20
                            (CB&I) Closing Payment Statement.
   Larson, Jen              Reviewed WEC's Closing Statement.          $513.00     0.4    $205.20
   Larson, Jen              Reviewed CB&I's Objection Notice.          $513.00     1.0    $513.00
06/21/2017
   Hommen, Kelly            Meeting to discuss upcoming meeting        $340.00     0.2     $68.00
                            with client regarding Independent
                            Auditors ("IA") candidates with S.
                            Minars, T. Stafford, R. Strahle, J.
                            Larson, D. McGonigle and J. Letts
                            (Deloitte)


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Litigation
06/21/2017
   Larson, Jen              Meeting to discuss upcoming meeting       $513.00     0.2    $102.60
                            with client regarding Independent
                            Auditors ("IA") candidates with S.
                            Minars, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte)
   Larson, Jen              Review the Purchase Agreement             $513.00     2.4   $1,231.20
                            between CB&I and WEC
   Larson, Jen              Analyzed schedules 1.4(f) related to      $513.00     0.3    $153.90
                            WEC's acquisition of CB&I Stone &
                            Webster
   Larson, Jen              Analyzed schedules 11.1(a) related to     $513.00     0.6    $307.80
                            WEC's acquisition of CB&I Stone &
                            Webster
   Letts, Joshua            Meeting to discuss upcoming meeting       $340.00     0.2     $68.00
                            with client regarding Independent
                            Auditors ("IA") candidates with S.
                            Minars, T. Stafford, R. Strahle, J.
                            Larson, D. McGonigle and K. Hommen
                            (Deloitte)
   Letts, Joshua            Updated listing of potential              $340.00     0.2     $68.00
                            independent auditor ("IA") candidates
   McGonigle, David         Meeting to discuss upcoming meeting       $473.00     0.2     $94.60
                            with client regarding Independent
                            Auditors ("IA") candidates with S.
                            Minars, T. Stafford, R. Strahle, J.
                            Larson, J. Letts and K. Hommen
                            (Deloitte)
   Minars, Scott            Meeting to discuss upcoming meeting       $592.00     0.2    $118.40
                            with client regarding Independent
                            Auditors ("IA") candidates with T.
                            Stafford, R. Strahle, J. Larson, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte)
   Stafford, Ted            Meeting to discuss upcoming meeting       $513.00     0.2    $102.60
                            with client regarding Independent
                            Auditors ("IA") candidates with S.
                            Minars, R. Strahle, J. Larson, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte)



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Litigation
06/22/2017
   Cohen, Mark              Meeting with P. Wang, D. Heffer           $592.00     3.1   $1,835.20
                            (Foley), T. Baird, R Swanson (WEC),
                            S. Minars, J. Larson, T. Stafford, R.
                            Strahle and D. McGonigle (Deloitte) to
                            discuss Independent Auditor (" IA")
                            selection process, status of the
                            Delaware supreme court ruling, and
                            arbitr
   Larson, Jen              Review the Grant Thornton                 $513.00     0.9    $461.70
                            determination letter.
   Larson, Jen              Meeting with P. Wang, D. Heffer           $513.00     3.1   $1,590.30
                            (Foley), T. Baird, R Swanson (WEC),
                            M. Cohen, S. Minars, T. Stafford, R.
                            Strahle and D. McGonigle (Deloitte) to
                            discuss Independent Auditor (" IA")
                            selection process, status of the
                            Delaware supreme court ruling, and
                            arbitra
   Larson, Jen              Read 9-2-16 Defendant's Opening           $513.00     2.0   $1,026.00
                            Brief ISO Motion for Judgment on the
                            Pleading.
   Larson, Jen              Read 10-17-16 Defendants Reply Brief      $513.00     0.7    $359.10
                            ISO their Motion for Judgment.
   McGonigle, David         Meeting with P. Wang, D. Heffer           $473.00     3.1   $1,466.30
                            (Foley), T. Baird, R Swanson (WEC),
                            M. Cohen, S. Minars, J. Larson, T.
                            Stafford and R. Strahle (Deloitte) to
                            discuss Independent Auditor (" IA")
                            selection process, status of the
                            Delaware supreme court ruling, and
                            arbitratio
   McGonigle, David         Gathered files regarding historical       $473.00     0.8    $378.40
                            accounting for the loss reserve, margin
                            fair value and related legal memos.
   Minars, Scott            Meeting with P. Wang, D. Heffer           $592.00     3.1   $1,835.20
                            (Foley), T. Baird, R Swanson (WEC),
                            M. Cohen, J. Larson, T. Stafford, R.
                            Strahle and D. McGonigle (Deloitte) to
                            discuss Independent Auditor (" IA")
                            selection process, status of the
                            Delaware supreme court ruling, and
                            arbitra

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Litigation
06/22/2017
   Stafford, Ted            Review and organize prior arbitration      $513.00     0.4    $205.20
                            submissions by CB&I.
   Stafford, Ted            Draft email to P. Wang and D. Heffer       $513.00     0.1     $51.30
                            (Foley) related to prior arbitration
                            submissions by CB&I.
   Stafford, Ted            Drafting email to T. Baird (WEC)           $513.00     0.1     $51.30
                            related to prior arbitration submissions
                            by CB&I.
   Stafford, Ted            Meeting with P. Wang, D. Heffer            $513.00     3.1   $1,590.30
                            (Foley), T. Baird, R Swanson (WEC),
                            M. Cohen, S. Minars, J. Larson, R.
                            Strahle and D. McGonigle (Deloitte) to
                            discuss Independent Auditor (" IA")
                            selection process, status of the
                            Delaware supreme court ruling, and
                            arbitrati
   Stafford, Ted            Perform analysis of historical net         $513.00     0.4    $205.20
                            working capital (NWC) calculations and
                            documentation.
   Strahle, Robert          Meeting with P. Wang, D. Heffer            $513.00     3.1   $1,590.30
                            (Foley), T. Baird, R Swanson (WEC),
                            M. Cohen, S. Minars, J. Larson, T.
                            Stafford and D. McGonigle (Deloitte) to
                            discuss Independent Auditor (" IA")
                            selection process, status of the
                            Delaware supreme court ruling, and
                            arbitrat
06/23/2017
   Letts, Joshua            Pulled documents (legal memos) from        $340.00     1.0    $340.00
                            relativity for T. Baird and R. Swanson
                            (WEC) pursuant to their request.
   McGonigle, David         Gathered historical accounting             $473.00     0.4    $189.20
                            memoranda for costs and estimated
                            earnings in excess of billings (CIE) /
                            billings in excess of Debtors' costs and
                            estimated earnings (BIE) balances
   Stafford, Ted            Review of historical accounting / legal    $513.00     0.3    $153.90
                            memos for arbitration




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Date                        Description                                 Rate    Hours      Fees

Litigation
06/25/2017
   Letts, Joshua            Uploaded legal memos to the               $340.00     0.3    $102.00
                            SharePoint for T. Baird and R.
                            Swanson (WEC)
06/27/2017
   Cohen, Mark              Preliminary review of Delaware            $592.00     0.5    $296.00
                            supreme court decision regarding the
                            IA dispute process received from P
                            Wang and D Heffer (Foley)
   Cohen, Mark              Discussion with S. Minars (Deloitte) on   $592.00     0.6    $355.20
                            the Delaware supreme court decision
                            on the arbitration process
   McGonigle, David         Review of Delaware supreme court          $473.00     1.5    $709.50
                            decision regarding the IA dispute
                            process received from P. Wang and D.
                            Heffer (Foley)
   McGonigle, David         Meeting with P. Wang, D. Heffer           $473.00     1.0    $473.00
                            (Foley), M. Sweeny, R. Swanson, D.
                            Mura (WEC), S. Minars, T. Stafford
                            and R. Strahle (Deloitte) to discuss
                            Delaware Delaware supreme court
                            decision's impact on the arbitration
                            process going forward
   Minars, Scott            Continued analysis of ruling from         $592.00     0.8    $473.60
                            Delaware Supreme Court regarding
                            the IA process going forward
   Minars, Scott            Preparation of discussion points for      $592.00     0.9    $532.80
                            meeting with WEC and Foley
                            pertaining to the Delaware supreme
                            court's ruling regarding the IA process
                            going forward
   Minars, Scott            Discussion with M. Cohen (Deloitte) on    $592.00     0.6    $355.20
                            the Delaware supreme court decision
                            on the arbitration process
   Minars, Scott            Meeting with P. Wang, D. Heffer           $592.00     1.0    $592.00
                            (Foley), M. Sweeny, R. Swanson, D.
                            Mura (WEC), D. McGonigle, T. Stafford
                            and R. Strahle (Deloitte) to discuss
                            Delaware supreme court decision's
                            impact on the arbitration process going
                            forward


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Litigation
06/27/2017
   Minars, Scott            Review of Delaware supreme court          $592.00     1.2    $710.40
                            decision regarding the IA dispute
                            process received from P. Wang and D.
                            Heffer (Foley)
   Stafford, Ted            Meeting with P. Wang, D. Heffer           $513.00     1.0    $513.00
                            (Foley), M. Sweeny, R. Swanson, D.
                            Mura (WEC), S. Minars, D. McGonigle
                            and R. Strahle (Deloitte) to discuss
                            Delaware supreme court decision's
                            impact on the arbitration process going
                            forward
   Stafford, Ted            Analysis of Delaware supreme court        $513.00     0.6    $307.80
                            decision on arbitration proceeding.
   Strahle, Robert          Meeting with P. Wang, D. Heffer           $513.00     1.0    $513.00
                            (Foley), M. Sweeny, R. Swanson, D.
                            Mura (WEC), S. Minars, T. Stafford
                            and D. McGonigle (Deloitte) to discuss
                            Delaware supreme court decision's
                            impact on the arbitration process going
                            forward
06/28/2017
   Cohen, Mark              Detailed review of Delaware supreme       $592.00     0.6    $355.20
                            court decision regarding the IA process
                            going-forward
   Cohen, Mark              Call with R. Mercado (Marcum)             $592.00     0.3    $177.60
                            regarding Delaware supreme court
                            decision related to the IA process
                            going forward
   Hommen, Kelly            Reviewed Delaware supreme courts          $340.00     2.0    $680.00
                            ruling regarding the IA process going
                            forward
   McGonigle, David         Meeting with S. Minars, T. Stafford       $473.00     0.4    $189.20
                            (Deloitte) to discuss strategy for
                            preparing an outline and presentation
                            for arbitration going forward.
   McGonigle, David         Summarized Delaware supreme court         $473.00     1.3    $614.90
                            statements (as they pertain to the
                            disputed NWC) that have an impact on
                            the IA process going-forward.
   McGonigle, David         Prepared a summary of potential IA        $473.00     2.4   $1,135.20
                            claims going forward.

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Litigation
06/28/2017
   McGonigle, David         Finished summary of potential IA           $473.00     2.3   $1,087.90
                            claims going forward.
   Minars, Scott            Continued analysis of ruling from          $592.00     2.3   $1,361.60
                            Delaware Supreme Court
   Minars, Scott            Reviewed re-assessment of Net              $592.00     1.1    $651.20
                            Working Capital items
   Minars, Scott            Reviewed discussion materials on the       $592.00     0.4    $236.80
                            impact of the Delaware supreme
                            court's decision of IA process going-
                            forward
   Minars, Scott            Meeting with T. Stafford and D.            $592.00     0.4    $236.80
                            McGonigle (Deloitte) to discuss
                            strategy for preparing an outline and
                            presentation for arbitration going
                            forward.
   Stafford, Ted            Review of analysis arbitration disputed    $513.00     1.2    $615.60
                            items listing.
   Stafford, Ted            Meeting with S. Minars and D.              $513.00     0.4    $205.20
                            McGonigle (Deloitte) to discuss
                            strategy for preparing an outline and
                            presentation for arbitration going
                            forward.
06/29/2017
   Cohen, Mark              Meeting with P. Wang, D. Heffer            $592.00     0.8    $473.60
                            (Foley), R. Swanson, D. Mura (WEC),
                            S. Minars, S. Stanton, R. Strahle, T.
                            Stafford and D. McGonigle (Deloitte) to
                            discuss arbitration claims.
   Cohen, Mark              Meeting to discuss outcome of the          $592.00     0.1     $59.20
                            Delaware Supreme court hearing and
                            immediate action items resulting from
                            the decision with S. Minars, D.
                            McGonigle, J. Letts and K. Hommen
                            (all Deloitte)
   Hommen, Kelly            Meeting to discuss outcome of the          $340.00     0.1     $34.00
                            Delaware Supreme court hearing and
                            immediate action items resulting from
                            the decision with S. Minars, M Cohen,
                            D. McGonigle and J. Letts (all Deloitte)



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Litigation
06/29/2017
   Letts, Joshua            Researched relevant email                 $340.00     0.3    $102.00
                            communications to be used in IA
                            proceedings going-forward
   Letts, Joshua            Meeting to discuss outcome of the         $340.00     0.1     $34.00
                            Delaware Supreme court hearing and
                            immediate action items resulting from
                            the decision with S. Minars, M Cohen,
                            D. McGonigle and K. Hommen (all
                            Deloitte)
   McGonigle, David         Meeting with P. Wang, D. Heffer           $473.00     0.8    $378.40
                            (Foley), R. Swanson, D. Mura (WEC),
                            S. Minars, S. Stanton, M Cohen, R.
                            Strahle and T. Stafford (Deloitte) to
                            discuss arbitration claims.
   McGonigle, David         Update schedules cost and revenue         $473.00     1.0    $473.00
                            estimate at completion ("EAC") for
                            potential claims going forward
   McGonigle, David         Updated schedule of potential IA          $473.00     2.7   $1,277.10
                            candidates going forward based on
                            notes from team
   McGonigle, David         Meeting to discuss outcome of the         $473.00     0.1     $47.30
                            Delaware Supreme court hearing and
                            immediate action items resulting from
                            the decision with S. Minars, M Cohen,
                            J. Letts and K. Hommen (all Deloitte)
   Minars, Scott            Meeting to discuss outcome of the         $592.00     0.1     $59.20
                            Delaware Supreme court hearing and
                            immediate action items resulting from
                            the decision with M. Cohen, D.
                            McGonigle, J. Letts and K. Hommen
                            (all Deloitte)
   Minars, Scott            Meeting with P. Wang, D. Heffer           $592.00     0.8    $473.60
                            (Foley), R. Swanson, D. Mura (WEC),
                            S. Stanton, M Cohen, R. Strahle, T.
                            Stafford and D. McGonigle (Deloitte) to
                            discuss arbitration claims.
   Minars, Scott            Continued analysis of ruling from         $592.00     1.4    $828.80
                            Delaware Supreme Court on the IA
                            process going-forward




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Litigation
06/29/2017
   Minars, Scott            Updated discussion materials on the       $592.00     0.6    $355.20
                            impact of the Delaware supreme
                            court's decision of IA process going-
                            forward
   Stafford, Ted            Meeting with P. Wang, D. Heffer           $513.00     0.8    $410.40
                            (Foley), R. Swanson, D. Mura (WEC),
                            S. Minars, S. Stanton, M Cohen, R.
                            Strahle and D. McGonigle (Deloitte) to
                            discuss arbitration claims.
   Stafford, Ted            Analysis of Delaware supreme court        $513.00     0.3    $153.90
                            decision on arbitration.
   Stanton, Steven          Meeting with P. Wang, D. Heffer           $592.00     0.8    $473.60
                            (Foley), R. Swanson, D. Mura (WEC),
                            S. Minars, M Cohen, R. Strahle, T.
                            Stafford and D. McGonigle (Deloitte) to
                            discuss arbitration claims.
   Stanton, Steven          Reviewed Delaware supreme courts          $592.00     0.7    $414.40
                            ruling regarding the IA process going
                            forward
   Strahle, Robert          Meeting with P. Wang, D. Heffer           $513.00     0.8    $410.40
                            (Foley), R. Swanson, D. Mura (WEC),
                            S. Minars, S. Stanton, M Cohen T.
                            Stafford and D. McGonigle (Deloitte) to
                            discuss arbitration claims.
   Strahle, Robert          Reviewed Delaware supreme courts          $513.00     2.0   $1,026.00
                            ruling regarding the IA process going
                            forward
06/30/2017
   Cohen, Mark              Meeting with S. Minars, S. Stanton, T.    $592.00     0.9    $532.80
                            Stafford, M. Strahle and D. McGonigle
                            (Deloitte) to discuss Delaware
                            supreme court decision and arbitration
                            going-forward.
   Letts, Joshua            Discussed document review files           $340.00     0.3    $102.00
                            regarding purchase agreement sample
                            calculation with R. Strahle (Deloitte)
   McGonigle, David         Meeting with S. Minars, S. Stanton, M     $473.00     0.9    $425.70
                            Cohen, T. Stafford and M. Strahle
                            (Deloitte) to discuss Delaware
                            supreme court decision and arbitration
                            going-forward.

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                        Westinghouse Electric Company LLC
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                     Fees Sorted by Category for the Fee Period
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Date                        Description                                 Rate    Hours      Fees

Litigation
06/30/2017
   Minars, Scott            Meeting with S. Stanton, M Cohen, T.      $592.00     0.9    $532.80
                            Stafford, M. Strahle and D. McGonigle
                            (Deloitte) to discuss Delaware
                            supreme court decision and arbitration
                            going-forward.
   Stafford, Ted            Meeting with S. Minars, S. Stanton, M     $513.00     0.9    $461.70
                            Cohen, M. Strahle and D. McGonigle
                            (Deloitte) to discuss Delaware
                            supreme court decision and arbitration
                            going-forward.
   Stanton, Steven          Meeting with S. Minars, M Cohen, T.       $592.00     0.5    $296.00
                            Stafford, M. Strahle and D. McGonigle
                            (Deloitte) to discuss Delaware
                            supreme court decision and arbitration
                            going-forward. Had to leave meeting
                            prior to completion.
   Strahle, Robert          Meeting with S. Minars, S. Stanton, M     $513.00     0.9    $461.70
                            Cohen, T. Stafford and D. McGonigle
                            (Deloitte) to discuss Delaware
                            supreme court decision and arbitration
                            going-forward.
   Strahle, Robert          Discussed document review files           $513.00     0.3    $153.90
                            regarding purchase agreement sample
                            calculation with J. Letts (Deloitte)
   Strahle, Robert          Reviewed Delaware supreme courts          $513.00     0.2    $102.60
                            ruling regarding the IA process going
                            forward
07/05/2017
   Cohen, Mark              Call with R. Mercado (Marcum) to          $592.00     0.2    $118.40
                            discuss review of Delaware Supreme
                            court decision regarding post-
                            acquisition dispute and items for
                            consideration by Independent Auditor
                            ("IA")
   Cohen, Mark              Call with R. Strahle (Deloitte) to        $592.00     0.8    $473.60
                            discuss Delaware court decision and
                            items for consideration by Independent
                            Auditor ("IA") in preparation for
                            meeting with Foley




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                        Westinghouse Electric Company LLC
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                     Fees Sorted by Category for the Fee Period
                                    March 29, 2017 - March 31, 2018
Date                        Description                                 Rate    Hours       Fees

Litigation
07/05/2017
   Minars, Scott            Preparation for meeting with WEC          $592.00     2.7   $1,598.40
                            board and Foley regarding IA process
                            going forward
07/06/2017
   Minars, Scott            Continued preparation for meeting with    $592.00     1.3    $769.60
                            WEC board and Foley regarding IA
                            process going forward
   Minars, Scott            Meeting with P. Wang, D Heffer            $592.00     3.2   $1,894.40
                            (Foley), R. Swanson, T. Baird (WEC)
                            T. Stafford, R. Strahle and S. Stanton
                            (Deloitte) to discuss Delaware
                            supreme court decision related to
                            ongoing post-closing dispute and
                            arbitration going forward
   Stafford, Ted            Analysis of impact of Delaware            $513.00     0.8    $410.40
                            supreme court decision on arbitration.
   Stafford, Ted            Meeting with P. Wang, D Heffer            $513.00     3.2   $1,641.60
                            (Foley), R. Swanson, T. Baird (WEC),
                            S. Minars, R. Strahle and S. Stanton
                            (Deloitte) to discuss Delaware
                            supreme court decision related to
                            ongoing post-closing dispute and
                            arbitration going forward
   Stanton, Steven          Meeting with P. Wang, D Heffer            $592.00     3.2   $1,894.40
                            (Foley), R. Swanson, T. Baird (WEC),
                            S. Minars, T. Stafford and R. Strahle
                            (Deloitte) to discuss Delaware
                            supreme court decision related to
                            ongoing post-closing dispute and
                            arbitration going forward
   Strahle, Robert          Meeting with P. Wang, D Heffer            $513.00     3.2   $1,641.60
                            (Foley), R. Swanson, T. Baird (WEC),
                            S. Minars, T. Stafford and S. Stanton
                            (Deloitte) to discuss Delaware
                            supreme court decision related to
                            ongoing post-closing dispute and
                            arbitration going forward




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                       Westinghouse Electric Company LLC
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Date                        Description                                  Rate    Hours      Fees

Litigation
07/10/2017
   Cohen, Mark              Meeting with S. Minars, S. Stanton, J.     $592.00     0.8    $473.60
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
   Cohen, Mark              Call with T. Baird (WEC) regarding         $592.00     0.2    $118.40
                            Marcum's work efforts on the post-
                            acquisition dispute.
   Hommen, Kelly            Meeting with S. Minars, M. Cohen, S.       $340.00     0.8    $272.00
                            Stanton, J. Larson, T. Stafford, R.
                            Strahle, D. McGonigle and J. Letts
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
   Larson, Jen              Meeting with S. Minars, M. Cohen, S.       $513.00     0.8    $410.40
                            Stanton, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
   Letts, Joshua            Meeting with S. Minars, M. Cohen, S.       $340.00     0.8    $272.00
                            Stanton, J. Larson, T. Stafford, R.
                            Strahle, D. McGonigle and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
   McGonigle, David         Meeting with S. Minars, M. Cohen, S.       $473.00     0.8    $378.40
                            Stanton, J. Larson, T. Stafford, R.
                            Strahle, J. Letts and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
   Minars, Scott            Meeting with M. Cohen, S. Stanton, J.      $592.00     0.8    $473.60
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.




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                        Westinghouse Electric Company LLC
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                     Fees Sorted by Category for the Fee Period
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Date                        Description                                  Rate    Hours      Fees

Litigation
07/10/2017
   Stafford, Ted            Meeting with S. Minars, M. Cohen, S.       $513.00     0.8    $410.40
                            Stanton, J. Larson, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
   Stanton, Steven          Meeting with S. Minars, M. Cohen, T.       $592.00     0.8    $473.60
                            Stafford, J. Larson, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
   Strahle, Robert          Meeting with S. Minars, S. Stanton, J.     $513.00     0.8    $410.40
                            Larson, T. Stafford, M. Cohen, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
07/11/2017
   Cohen, Mark              Meeting with R. Swanson, D. Mura, T.       $592.00     0.4    $236.80
                            Baird (WEC), P. Wang, D. Foley
                            (Foley), S. Stanton, S. Minars, R.
                            Strahle, T. Stafford and D. McGonigle
                            (Deloitte) to discuss the IA process
                            going forward.
   Cohen, Mark              Follow up with R. Mercado (Marcum)         $592.00     0.3    $177.60
                            based on conversation with T. Baird
                            (WEC) on ongoing work efforts
                            regarding the post-acquisition dispute.
   McGonigle, David         Meeting with R. Swanson, D. Mura, T.       $473.00     0.4    $189.20
                            Baird (WEC), P. Wang, D. Foley
                            (Foley), S. Stanton, M. Cohen, S.
                            Minars, R. Strahle and T. Stafford
                            (Deloitte) to discuss the IA process
                            going forward.
   Minars, Scott            Meeting with R. Swanson, D. Mura, T.       $592.00     0.4    $236.80
                            Baird (WEC), P. Wang, D. Foley
                            (Foley), S. Stanton, M. Cohen, R.
                            Strahle, T. Stafford, D. McGonigle
                            (Deloitte) to discuss the IA process
                            going forward.


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                        Westinghouse Electric Company LLC
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                     Fees Sorted by Category for the Fee Period
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Date                        Description                                 Rate    Hours      Fees

Litigation
07/11/2017
   Stafford, Ted            Meeting with R. Swanson, D. Mura, T.      $513.00     0.4    $205.20
                            Baird (WEC), P. Wang, D. Foley
                            (Foley), S. Stanton, M. Cohen, S.
                            Minars, R. Strahle and D. McGonigle
                            (Deloitte) to discuss the IA process
                            going forward.
   Stanton, Steven          Meeting with R. Swanson, D. Mura, T.      $592.00     0.4    $236.80
                            Baird (WEC), P. Wang, D. Foley
                            (Foley), M. Cohen, S. Minars, R.
                            Strahle and D. McGonigle (Deloitte) to
                            discuss the IA process going forward.
   Strahle, Robert          Meeting with R. Swanson, D. Mura, T.      $513.00     0.4    $205.20
                            Baird (WEC), P. Wang, D. Foley
                            (Foley), S. Stanton, M. Cohen, S.
                            Minars, T. Stafford, D. McGonigle
                            (Deloitte) to discuss the IA process
                            going forward.
07/12/2017
   Cohen, Mark              Call with R. Strahle (Deloitte) to        $592.00     0.8    $473.60
                            prepare for meeting with WEC and
                            counsel regarding review of estimate to
                            complete / construction related items
   Cohen, Mark              Meeting with S. Minars, S. Stanton, J.    $592.00     0.7    $414.40
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.
   Larson, Jen              Meeting with S. Minars, M. Cohen, S.      $513.00     0.7    $359.10
                            Stanton, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.




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                       Westinghouse Electric Company LLC
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Date                        Description                                 Rate    Hours      Fees

Litigation
07/12/2017
   Letts, Joshua            Meeting with S. Minars, M. Cohen, S.      $340.00     0.7    $238.00
                            Stanton, J. Larson, T. Stafford, R.
                            Strahle, D. McGonigle and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding,
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.
   McGonigle, David         Meeting with S. Minars, M. Cohen, S.      $473.00     0.7    $331.10
                            Stanton, J. Larson, T. Stafford, R.
                            Strahle, J. Letts, and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.
   Minars, Scott            Meeting with M. Cohen, S. Stanton, J.     $592.00     0.7    $414.40
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.
   Stafford, Ted            Meeting with S. Minars, M. Cohen, S.      $513.00     0.7    $359.10
                            Stanton, J. Larson, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.
   Stanton, Steven          Meeting with S. Minars, M. Cohen, J.      $592.00     0.7    $414.40
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.




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Date                        Description                                  Rate    Hours      Fees

Litigation
07/12/2017
   Strahle, Robert          Call with M. Cohen (Deloitte) to           $513.00     0.8    $410.40
                            prepare for meeting with WEC and
                            counsel regarding review of estimate to
                            complete / construction related items
   Strahle, Robert          Meeting with S. Minars, S. Stanton, J.     $513.00     0.7    $359.10
                            Larson, T. Stafford, M. Cohen, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.
07/13/2017
   Letts, Joshua            Reviewed documents related to              $340.00     1.8    $612.00
                            Deloitte's analysis related to the post-
                            closing dispute prior to the bankruptcy
                            and withdrawal of independent auditor
                            for relevance ahead of meeting with
                            client and board.
   Minars, Scott            Review and assessment of draft             $592.00     0.5    $296.00
                            presentation materials for meeting with
                            WEC Board of Directors ("BOD")
                            regarding bankruptcy and ongoing
                            post-closing dispute.
   Stafford, Ted            Analysis on supreme court ruling on        $513.00     0.5    $256.50
                            disputed items.
07/14/2017
   Cohen, Mark              Conference call with P. Wang and D.        $592.00     0.2    $118.40
                            Heffer (Foley) and WEC personnel in
                            preparation for meeting in Pittsburgh
                            with Foley and WEC board regarding
                            post-acquisition dispute.
   Cohen, Mark              Review of updated slide deck provided      $592.00     0.6    $355.20
                            by D. Heffer (Foley) to be used for
                            WEC Board meeting in Pittsburgh
                            regarding bankruptcy and ongoing
                            post-closing dispute.




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Litigation
07/17/2017
   Cohen, Mark            Preparation for meeting with client to    $592.00     1.0    $592.00
                          discuss bankruptcy and ongoing
                          arbitration process.
   Cohen, Mark            Meeting with S. Minars and T. Stafford    $592.00     1.2    $710.40
                          (Deloitte) to prepare for meeting with
                          client to discuss bankruptcy and
                          ongoing arbitration process.
   Cohen, Mark            Meeting with S. Minars, T. Stafford       $592.00     2.1   $1,243.20
                          (Deloitte), R. Swanson, D. Mura, T.
                          Baird (WEC), P. Wang and D. Foley
                          (Foley) to prepare for meeting with
                          client to discuss bankruptcy and
                          ongoing arbitration process.
   Cohen, Mark            Meeting with Client and Board to          $592.00     1.3    $769.60
                          discuss bankruptcy and ongoing
                          arbitration process with S. Minars, T.
                          Stafford (Deloitte), R. Swanson, D.
                          Mura, T. Baird (WEC), P. Wang and D.
                          Foley (Foley)
   Cohen, Mark            Debrief on meeting to discuss             $592.00     1.4    $828.80
                          bankruptcy and ongoing arbitration
                          process with S. Minars,T. Stafford
                          (Deloitte), R. Swanson, D. Mura, T.
                          Baird (WEC), P. Wang and D. Foley
                          (Foley)
   Minars, Scott          Meeting with M. Cohen and T. Stafford     $592.00     1.2    $710.40
                          (Deloitte) to prepare for meeting with
                          client to discuss bankruptcy and
                          ongoing arbitration process.
   Minars, Scott          Meeting with M. Cohen, T. Stafford        $592.00     2.1   $1,243.20
                          (Deloitte), R. Swanson, D. Mura, T.
                          Baird (WEC), P. Wang and D. Foley
                          (Foley) to prepare for meeting with
                          client to discuss bankruptcy and
                          ongoing arbitration process.
   Minars, Scott          Meeting with Client and Board to          $592.00     1.3    $769.60
                          discuss bankruptcy and ongoing
                          arbitration process with M. Cohen, T.
                          Stafford (Deloitte), R. Swanson, D.
                          Mura, T. Baird (WEC), P. Wang and D.
                          Foley (Foley)


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Date                      Description                                  Rate    Hours       Fees

Litigation
07/17/2017
   Minars, Scott          Debrief on meeting to discuss              $592.00     1.4    $828.80
                          bankruptcy and ongoing arbitration
                          process with M. Cohen, T. Stafford
                          (Deloitte), R. Swanson, D. Mura, T.
                          Baird (WEC), P. Wang and D. Foley
                          (Foley)
   Stafford, Ted          Meeting with Client and Board to           $513.00     1.3    $666.90
                          discuss bankruptcy and ongoing
                          arbitration process with S. Minars, M.
                          Cohen (Deloitte), R. Swanson, D.
                          Mura, T. Baird (WEC), P. Wang and D.
                          Foley (Foley)
   Stafford, Ted          Debrief on meeting to discuss              $513.00     1.4    $718.20
                          bankruptcy and ongoing arbitration
                          process with S. Minars, M. Cohen
                          (Deloitte), R. Swanson, D. Mura, T.
                          Baird (WEC), P. Wang and D. Foley
                          (Foley)
   Stafford, Ted          Meeting with S. Minars and M. Cohen        $513.00     1.2    $615.60
                          (Deloitte) to prepare for meeting with
                          client to discuss bankruptcy and
                          ongoing arbitration process.
   Stafford, Ted          Meeting with S. Minars, M. Cohen           $513.00     2.1   $1,077.30
                          (Deloitte), R. Swanson, D. Mura, T.
                          Baird (WEC), P. Wang and D. Foley
                          (Foley) to prepare for meeting with
                          client to discuss bankruptcy and
                          ongoing arbitration process.
07/19/2017
   Cohen, Mark            Meeting with S. Minars, S. Stanton, T.     $592.00     0.2    $118.40
                          Stafford, D. McGonigle and J. Letts
                          (Deloitte) to discuss prior meeting with
                          client's Board and post-bankruptcy re-
                          engagement progress.
   Letts, Joshua          Meeting with S. Minars, M. Cohen, S.       $340.00     0.2     $68.00
                          Stanton, T. Stafford and D. McGonigle
                          (Deloitte) to discuss prior meeting with
                          client's Board and post-bankruptcy re-
                          engagement progress.




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Litigation
07/19/2017
   McGonigle, David         Meeting with S. Minars, M. Cohen, S.       $473.00     0.2     $94.60
                            Stanton, T. Stafford and J. Letts
                            (Deloitte) to discuss prior meeting with
                            client's Board and post-bankruptcy re-
                            engagement progress.
   Minars, Scott            Meeting with M. Cohen, S. Stanton, T.      $592.00     0.2    $118.40
                            Stafford, D. McGonigle and J. Letts
                            (Deloitte) to discuss prior meeting with
                            client's Board and post-bankruptcy re-
                            engagement progress.
   Stafford, Ted            Meeting with S. Minars, M. Cohen, S.       $513.00     0.2    $102.60
                            Stanton, D. McGonigle and J. Letts
                            (Deloitte) to discuss prior meeting with
                            client's Board and post-bankruptcy re-
                            engagement progress.
   Stanton, Steven          Meeting with S. Minars, M. Cohen, T.       $592.00     0.2    $118.40
                            Stafford, D. McGonigle and J. Letts
                            (Deloitte) to discuss prior meeting with
                            client's Board and post-bankruptcy re-
                            engagement progress.
07/21/2017
   Cohen, Mark              Review of proposed joint order             $592.00     0.2    $118.40
                            regarding Delaware Supreme court
                            case related to ongoing dispute.
   Stafford, Ted            Analysis of impact of proposed court       $513.00     0.3    $153.90
                            order for arbitration.
07/24/2017
   Larson, Jen              Meeting with S. Minars, T. Stafford, R.    $513.00     0.4    $205.20
                            Strahle and J. Letts (Deloitte) to
                            discuss meeting with WEC Board and
                            potential arbitration strategies going
                            forward.
   Letts, Joshua            Meeting with S. Minars, J. Larson, T.      $340.00     0.4    $136.00
                            Stafford and R. Strahle (Deloitte) to
                            discuss meeting with WEC Board and
                            potential arbitration strategies going
                            forward.




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Litigation
07/24/2017
   Minars, Scott          Meeting with J. Larson, T. Stafford, R.   $592.00     0.4    $236.80
                          Strahle and J. Letts (Deloitte) to
                          discuss meeting with WEC Board and
                          potential arbitration strategies going
                          forward.
   Stafford, Ted          Meeting with S. Minars, J. Larson, R.     $513.00     0.4    $205.20
                          Strahle and J. Letts (Deloitte) to
                          discuss meeting with WEC Board and
                          potential arbitration strategies going
                          forward.
07/25/2017
   Cohen, Mark            Review of updated final order and         $592.00     0.3    $177.60
                          judgment of Delaware court regarding
                          post-acquisition dispute provided by
                          Foley.
   Stafford, Ted          Analysis of proposed court order by       $513.00     0.5    $256.50
                          Delaware Supreme court and its effect
                          on the arbitration proceeding
07/26/2017
   Cohen, Mark            Meeting with T. Stafford, J. Letts and    $592.00     0.1     $59.20
                          K. Hommen (Deloitte) to discuss
                          pending bills and incremental work to
                          be performed.
   Hommen, Kelly          Meeting with M. Cohen, T. Stafford and    $340.00     0.1     $34.00
                          J. Letts (Deloitte) to discuss pending
                          bills and incremental work to be
                          performed.
   Letts, Joshua          Meeting with M. Cohen, T. Stafford and    $340.00     0.1     $34.00
                          K. Hommen (Deloitte) to discuss
                          pending bills and incremental work to
                          be performed.
   Stafford, Ted          Meeting with M. Cohen, J. Letts and K.    $513.00     0.1     $51.30
                          Hommen (Deloitte) to discuss pending
                          bills and incremental work to be
                          performed.
07/28/2017
   Minars, Scott          Review and analysis of the draft          $592.00     0.4    $236.80
                          Proposed Joint Final Order and
                          Judgment and comparison to the
                          Supreme court ruling wording.

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                     Fees Sorted by Category for the Fee Period
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Date                             Description                                   Rate    Hours         Fees

Litigation
07/28/2017
   Minars, Scott                 Composed detailed feedback for              $592.00     0.5      $296.00
                                 external counsel per external counsel's
                                 request regarding the proposed joint
                                 final order and judgement.
07/31/2017
   Letts, Joshua                 Meeting with S. Minars, R. Strahle and      $340.00     0.1       $34.00
                                 D. McGonigle (Deloitte) to discuss
                                 Wachtell's response regarding the
                                 Supreme Court ruling as well as near-
                                 term staffing needs.
   McGonigle, David              Analyzed the supreme court final order      $473.00     2.3     $1,087.90
                                 and judgment pertaining to the post-
                                 acquisition dispute going forward
   McGonigle, David              Reviewed the supreme court final            $473.00     0.4      $189.20
                                 order and judgment regarding the post-
                                 acquisition dispute going forward
   McGonigle, David              Meeting with S. Minars, R. Strahle and      $473.00     0.1       $47.30
                                 J. Letts (Deloitte) to discuss Wachtell's
                                 response regarding the Supreme Court
                                 ruling as well as near-term staffing
                                 needs.
   Minars, Scott                 Meeting with R. Strahle, D. McGonigle       $592.00     0.1       $59.20
                                 and J. Letts (Deloitte) to discuss
                                 Wachtell's response regarding the
                                 Supreme Court ruling as well as near-
                                 term staffing needs.
   Stafford, Ted                 Discussion with D. Heffer (Foley)           $513.00     0.2      $102.60
                                 regarding court order for arbitration
   Strahle, Robert               Meeting with S. Minars, D. McGonigle        $513.00     0.1       $51.30
                                 and J. Letts (Deloitte) to discuss
                                 Wachtell's response regarding the
                                 Supreme Court ruling as well as near-
                                 term staffing needs.
   Subtotal for Litigation:                                                            412.5   $194,114.20




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Date                      Description                                 Rate    Hours       Fees

Non-Working Travel
04/24/2017
   Sasso, Anthony         Travel from Newark to Pittsburgh for      $296.00     3.0    $888.00
                          bankruptcy accounting training with
                          WEC accounting personnel
04/26/2017
   Sasso, Anthony         Travel from Pittsburgh to Newark -        $296.00     4.0   $1,184.00
                          includes travel delay
06/21/2017
   Stafford, Ted          Travel time to NYC for meetings with      $256.50     3.1    $795.15
                          Foley and WEC
06/22/2017
   Stafford, Ted          Travel time from NYC for meetings         $256.50     1.5    $384.75
                          with Foley and WEC
07/05/2017
   Stafford, Ted          Travel from Dallas, TX to NYC, NY for     $256.50     0.5    $128.25
                          meeting with Foley and WEC
07/06/2017
   Stafford, Ted          Travel from NYC, NY to Dallas, TX for     $256.50     3.5    $897.75
                          meeting with Foley and WEC
07/16/2017
   Stafford, Ted          Non-working travel from Dallas, TX to     $256.50     2.0    $513.00
                          Cranberry, PA for Board meeting
07/17/2017
   Cohen, Mark            Non-working travel from New York to       $296.00     8.0   $2,368.00
                          Pittsburgh for Westinghouse Electric
                          Company to attend meeting with WEC
                          and counsel
   Stafford, Ted          Non-working travel from Cranberry, PA     $256.50     6.5   $1,667.25
                          to Dallas for Board meeting
10/08/2017
   Stafford, Ted          Continued travel to New York City for     $256.50     2.5    $641.25
                          meeting for Project Barracuda
   Stafford, Ted          Travel from Dallas to New York City for   $256.50     3.0    $769.50
                          meeting for Project Barracuda.
10/11/2017
   Stafford, Ted          Travel from New York City, NY to          $256.50     5.7   $1,462.05
                          Dallas, TX

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Date                          Description                                 Rate    Hours        Fees

Non-Working Travel
11/09/2017
   Letts, Joshua              Travel from Atlanta, GA to New York,      $175.00     5.0     $875.00
                              NY
11/10/2017
   Letts, Joshua              Travel from New York, NY to Atlanta,      $175.00     5.0     $875.00
                              GA
   Stafford, Ted              Travel from New York, NY to Dallas,       $256.50     5.0    $1,282.50
                              TX
   Subtotal for Non-Working Travel:                                                58.3   $14,731.45

Preparation of Fee Applications
04/26/2017
   McGonigle, David           Compile and summarize Deloitte hours      $473.00     0.6     $283.80
                              and fees since the bankruptcy filing.
06/06/2017
   Cooper, Carla              Review time reports for April monthly     $350.00     1.1     $385.00
                              fee statement
06/07/2017
   Cooper, Carla              Continue preparation of April monthly     $350.00     2.6     $910.00
                              fee statement.
   Cooper, Carla              Review time reports in preparation of     $350.00     2.9    $1,015.00
                              April monthly fee statement
06/08/2017
   Cooper, Carla              Review April time reports in              $350.00     2.1     $735.00
                              preparation of fee statement
06/12/2017
   Cooper, Carla              Review expense reports for April          $350.00     2.3     $805.00
                              monthly fee statement.
06/14/2017
   Cooper, Carla              Email correspondence with                 $350.00     0.2      $70.00
                              engagement team regarding April fee
                              detail reports
   Cooper, Carla              Review time reports for April monthly     $350.00     2.9    $1,015.00
                              fee statement




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Date                        Description                                  Rate    Hours       Fees

Preparation of Fee Applications
06/28/2017
   Cooper, Carla            Review time reports for May monthly        $350.00     2.5    $875.00
                            fee statement
07/12/2017
   Cooper, Carla            Review time reports for May monthly        $350.00     2.0    $700.00
                            fee statement
07/14/2017
   Cooper, Carla            Review May monthly time reports for        $350.00     2.7    $945.00
                            fee statement
07/17/2017
   McGonigle, David         Update April time reports for billing      $473.00     2.8   $1,324.40
                            preparation
   McGonigle, David         Review April time reports for monthly      $473.00     2.1    $993.30
                            fee statements
07/18/2017
   McGonigle, David         Review April time reports for monthly      $473.00     2.6   $1,229.80
                            fee statement
   McGonigle, David         Update May time reports for billing        $473.00     3.0   $1,419.00
                            preparation
07/21/2017
   Cooper, Carla            Prepare combined monthly fee               $350.00     2.7    $945.00
                            statement for April, 2017 through June,
                            2017
07/24/2017
   Cooper, Carla            Preparation of first combined monthly      $350.00     2.0    $700.00
                            fee statement for the period April, 2017
                            through June, 2017
07/26/2017
   Cooper, Carla            Review monthly time reports for June       $350.00     3.0   $1,050.00
                            fee statement
07/27/2017
   Cooper, Carla            Review June monthly time reports for       $350.00     2.9   $1,015.00
                            fee statement
   Cooper, Carla            Review expense reports for June            $350.00     0.8    $280.00
                            monthly fee statement




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Date                        Description                                  Rate    Hours       Fees

Preparation of Fee Applications
07/31/2017
   McGonigle, David         Continue to update time reports for        $473.00     2.1    $993.30
                            June monthly fee statement
   McGonigle, David         Update time reports for June monthly       $473.00     3.0   $1,419.00
                            fee statement
08/07/2017
   Cooper, Carla            Prepare combined monthly fee               $350.00     2.1    $735.00
                            statement for April.
08/08/2017
   Stafford, Ted            Review of life-to-date engagement          $513.00     0.5    $256.50
                            billings for Project Barracuda.
08/10/2017
   Cooper, Carla            Prepare combined monthly fee               $350.00     1.5    $525.00
                            statement for May.
   McGonigle, David         Review Deloitte FAS activities for fee     $473.00     0.5    $236.50
                            preparation.
08/14/2017
   Cooper, Carla            Preparation of Combined monthly fee        $350.00     2.3    $805.00
                            statement for the period March 29,
                            2017 through June 30, 2017.
08/15/2017
   Cooper, Carla            Further review of time reports for July    $350.00     0.6    $210.00
                            monthly fee statement.
   Cooper, Carla            Review time reports for July monthly       $350.00     3.0   $1,050.00
                            fee statement.
   Cooper, Carla            Continue to review time reports for July   $350.00     2.9   $1,015.00
                            monthly fee statement.
08/16/2017
   Cooper, Carla            Review expense reports for July            $350.00     1.2    $420.00
                            monthly fee statement.
08/22/2017
   Cooper, Carla            Preparation of combined monthly fee        $350.00     2.4    $840.00
                            statement for the period March 29,
                            2017 through June 30, 2017.




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                   Fees Sorted by Category for the Fee Period
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Date                      Description                                   Rate    Hours      Fees

Preparation of Fee Applications
08/22/2017
   Cooper, Carla          Continue preparation of combined            $350.00     2.3    $805.00
                          monthly fee statement for the period
                          March 29, 2017 through June 30,
                          2017.
   Letts, Joshua          Review interim fee application and July     $340.00     0.2     $68.00
                          time and expense comments.
   Stafford, Ted          Review of fee application for April         $513.00     0.4    $205.20
                          through July.
08/28/2017
   Cooper, Carla          Preparation of first interim fee            $350.00     2.8    $980.00
                          application for the period March 29,
                          2017 through July 31, 2017.
   Letts, Joshua          Prepare July monthly fee statement.         $340.00     2.0    $680.00
08/29/2017
   Cooper, Carla          Continue preparation of first interim fee   $350.00     1.0    $350.00
                          application.
08/30/2017
   Stafford, Ted          Review of time entries from April to        $513.00     1.2    $615.60
                          July for submission to bankruptcy
                          court.
08/31/2017
   Cooper, Carla          Prepare July monthly fee statement.         $350.00     2.5    $875.00
09/06/2017
   Cooper, Carla          Perform edits to July monthly fee           $350.00     1.8    $630.00
                          statement.
   Cooper, Carla          Preparation of first interim fee            $350.00     1.1    $385.00
                          application.
09/08/2017
   Cooper, Carla          Preparation of first interim fee            $350.00     2.1    $735.00
                          application.
09/11/2017
   Cooper, Carla          Preparation of first interim fee            $350.00     1.5    $525.00
                          application.
   Letts, Joshua          Review August time and expense              $340.00     2.2    $748.00
                          comments for fee preparation.


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Date                        Description                                   Rate    Hours      Fees

Preparation of Fee Applications
09/12/2017
   Cooper, Carla            Prepare first interim fee application for   $350.00     0.8    $280.00
                            the period March 29, 2017 through July
                            31, 2017.
   Cooper, Carla            Prepare July monthly fee statement.         $350.00     1.0    $350.00
   Letts, Joshua            Meeting with D. McGonigle (Deloitte) to     $340.00     0.1     $34.00
                            discuss the interim fee application.
   McGonigle, David         Meeting with J. Letts (Deloitte) to         $473.00     0.1     $47.30
                            discussed the interim fee application.
09/13/2017
   Cooper, Carla            Review time reports for August              $350.00     2.8    $980.00
                            monthly fee statement.
   Cooper, Carla            Continue to review time reports for         $350.00     1.6    $560.00
                            August monthly fee statement.
09/14/2017
   Cooper, Carla            Finalize preparation of first interim fee   $350.00     1.1    $385.00
                            application, including exhibits.
09/15/2017
   Cooper, Carla            Review time reports for August              $350.00     1.6    $560.00
                            monthly fee statement.
09/18/2017
   Letts, Joshua            Meeting with D. McGonigle (Deloitte) to     $340.00     0.2     $68.00
                            discuss August monthly fee
                            application.
   McGonigle, David         Meeting with J. Letts (Deloitte) to         $473.00     0.2     $94.60
                            discuss August monthly fee
                            application.
09/22/2017
   Cooper, Carla            Prepare August monthly fee statement.       $350.00     2.1    $735.00
09/25/2017
   Stafford, Ted            Review of supplemental declaration for      $513.00     0.3    $153.90
                            fee application.
09/28/2017
   Letts, Joshua            Prepare August monthly fee statement.       $340.00     0.9    $306.00




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Date                        Description                                  Rate    Hours      Fees

Preparation of Fee Applications
10/04/2017
   Stafford, Ted            Review of hours for fee application to     $513.00     0.5    $256.50
                            bankruptcy court.
   Stanton, Steven          Review of September 2017 monthly           $592.00     0.6    $355.20
                            fee application.
10/09/2017
   Cooper, Carla            Review time reports for September          $350.00     0.7    $245.00
                            monthly fee statement.
10/11/2017
   Cooper, Carla            Revise August 2017 monthly fee             $350.00     1.5    $525.00
                            statement.
   Letts, Joshua            Call with D. McGonigle (Deloitte) to       $340.00     0.2     $68.00
                            discuss preparation of August 2017
                            monthly fee statement.
   Letts, Joshua            Review August 2017 monthly fee             $340.00     0.8    $272.00
                            statement.
   McGonigle, David         Call with J. Letts (Deloitte) to discuss   $473.00     0.2     $94.60
                            preparation of August 2017 monthly
                            fee statement.
   McGonigle, David         Review of August 2017 monthly fee          $473.00     0.2     $94.60
                            statement.
10/12/2017
   Cooper, Carla            Review time reports for September          $350.00     0.8    $280.00
                            2017 monthly fee statement.
   Stafford, Ted            Review of revised August 2017              $513.00     0.5    $256.50
                            monthly fee statement.
10/13/2017
   Stafford, Ted            Review of September 2017 monthly           $513.00     0.5    $256.50
                            fee statement.
   Stanton, Steven          Review of September 2017 monthly           $592.00     0.7    $414.40
                            fee statement.
10/17/2017
   McGonigle, David         Meeting with T. Neyland (Deloitte) to      $473.00     0.1     $47.30
                            discuss August 2017 monthly fee
                            statement updates.
   Neyland, Tamsyn          Meeting with D. McGonigle (Deloitte) to    $473.00     0.1     $47.30
                            discuss August 2017 monthly fee
                            statement updates.

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Preparation of Fee Applications
10/17/2017
   Neyland, Tamsyn          Review time reports for August 2017       $473.00     1.4    $662.20
                            monthly fee statement.
   Neyland, Tamsyn          Continued to review time reports for      $473.00     2.1    $993.30
                            August 2017 monthly fee statement.
10/18/2017
   McGonigle, David         Meeting with T. Neyland (Deloitte) to     $473.00     0.2     $94.60
                            discuss fee preparation updates for
                            September 2017 monthly fee
                            statement.
   Neyland, Tamsyn          Meeting with D. McGonigle (Deloitte) to   $473.00     0.2     $94.60
                            discuss fee preparation updates for
                            September 2017 monthly fee
                            statement.
   Neyland, Tamsyn          Review time reports for August 2017       $473.00     2.1    $993.30
                            monthly fee statement.
   Neyland, Tamsyn          Continued to review time and expense      $473.00     1.4    $662.20
                            reports for August 2017 monthly fee
                            statement.
10/19/2017
   Stafford, Ted            Review of August 2017 monthly fee         $513.00     0.3    $153.90
                            statement.
10/20/2017
   Stafford, Ted            Review of August 2017 monthly fee         $513.00     0.4    $205.20
                            statement.
10/23/2017
   Abrom, Carisa            Review September 2017 monthly fee         $350.00     1.8    $630.00
                            report and send comments to team.
   Stafford, Ted            Review of September 2017 monthly          $513.00     0.3    $153.90
                            fee statement.
10/24/2017
   McGonigle, David         Update September 2017 monthly fee         $473.00     0.1     $47.30
                            statement.
10/25/2017
   Abrom, Carisa            Prepare revised draft of September        $350.00     0.6    $210.00
                            2017 monthly fee statement.




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Preparation of Fee Applications
10/27/2017
   Abrom, Carisa            Edit September 2017 monthly fee           $350.00     1.8    $630.00
                            statement.
10/28/2017
   McGonigle, David         Review status of September 2017           $473.00     0.1     $47.30
                            monthly fee statement.
11/06/2017
   Abrom, Carisa            Review October 2017 monthly fee           $350.00     2.2    $770.00
                            statement, including fee and expense
                            reports.
11/07/2017
   Abrom, Carisa            Continue to review October monthly        $350.00     3.2   $1,120.00
                            time report.
11/08/2017
   Letts, Joshua            Review October monthly fee                $350.00     1.7    $595.00
                            statement.
   McGonigle, David         Review October monthly fee                $473.00     0.3    $141.90
                            statement.
11/13/2017
   Stafford, Ted            Preparation of October monthly fee        $513.00     0.2    $102.60
                            statement.
11/14/2017
   Abrom, Carisa            Prepare October monthly fee               $350.00     2.5    $875.00
                            statement.
11/16/2017
   Abrom, Carisa            Update October monthly fee                $350.00     2.2    $770.00
                            statement.
   Stafford, Ted            Review revised October monthly fee        $513.00     0.3    $153.90
                            statement.
11/17/2017
   Letts, Joshua            Review revised October monthly fee        $350.00     0.9    $315.00
                            statement.
   Stafford, Ted            Review revised October monthly fee        $513.00     0.4    $205.20
                            statement.
11/20/2017
   Abrom, Carisa            Prepare edits for October time report.    $350.00     0.8    $280.00


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Date                       Description                                 Rate    Hours      Fees

Preparation of Fee Applications
11/20/2017
   Stafford, Ted           Review edits to October time report.      $513.00     0.4    $205.20
11/21/2017
   Abrom, Carisa           Revise October monthly fee statement.     $350.00     1.6    $560.00
   Stafford, Ted           Review revised October monthly fee        $513.00     0.6    $307.80
                           statement.
11/22/2017
   Stafford, Ted           Review revised October monthly fee        $513.00     0.5    $256.50
                           statement.
12/05/2017
   Stafford, Ted           Prepare November 2017 monthly fee         $513.00     0.3    $153.90
                           application.
12/07/2017
   Stafford, Ted           Prepare November monthly fee              $513.00     0.4    $205.20
                           application.
12/08/2017
   Stafford, Ted           Prepare November monthly fee              $513.00     0.1     $51.30
                           application.
12/11/2017
   Stafford, Ted           Prepare November monthly fee              $513.00     0.4    $205.20
                           application.
12/12/2017
   Stafford, Ted           Prepare November monthly fee              $513.00     0.2    $102.60
                           application.
12/13/2017
   Letts, Joshua           Prepare November monthly fee              $350.00     2.5    $875.00
                           application .
   Stafford, Ted           Prepare November monthly fee              $513.00     0.1     $51.30
                           application.
12/21/2017
   Stanton, Steven         Prepare November fee application.         $592.00     0.5    $296.00
12/22/2017
   Letts, Joshua           Finalize October and November             $350.00     0.1     $35.00
                           monthly fee application.



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Date                        Description                                 Rate    Hours       Fees

Preparation of Fee Applications
01/02/2018
   Letts, Joshua            Review November monthly fee               $350.00     0.2     $70.00
                            statement.
   Stafford, Ted            Review of November monthly fee            $513.00     0.3    $153.90
                            statement.
01/03/2018
   Abrom, Carisa            Prepare November monthly fee              $350.00     0.4    $140.00
                            statement.
   Letts, Joshua            Review November monthly fee               $350.00     1.0    $350.00
                            statement.
   Stafford, Ted            Review of November monthly fee            $513.00     0.4    $205.20
                            statement.
   Stanton, Steven          Review November monthly fee               $592.00     0.5    $296.00
                            statement.
01/04/2018
   Abrom, Carisa            Prepare second interim fee application    $350.00     3.8   $1,330.00
                            and send for review.
   Letts, Joshua            Review second interim fee application.    $350.00     2.0    $700.00
01/08/2018
   Abrom, Carisa            Prepare second interim fee application    $350.00     1.4    $490.00
                            and send for additional review.
   Letts, Joshua            Review second interim fee application.    $350.00     1.1    $385.00
   McGonigle, David         Review of second interim fee              $473.00     0.2     $94.60
                            application.
01/10/2018
   Abrom, Carisa            Begin to work on December monthly         $350.00     1.1    $385.00
                            fee statement.
   Letts, Joshua            Review of December fee detail report.     $350.00     0.4    $140.00
01/11/2018
   Abrom, Carisa            Review December fee reports.              $350.00     2.9   $1,015.00
01/16/2018
   Abrom, Carisa            Prepare second interim fee application.   $350.00     0.2     $70.00
   Stafford, Ted            Review of December monthly fee            $513.00     0.3    $153.90
                            application.



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Preparation of Fee Applications
01/17/2018
   Letts, Joshua            Review December fee detail report.        $350.00     0.9    $315.00
   Letts, Joshua            Review second interim fee application     $350.00     0.2     $70.00
                            and discuss edits with D. McGonigle
                            (Deloitte).
   McGonigle, David         Review second interim fee application     $473.00     0.2     $94.60
                            and discuss edits with J. Letts
                            (Deloitte).
01/19/2018
   Abrom, Carisa            Prepare December fee detail report.       $350.00     0.3    $105.00
   Letts, Joshua            Review December monthly fee               $350.00     1.0    $350.00
                            statement.
01/29/2018
   Abrom, Carisa            Update December monthly fee               $350.00     1.3    $455.00
                            statement.
01/30/2018
   Letts, Joshua            Review December monthly fee               $350.00     0.3    $105.00
                            application.
02/01/2018
   Letts, Joshua            Review December monthly fee               $350.00     0.1     $35.00
                            application.
   McGonigle, David         Review December monthly fee               $473.00     0.9    $425.70
                            application.
   Stanton, Steven          Review December monthly fee               $592.00     0.2    $118.40
                            application.
02/05/2018
   Letts, Joshua            Review December monthly fee               $350.00     0.5    $175.00
                            application.
   Stafford, Ted            Review December monthly fee               $513.00     0.2    $102.60
                            application.
02/06/2018
   Abrom, Carisa            Prepare January monthly fee               $350.00     1.4    $490.00
                            application.
   Letts, Joshua            Review January monthly fee                $350.00     0.4    $140.00
                            application.
   Stafford, Ted            Review January monthly fee                $513.00     0.2    $102.60
                            application.

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Preparation of Fee Applications
02/19/2018
   Letts, Joshua            Review January monthly fee                $350.00     0.3    $105.00
                            application.
02/23/2018
   Letts, Joshua            Review January monthly fee                $350.00     0.3    $105.00
                            application.
02/26/2018
   Letts, Joshua            Review of January monthly fee             $350.00     0.2     $70.00
                            application with D. McGonigle
                            (Deloitte).
   Letts, Joshua            Prepare January monthly fee               $350.00     0.3    $105.00
                            application.
   McGonigle, David         Review of January monthly fee             $473.00     0.2     $94.60
                            application with J. Letts (Deloitte).
03/05/2018
   Letts, Joshua            Review January monthly fee                $350.00     1.4    $490.00
                            application.
03/06/2018
   Letts, Joshua            Review January monthly fee                $350.00     0.1     $35.00
                            application.
03/08/2018
   Letts, Joshua            Review revised January monthly fee        $350.00     0.3    $105.00
                            application.
03/20/2018
   Abrom, Carisa            Prepare February monthly fee              $350.00     0.8    $280.00
                            application.
03/21/2018
   Letts, Joshua            Review February monthly fee               $350.00     0.3    $105.00
                            application.
03/26/2018
   Abrom, Carisa            Update February monthly fee               $350.00     0.6    $210.00
                            application.
   Letts, Joshua            Review February monthly fee               $350.00     0.1     $35.00
                            application.




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Preparation of Fee Applications
03/27/2018
   Stanton, Steven             Review January monthly fee                $592.00     0.5     $296.00
                               application.
   Subtotal for Preparation of Fee Applications:                                   172.1   $65,878.60

Project Barracuda
08/01/2017
   Cohen, Mark                 Meeting with client, Foley, S. Minars,    $592.00     0.4     $236.80
                               S. Stanton, J. Larson, R. Strahle, D.
                               McGonigle and T. Stafford (Deloitte) to
                               discuss status of process.
   Larson, Jen                 Meeting with client, Foley, S. Minars,    $513.00     0.4     $205.20
                               S. Stanton, M. Cohen, R. Strahle, D.
                               McGonigle and T. Stafford (Deloitte) to
                               discuss status of process.
   McGonigle, David            Meeting with client, Foley, S. Minars,    $473.00     0.4     $189.20
                               S. Stanton, M. Cohen, J. Larson, R.
                               Strahle and T. Stafford (Deloitte) to
                               discuss status of process.
   McGonigle, David            Analyze relevant document.                $473.00     0.9     $425.70
   Minars, Scott               Meeting with client, Foley, S. Stanton,   $592.00     0.4     $236.80
                               M. Cohen, J. Larson, R. Strahle, D.
                               McGonigle and T. Stafford (Deloitte) to
                               discuss status of process.
   Stafford, Ted               Meeting with client, Foley, S. Minars,    $513.00     0.4     $205.20
                               S. Stanton, M. Cohen, J. Larson, R.
                               Strahle (Deloitte) to discuss status of
                               process.
   Stanton, Steven             Meeting with client, Foley, S. Minars,    $592.00     0.4     $236.80
                               M. Cohen, J. Larson, R. Strahle, D.
                               McGonigle and T. Stafford (Deloitte) to
                               discuss status of process.
   Strahle, Robert             Meeting with client, Foley, S. Minars,    $513.00     0.4     $205.20
                               S. Stanton, M. Cohen, J. Larson, D.
                               McGonigle and T. Stafford (Deloitte) to
                               discuss status of process.




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Project Barracuda
08/02/2017
   Cohen, Mark              Meeting with S. Minars, S. Stanton, J.    $592.00     0.5    $296.00
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts (Deloitte) to
                            discuss strategy and short-term
                            staffing needs.
   Cohen, Mark              Meeting with S. Minars, S. Stanton, J.    $592.00     0.5    $296.00
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle (Deloitte) to discuss
                            analysis.
   Cohen, Mark              Review reports for client.                $592.00     1.1    $651.20
   Larson, Jen              Meeting with M. Cohen, S. Minars, S.      $513.00     0.5    $256.50
                            Stanton, T. Stafford, R. Strahle, D.
                            McGonigle (Deloitte) to discuss
                            analysis.
   Larson, Jen              Meeting with S. Minars, M. Cohen, S.      $513.00     0.5    $256.50
                            Stanton, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts (Deloitte) to
                            discuss strategy and short-term
                            staffing needs.
   Letts, Joshua            Meeting with S. Minars, M. Cohen, S.      $340.00     0.5    $170.00
                            Stanton, J. Larson, T. Stafford, R.
                            Strahle, D. McGonigle (Deloitte) to
                            discuss strategy and short-term
                            staffing needs.
   McGonigle, David         Continue to perform calculation for       $473.00     1.3    $614.90
                            client.
   McGonigle, David         Meeting with S. Minars, M. Cohen, S.      $473.00     0.5    $236.50
                            Stanton, J. Larson, T. Stafford, R.
                            Strahle, J. Letts (Deloitte) to discuss
                            strategy and short-term staffing needs.
   McGonigle, David         Meeting with M. Cohen, S. Minars, S.      $473.00     0.5    $236.50
                            Stanton, J. Larson, T. Stafford, R.
                            Strahle (Deloitte) to discuss analysis.
   McGonigle, David         Review relevant documents.                $473.00     0.6    $283.80
   McGonigle, David         Review calculation estimate.              $473.00     2.7   $1,277.10
   McGonigle, David         Perform calculation based upon            $473.00     2.8   $1,324.40
                            template.
   Minars, Scott            Commence drafting of outline of           $592.00     2.6   $1,539.20
                            submission to client.


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Project Barracuda
08/02/2017
   Minars, Scott            Meeting with M. Cohen, S. Stanton, J.       $592.00     0.5    $296.00
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts (Deloitte) to
                            discuss strategy and short-term
                            staffing needs.
   Minars, Scott            Meeting with M. Cohen, S. Stanton, J.       $592.00     0.5    $296.00
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle (Deloitte) to discuss
                            analysis.
   Stafford, Ted            Meeting with S. Minars, M. Cohen, S.        $513.00     0.5    $256.50
                            Stanton, J. Larson, R. Strahle, D.
                            McGonigle, J. Letts (Deloitte) to
                            discuss strategy and short-term
                            staffing needs.
   Stafford, Ted            Meeting with M. Cohen, S. Minars, S.        $513.00     0.5    $256.50
                            Stanton, J. Larson, R. Strahle, D.
                            McGonigle (Deloitte) to discuss
                            analysis.
   Stanton, Steven          Meeting with S. Minars, M. Cohen, J.        $592.00     0.5    $296.00
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts (Deloitte) to
                            discuss strategy and short-term
                            staffing needs.
   Stanton, Steven          Meeting with M. Cohen, S. Minars, J.        $592.00     0.5    $296.00
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle (Deloitte) to discuss
                            analysis.
   Strahle, Robert          Meeting with M. Cohen, S. Minars, S.        $513.00     0.5    $256.50
                            Stanton, J. Larson, T. Stafford, D.
                            McGonigle (Deloitte) to discuss
                            analysis.
   Strahle, Robert          Meeting with S. Minars, M. Cohen, S.        $513.00     0.5    $256.50
                            Stanton, J. Larson, T. Stafford, D.
                            McGonigle, J. Letts (Deloitte) to
                            discuss strategy and short-term
                            staffing needs.
08/03/2017
   Cohen, Mark              Call with R. Strahle (Deloitte) regarding   $592.00     0.3    $177.60
                            framework for analysis.
   Cohen, Mark              Continue review of items for client.        $592.00     0.8    $473.60


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Project Barracuda
08/03/2017
   McGonigle, David         Meeting with S. Minars (Deloitte) to      $473.00     1.2    $567.60
                            discuss updating analysis.
   McGonigle, David         Perform calculation for client.           $473.00     1.9    $898.70
   McGonigle, David         Review calculation for client.            $473.00     2.5   $1,182.50
   McGonigle, David         Continue to perform calculation for       $473.00     3.0   $1,419.00
                            client.
   Minars, Scott            Meeting with D. McGonigle (Deloitte) to   $592.00     1.2    $710.40
                            discuss updating analysis.
08/04/2017
   Letts, Joshua            Meeting with D. McGonigle (Deloitte) to   $340.00     0.2     $68.00
                            discuss updating analysis.
   Letts, Joshua            Search for documents on Relativity        $340.00     0.3    $102.00
                            database.
   McGonigle, David         Continue to perform the calculation for   $473.00     2.0    $946.00
                            client.
   McGonigle, David         Meeting with J. Letts (Deloitte) to       $473.00     0.2     $94.60
                            discuss updating analysis.
   McGonigle, David         Create summary sheet for calculations.    $473.00     2.4   $1,135.20
   McGonigle, David         Continue to perform calculation for       $473.00     2.8   $1,324.40
                            client.
   McGonigle, David         Continue to perform calculation for       $473.00     1.5    $709.50
                            client.
   Minars, Scott            Continue drafting analysis for client.    $592.00     0.9    $532.80
08/07/2017
   Cohen, Mark              Review of relevant documents.             $592.00     0.2    $118.40
   Cohen, Mark              Meeting with S. Minars, J. Larson, T.     $592.00     0.5    $296.00
                            Stafford, R. Strahle, D. McGonigle
                            (Deloitte) to discuss the analysis.
   Larson, Jen              Meeting with M. Cohen, S. Minars, T.      $513.00     0.5    $256.50
                            Stafford, R. Strahle, D. McGonigle
                            (Deloitte) to discuss the analysis.
   McGonigle, David         Prepare outline for client advice.        $473.00     3.0   $1,419.00
   McGonigle, David         Continue preparation of the outline for   $473.00     2.8   $1,324.40
                            client advice.




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Project Barracuda
08/07/2017
   McGonigle, David         Meeting with M. Cohen, S. Minars, J.         $473.00     0.5    $236.50
                            Larson, T. Stafford, R. Strahle
                            (Deloitte) to discuss the analysis.
   McGonigle, David         Continue preparation of the outline for      $473.00     1.3    $614.90
                            client advice.
   Minars, Scott            Review of the draft outline for the client   $592.00     0.4    $236.80
                            note.
   Minars, Scott            Analyze certain public disclosures for       $592.00     2.7   $1,598.40
                            client.
   Minars, Scott            Meeting with M. Cohen, J. Larson, T.         $592.00     0.5    $296.00
                            Stafford, R. Strahle, D. McGonigle
                            (Deloitte) to discuss the analysis.
   Stafford, Ted            Meeting with M. Cohen, S. Minars, J.         $513.00     0.5    $256.50
                            Larson, R. Strahle, D. McGonigle
                            (Deloitte) to discuss the analysis.
   Stafford, Ted            Meeting with professional regarding          $513.00     0.5    $256.50
                            client advice.
   Stafford, Ted            Review of report for client advice.          $513.00     0.6    $307.80
   Strahle, Robert          Meeting with M. Cohen, S. Minars, J.         $513.00     0.5    $256.50
                            Larson, T. Stafford, D. McGonigle
                            (Deloitte) to discuss the analysis.
08/08/2017
   Cohen, Mark              Review of relevant documents.                $592.00     1.8   $1,065.60
   Cohen, Mark              Initial review and due diligence related     $592.00     0.4    $236.80
                            to process.
   McGonigle, David         Preparation of analysis for client.          $473.00     1.7    $804.10
   McGonigle, David         Begin to update outline related to           $473.00     2.7   $1,277.10
                            process.
   McGonigle, David         Meeting with S. Minars (Deloitte) to         $473.00     0.6    $283.80
                            discuss process.
   McGonigle, David         Continue preparation of analysis for         $473.00     2.3   $1,087.90
                            client.
   Minars, Scott            Draft client note.                           $592.00     3.1   $1,835.20
   Minars, Scott            Review of potential professionals.           $592.00     0.5    $296.00
   Minars, Scott            Meeting with D. McGonigle (Deloitte) to      $592.00     0.6    $355.20
                            discuss process.


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Project Barracuda
08/08/2017
   Stanton, Steven          Review resumes of potential                 $592.00     1.0    $592.00
                            professionals for client consideration.
08/09/2017
   Cohen, Mark              Review and provide client                   $592.00     0.7    $414.40
                            recommendations.
   Cohen, Mark              Continue review and assessment of           $592.00     0.5    $296.00
                            relevant documents.
   Larson, Jen              Meeting with S. Minars, S. Stanton, T.      $513.00     0.6    $307.80
                            Stafford, R. Strahle, D. McGonigle, J.
                            Letts (Deloitte) to discuss process.
   Letts, Joshua            Meeting with S. Minars, S. Stanton, J.      $340.00     0.6    $204.00
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle (Deloitte) to discuss
                            process.
   Letts, Joshua            Perform analysis on process.                $340.00     0.5    $170.00
   McGonigle, David         Meeting with S. Minars (Deloitte) to        $473.00     0.9    $425.70
                            discuss client note.
   McGonigle, David         Continue to update calculation based        $473.00     0.9    $425.70
                            on discussions with S. Minars.
   McGonigle, David         Update calculation based on                 $473.00     2.7   $1,277.10
                            discussions with S. Minars (Deloitte).
   McGonigle, David         Meeting with S. Minars, S. Stanton, J.      $473.00     0.6    $283.80
                            Larson, T. Stafford, R. Strahle, J. Letts
                            (Deloitte) to discuss process and client
                            note.
   McGonigle, David         Continue to update outline regarding        $473.00     1.1    $520.30
                            the process.
   McGonigle, David         Review analysis for client.                 $473.00     0.8    $378.40
   Minars, Scott            Meeting with D. McGonigle (Deloitte) to     $592.00     0.9    $532.80
                            discuss the process.
   Minars, Scott            Meeting with S. Stanton, J. Larson, T.      $592.00     0.6    $355.20
                            Stafford, R. Strahle, D. McGonigle, J.
                            Letts (Deloitte) to discuss process and
                            client note.
   Stafford, Ted            Meeting with S. Stanton, J. Larson, S.      $513.00     0.6    $307.80
                            Minars, R. Strahle, D. McGonigle, J.
                            Letts (Deloitte) to discuss process and
                            client note.


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Project Barracuda
08/09/2017
   Stanton, Steven          Meeting with S. Minars, J. Larson, T.       $592.00     0.6    $355.20
                            Stafford, R. Strahle, D. McGonigle, J.
                            Letts (Deloitte) to discuss process and
                            client note.
   Strahle, Robert          Meeting with S. Minars, S. Stanton, J.      $513.00     0.6    $307.80
                            Larson, T. Stafford, D. McGonigle, J.
                            Letts (Deloitte) to discuss process and
                            client note.
08/10/2017
   Larson, Jen              Call with S. Minars (Deloitte) to discuss   $513.00     0.4    $205.20
                            format of the client note.
   McGonigle, David         Meeting with S. Minars (Deloitte) to        $473.00     0.3    $141.90
                            discuss the client note.
   McGonigle, David         Begin writing of client note.               $473.00     0.7    $331.10
   McGonigle, David         Continue writing of client note.            $473.00     3.0   $1,419.00
   McGonigle, David         Continued to update calculation based       $473.00     0.4    $189.20
                            on discussions with S. Minars
                            (Deloitte).
   Minars, Scott            Draft client note.                          $592.00     2.2   $1,302.40
   Minars, Scott            Meeting with D. McGonigle (Deloitte) to     $592.00     0.3    $177.60
                            discuss the client note.
08/11/2017
   McGonigle, David         Prepare summary of analysis for client.     $473.00     2.5   $1,182.50
   McGonigle, David         Prepare agenda for the meeting with         $473.00     1.8    $851.40
                            client and Foley.
   McGonigle, David         Begin portion of the client note.           $473.00     2.3   $1,087.90
   McGonigle, David         Update client note to reflect S. Minar      $473.00     0.4    $189.20
                            (Deloitte) notes.
   McGonigle, David         Continue writing client note.               $473.00     1.3    $614.90
   McGonigle, David         Meeting with S. Minars (Deloitte) to        $473.00     0.3    $141.90
                            discuss the client note.
   Minars, Scott            Meeting with D. McGonigle (Deloitte) to     $592.00     0.3    $177.60
                            discuss the client note.
   Minars, Scott            Draft client note.                          $592.00     2.1   $1,243.20




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Project Barracuda
08/13/2017
   Stanton, Steven          Review and edit meeting agenda for        $592.00     0.5    $296.00
                            upcoming client meeting.
08/14/2017
   Hommen, Kelly            Meeting with S. Stanton, S. Minars, J.    $340.00     0.5    $170.00
                            Larson, R. Strahle, T. Stafford and D.
                            McGonigle (Deloitte) to discuss
                            upcoming meeting with client and
                            Foley.
   Larson, Jen              Meeting with S. Stanton, S. Minars, R.    $513.00     0.5    $256.50
                            Strahle, T. Stafford, K. Hommen and
                            D. McGonigle (Deloitte) to discuss
                            upcoming meeting with client and
                            Foley.
   McGonigle, David         Continue writing client note.             $473.00     2.7   $1,277.10
   McGonigle, David         Continue writing client note.             $473.00     1.9    $898.70
   McGonigle, David         Meeting with T. Stafford (Deloitte) to    $473.00     0.2     $94.60
                            discuss comments to the meeting
                            agenda.
   McGonigle, David         Meeting with S. Stanton, S. Minars, J.    $473.00     0.5    $236.50
                            Larson, R. Strahle, T. Stafford and K.
                            Hommen (Deloitte) to discuss
                            upcoming meeting with client and
                            Foley.
   McGonigle, David         Address R. Strahle (Deloitte) notes for   $473.00     0.7    $331.10
                            the meeting with client and Foley.
   McGonigle, David         Address S. Stanton (Deloitte) notes for   $473.00     1.1    $520.30
                            the meeting with client and Foley.
   McGonigle, David         Address S. Minars (Deloitte) notes for    $473.00     0.3    $141.90
                            the meeting with client and Foley.
   McGonigle, David         Meeting with S. Minars and D.             $473.00     0.7    $331.10
                            McGonigle (Deloitte) to discuss
                            comments to the client note.
   Minars, Scott            Meeting with S. Stanton, J. Larson, R.    $592.00     0.5    $296.00
                            Strahle, T. Stafford, K. Hommen and
                            D. McGonigle (Deloitte) to discuss
                            upcoming meeting with client and
                            Foley.
   Minars, Scott            Meeting with D. McGonigle (Deloitte) to   $592.00     0.7    $414.40
                            discuss the client note.

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Project Barracuda
08/14/2017
   Stafford, Ted            Meeting with D. McGonigle (Deloitte) to   $513.00     0.2    $102.60
                            discuss the meeting agenda.
   Stafford, Ted            Meeting with S. Stanton, S. Minars, J.    $513.00     0.5    $256.50
                            Larson, R. Strahle, K. Hommen and D.
                            McGonigle (Deloitte) to discuss
                            upcoming meeting with client and
                            Foley.
   Stanton, Steven          Meeting with S. Minars, J. Larson, R.     $592.00     0.5    $296.00
                            Strahle, T. Stafford, K. Hommen and
                            D. McGonigle (Deloitte) to discuss
                            upcoming meeting with client and
                            Foley.
   Strahle, Robert          Review of draft meeting agenda for        $513.00     1.0    $513.00
                            meeting with client and Foley.
   Strahle, Robert          Meeting with S. Stanton, S. Minars, J.    $513.00     0.5    $256.50
                            Larson, T. Stafford, D. McGonigle, and
                            K. Hommen (Deloitte) to discuss
                            upcoming meeting with client and
                            Foley.
08/15/2017
   Cohen, Mark              Meeting with S. Stanton, S. Minars and    $592.00     0.3    $177.60
                            T. Stafford (Deloitte) to discuss
                            process with Foley.
   Cohen, Mark              Meeting with client, Foley, S. Minars,    $592.00     0.5    $296.00
                            S. Stanton, R. Strahle, T. Stafford, D.
                            McGonigle (Deloitte) to discuss
                            process.
   McGonigle, David         Continue writing the client note.         $473.00     2.8   $1,324.40
   McGonigle, David         Continue writing the client note.         $473.00     1.7    $804.10
   McGonigle, David         Meeting with client, Foley, S. Minars,    $473.00     0.5    $236.50
                            M. Cohen, S. Stanton, R. Strahle, T.
                            Stafford (Deloitte) to discuss process.
   McGonigle, David         Begin writing the client note.            $473.00     2.9   $1,371.70
   Minars, Scott            Review and edit meeting agenda.           $592.00     0.7    $414.40
   Minars, Scott            Meeting with S. Stanton, M. Cohen,        $592.00     0.3    $177.60
                            and T. Stafford (Deloitte) to discuss
                            process with Foley.
   Minars, Scott            Review and edit client note.              $592.00     0.7    $414.40


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Project Barracuda
08/15/2017
   Minars, Scott            Meeting with client, Foley, M. Cohen,       $592.00     0.5    $296.00
                            S. Stanton, R. Strahle, T. Stafford, D.
                            McGonigle (Deloitte) to discuss
                            process.
   Stafford, Ted            Draft outline related to process.           $513.00     0.7    $359.10
   Stafford, Ted            Meeting with S. Stanton, S. Minars and      $513.00     0.3    $153.90
                            M. Cohen (Deloitte) to discuss process
                            with Foley.
   Stafford, Ted            Meeting with client, Foley, S. Minars,      $513.00     0.5    $256.50
                            M. Cohen, S. Stanton, R. Strahle, D.
                            McGonigle (Deloitte) to discuss
                            process.
   Stanton, Steven          Meeting with S. Minars, M. Cohen, and       $592.00     0.3    $177.60
                            T. Stafford (Deloitte) to discuss
                            process with Foley.
   Stanton, Steven          Meeting with client, Foley, S. Minars,      $592.00     0.5    $296.00
                            M. Cohen, R. Strahle, T. Stafford, D.
                            McGonigle (Deloitte) to discuss
                            process.
   Strahle, Robert          Meeting with client, Foley S. Minars, M.    $513.00     0.5    $256.50
                            Cohen, S. Stanton, T. Stafford, D.
                            McGonigle (Deloitte) to discuss
                            process.
08/16/2017
   Hommen, Kelly            Meeting with S. Minars, S. Stanton, T.      $340.00     0.4    $136.00
                            Stafford, R. Strahle, J. Letts and D.
                            McGonigle (Deloitte) to discuss
                            timeline for the process.
   McGonigle, David         Create calendar template for Project        $473.00     0.6    $283.80
                            Barracuda
   McGonigle, David         Continue writing the client note.           $473.00     2.8   $1,324.40
   McGonigle, David         Create draft internal timeline for client   $473.00     1.0    $473.00
                            note.
   McGonigle, David         Continue writing the client note.           $473.00     3.0   $1,419.00
   McGonigle, David         Meeting with S. Minars, S. Stanton, T.      $473.00     0.4    $189.20
                            Stafford, R. Strahle, K. Hommen and J.
                            Letts (Deloitte) to discuss timeline for
                            the process.


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Project Barracuda
08/16/2017
   McGonigle, David         Consolidate Deloitte team's calendar        $473.00     0.2     $94.60
                            schedules received from S. Minar, T.
                            Stafford, J. Letts, K. Hommen (all
                            Deloitte) for work streams related to
                            engagement.
   Minars, Scott            Meeting with S. Stanton, T. Stafford, R.    $592.00     0.4    $236.80
                            Strahle, K. Hommen, J. Letts and D.
                            McGonigle (Deloitte) to discuss
                            timeline for the process.
   Stafford, Ted            Meeting with S. Minars, S. Stanton, R.      $513.00     0.4    $205.20
                            Strahle, K. Hommen, J. Letts and D.
                            McGonigle (Deloitte) to discuss
                            timeline for the process.
   Stanton, Steven          Meeting with S. Minars, T. Stafford, R.     $592.00     0.4    $236.80
                            Strahle, K. Hommen, J. Letts and D.
                            McGonigle (Deloitte) to discuss
                            timeline for the process.
   Strahle, Robert          Meeting with S. Minars, S. Stanton, T.      $513.00     0.4    $205.20
                            Stafford, K. Hommen, J. Letts and D.
                            McGonigle (Deloitte) to discuss
                            timeline for the process.
08/17/2017
   Minars, Scott            Review and edit client note.                $592.00     1.6    $947.20
08/18/2017
   Minars, Scott            Review and edit client note.                $592.00     2.1   $1,243.20
   Stafford, Ted            Call with Foley regarding process           $513.00     0.1     $51.30
                            status.
08/21/2017
   Hommen, Kelly            Meeting with S. Minars, S. Stanton, T.      $340.00     0.2     $68.00
                            Stafford, R. Strahle, J. Letts (Deloitte)
                            to discuss project timeline going
                            forward.
   Letts, Joshua            Meeting with S. Minars, S. Stanton, T.      $340.00     0.2     $68.00
                            Stafford, R. Strahle, K. Hommen
                            (Deloitte) to discuss project timeline
                            going forward.




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Project Barracuda
08/21/2017
   Minars, Scott            Meeting with S. Stanton, T. Stafford, R.   $592.00     0.2    $118.40
                            Strahle, J. Letts, K. Hommen (Deloitte)
                            to discuss project timeline going
                            forward.
   Stafford, Ted            Meeting with S. Stanton, S. Minars, R.     $513.00     0.2    $102.60
                            Strahle, J. Letts, K. Hommen (Deloitte)
                            to discuss project timeline going
                            forward.
   Stanton, Steven          Meeting with S. Minars, T. Stafford, R.    $592.00     0.2    $118.40
                            Strahle, J. Letts, K. Hommen (Deloitte)
                            to discuss project timeline going
                            forward.
   Strahle, Robert          Meeting with S. Minars, S. Stanton, T.     $513.00     0.2    $102.60
                            Stafford, J. Letts, K. Hommen
                            (Deloitte) to discuss project timeline
                            going forward.
08/22/2017
   Letts, Joshua            Review SharePoint site for data            $340.00     0.7    $238.00
                            transfer.
   Stanton, Steven          Review monthly fee statement to be         $592.00     0.5    $296.00
                            submitted to bankruptcy court.
08/23/2017
   Cohen, Mark              Meeting with S. Minars, S. Stanton, T.     $592.00     0.2    $118.40
                            Stafford, R. Strahle, J. Letts, K.
                            Hommen (Deloitte) to discuss
                            upcoming project schedule.
   Cohen, Mark              Review of correspondence from              $592.00     0.2    $118.40
                            counsel and client personnel regarding
                            prep call.
   Hommen, Kelly            Meeting with S. Minars, M. Cohen, S.       $340.00     0.2     $68.00
                            Stanton, T. Stafford, R. Strahle, J.
                            Letts (Deloitte) to discuss upcoming
                            project schedule.
   Letts, Joshua            Meeting with S. Minars, M. Cohen, S.       $340.00     0.2     $68.00
                            Stanton, T. Stafford, R. Strahle, K.
                            Hommen (Deloitte) to discuss
                            upcoming project schedule.




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Project Barracuda
08/23/2017
   Minars, Scott            Meeting with M. Cohen, S. Stanton, T.     $592.00     0.2    $118.40
                            Stafford, R. Strahle, J. Letts, K.
                            Hommen (Deloitte) to discuss
                            upcoming project schedule.
   Stafford, Ted            Meeting with S. Minars, M. Cohen, S.      $513.00     0.2    $102.60
                            Stanton, R. Strahle, J. Letts, K.
                            Hommen (Deloitte) to discuss
                            upcoming project schedule.
   Stanton, Steven          Meeting with S. Minars, M. Cohen, T.      $592.00     0.2    $118.40
                            Stafford, R. Strahle, J. Letts, K.
                            Hommen (Deloitte) to discuss
                            upcoming project schedule.
   Strahle, Robert          Meeting with S. Minars, M. Cohen, S.      $513.00     0.2    $102.60
                            Stanton, T. Stafford, J. Letts, K.
                            Hommen (Deloitte) to discuss
                            upcoming project schedule.
08/24/2017
   Cohen, Mark              Meeting with client, Foley, S. Minars,    $592.00     0.4    $236.80
                            S. Stanton, T. Stafford, R. Strahle and
                            D. McGonigle (Deloitte) to discuss
                            client advise.
   Cohen, Mark              Review of draft of client advice.         $592.00     0.3    $177.60
   McGonigle, David         Meeting with client, Foley, S. Minars,    $473.00     0.4    $189.20
                            M. Cohen, S. Stanton, T. Stafford and
                            R. Strahle (Deloitte) to discuss client
                            advice.
   Minars, Scott            Draft client note.                        $592.00     1.4    $828.80
   Minars, Scott            Meeting with client, Foley, M. Cohen,     $592.00     0.4    $236.80
                            S. Stanton, T. Stafford, R. Strahle and
                            D. McGonigle (Deloitte) to discuss
                            client advice.
   Minars, Scott            Review of client information to client    $592.00     0.6    $355.20
                            with suggestions regarding same.
   Stafford, Ted            Meeting with client, Foley, S. Minars,    $513.00     0.4    $205.20
                            M. Cohen, S. Stanton, R. Strahle and
                            D. McGonigle (Deloitte) to discuss
                            client advice.
   Stafford, Ted            Review client presentation of the         $513.00     0.4    $205.20
                            process.


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Project Barracuda
08/24/2017
   Stanton, Steven          Meeting with client, Foley, S. Minars,    $592.00     0.4    $236.80
                            M. Cohen, T. Stafford, R. Strahle and
                            D. McGonigle (Deloitte) to discuss
                            client advice.
08/25/2017
   McGonigle, David         Meeting with client, Foley, S. Minars,    $473.00     0.7    $331.10
                            S. Stanton, T. Stafford and R. Strahle
                            (Deloitte) to discuss client advice.
   McGonigle, David         Update client note based on S. Minars     $473.00     2.6   $1,229.80
                            comments.
   Minars, Scott            Review of the updated client              $592.00     0.3    $177.60
                            information and responding to client
                            with suggestions and preparation for
                            call.
   Minars, Scott            Draft client note.                        $592.00     2.7   $1,598.40
   Minars, Scott            Meeting with client, Foley, S. Stanton,   $592.00     0.7    $414.40
                            T. Stafford, R. Strahle and D.
                            McGonigle (Deloitte) to discuss client
                            advice.
   Stafford, Ted            Meeting with client, Foley, S. Minars,    $513.00     0.7    $359.10
                            S. Stanton, R. Strahle and D.
                            McGonigle (Deloitte) to discuss client
                            advice.
   Strahle, Robert          Meeting with client, Foley, S. Minars,    $513.00     0.7    $359.10
                            S. Stanton, T. Stafford and D.
                            McGonigle (Deloitte) to discuss client
                            advice.
08/28/2017
   Cohen, Mark              Meeting with S. Minars, T. Stafford, R.   $592.00     0.2    $118.40
                            Strahle, K. Hommen, D. McGonigle
                            (Deloitte) to recap the meeting with
                            client and Foley and discussed the
                            current progress of the client note.
   Hommen, Kelly            Meeting with M. Cohen, S. Minars, T.      $340.00     0.2     $68.00
                            Stafford, R. Strahle, D. McGonigle
                            (Deloitte) to recap the meeting with
                            client and Foley and discussed the
                            current progress of the client note.



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Project Barracuda
08/28/2017
   McGonigle, David         Meeting with M. Cohen, S. Minars, T.       $473.00     0.2     $94.60
                            Stafford, R. Strahle, K. Hommen
                            (Deloitte) to recap the meeting with
                            client and Foley and discussed the
                            current progress of the client note.
   Minars, Scott            Meeting with M. Cohen, T. Stafford, R.     $592.00     0.2    $118.40
                            Strahle, K. Hommen, D. McGonigle
                            (Deloitte) to recap the meeting with
                            client and Foley and discussed the
                            current progress of the client note.
   Stafford, Ted            Meeting with M. Cohen, S. Minars, R.       $513.00     0.2    $102.60
                            Strahle, K. Hommen, D. McGonigle
                            (Deloitte) to recap the meeting with
                            client and Foley and discussed the
                            current progress of the client note.
   Strahle, Robert          Meeting with M. Cohen, S. Minars, T.       $513.00     0.2    $102.60
                            Stafford, K. Hommen, D. McGonigle
                            (Deloitte) to recap the meeting with
                            client and Foley and discussed the
                            current progress of the client note.
08/30/2017
   Hommen, Kelly            Meeting with S. Stanton, J. Larson, T.     $340.00     0.2     $68.00
                            Stafford, D. McGonigle, J. Letts
                            (Deloitte) to recap call with client and
                            Foley regarding strategy and timeline
                            going forward.
   Larson, Jen              Meeting with S. Stanton, T. Stafford, D.   $513.00     0.2    $102.60
                            McGonigle, J. Letts, K. Hommen
                            (Deloitte) to recap call with client and
                            Foley regarding strategy and timeline
                            going forward.
   Letts, Joshua            Meeting with S. Stanton, J. Larson, T.     $340.00     0.2     $68.00
                            Stafford, D. McGonigle (Deloitte) to
                            recap call with client and Foley
                            regarding strategy and timeline going
                            forward.
   McGonigle, David         Meeting with S. Stanton, J. Larson, T.     $473.00     0.2     $94.60
                            Stafford, J. Letts, K. Hommen
                            (Deloitte) to recap call with client and
                            Foley regarding strategy and timeline
                            going forward.

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Project Barracuda
08/30/2017
   Minars, Scott            Attendance at preview meeting for          $592.00     1.1    $651.20
                            client.
   Minars, Scott            Preparation for client pre-meeting.        $592.00     0.8    $473.60
   Stafford, Ted            Meeting with S. Stanton, J. Larson, D.     $513.00     0.2    $102.60
                            McGonigle, J. Letts, K. Hommen
                            (Deloitte) to recap call with client and
                            Foley regarding strategy and timeline
                            going forward.
   Stanton, Steven          Meeting with J. Larson, T. Stafford, D.    $592.00     0.2    $118.40
                            McGonigle, J. Letts, K. Hommen
                            (Deloitte) to recap call with client and
                            Foley regarding strategy and timeline
                            going forward.
08/31/2017
   McGonigle, David         Review the introduction section of         $473.00     0.8    $378.40
                            client note.
   McGonigle, David         Review and begin updating client note.     $473.00     2.2   $1,040.60
   Minars, Scott            Attendance at client meeting.              $592.00     1.0    $592.00
   Minars, Scott            Preparation for client meeting.            $592.00     0.7    $414.40
   Stanton, Steven          Draft client note/advice.                  $592.00     2.0   $1,184.00
09/01/2017
   Stanton, Steven          Read background materials.                 $592.00     2.0   $1,184.00
09/05/2017
   Cohen, Mark              Meeting with client, Foley, and S.         $592.00     0.2    $118.40
                            Minars, S. Stanton, R. Strahle, and D.
                            McGonigle (Deloitte) to discuss the
                            cprocess and expectations going
                            forward.
   McGonigle, David         Meeting with client, Foley, and S.         $473.00     0.2     $94.60
                            Minars, S. Stanton, M. Cohen, and R.
                            Strahle (Deloitte) to discuss the
                            process and expectations going
                            forward.




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Project Barracuda
09/05/2017
   Minars, Scott            Meeting with client, Foley, and S.        $592.00     0.2    $118.40
                            Stanton, M. Cohen, R. Strahle, and D.
                            McGonigle (Deloitte) to discuss the
                            process and expectations going
                            forward.
   Stanton, Steven          Meeting with client, Foley, and S.        $592.00     0.2    $118.40
                            Minars, M. Cohen, R. Strahle, and D.
                            McGonigle (Deloitte) to discuss the
                            process and expectations going
                            forward.
   Stanton, Steven          Review and provide comments on draft      $592.00     3.0   $1,776.00
                            analysis.
   Strahle, Robert          Review and provide comments on draft      $513.00     2.2   $1,128.60
                            analysis.
   Strahle, Robert          Meeting with client, Foley, and S.        $513.00     0.2    $102.60
                            Minars, S. Stanton, M. Cohen, and D.
                            McGonigle (Deloitte) to discuss the
                            process and expectations going
                            forward.
09/06/2017
   Cohen, Mark              Meeting with S. Minars, S. Stanton, J.    $592.00     0.2    $118.40
                            Larson, R. Strahle, D. McGonigle, J.
                            Letts, and K. Hommen (Deloitte) to
                            discuss the process. (partial
                            attendance)
   Hommen, Kelly            Meeting with S. Minars, S. Stanton, M.    $340.00     0.6    $204.00
                            Cohen, J. Larson, R. Strahle, D.
                            McGonigle, and J. Letts (Deloitte) to
                            discuss the process.
   Larson, Jen              Meeting with S. Minars, S. Stanton, M.    $592.00     0.6    $355.20
                            Cohen, R. Strahle, D. McGonigle, J.
                            Letts, K. Hommen (Deloitte) to discuss
                            the process.
   Letts, Joshua            Meeting with S. Minars, S. Stanton, M.    $340.00     0.6    $204.00
                            Cohen, J. Larson, R. Strahle, D.
                            McGonigle, and K. Hommen (Deloitte)
                            to discuss the process.
   McGonigle, David         Meeting with S. Minars, S. Stanton, M.    $473.00     0.6    $283.80
                            Cohen, J. Larson, R. Strahle, J. Letts,
                            and K. Hommen (Deloitte) to discuss
                            the process.

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Project Barracuda
09/06/2017
   Minars, Scott            Meeting with S. Stanton, M. Cohen, J.     $592.00     0.6    $355.20
                            Larson, R. Strahle, D. McGonigle, J.
                            Letts, and K. Hommen (Deloitte) to
                            discuss the process.
   Stanton, Steven          Meeting with S. Minars, M. Cohen          $592.00     0.6    $355.20
                            (partial), J. Larson, R. Strahle, D.
                            McGonigle, J. Letts, and K. Hommen
                            (Deloitte) to discuss the process.
   Strahle, Robert          Review calculations to update draft       $513.00     3.0   $1,539.00
                            analysis.
   Strahle, Robert          Continued to review calculations to       $513.00     1.0    $513.00
                            update draft analysis.
   Strahle, Robert          Meeting with S. Minars, S. Stanton, M.    $513.00     0.6    $307.80
                            Cohen, J. Larson, D. McGonigle, J.
                            Letts, and K. Hommen (Deloitte) to
                            discuss the process.
09/07/2017
   McGonigle, David         Continue to update analysis.              $473.00     1.5    $709.50
   Strahle, Robert          Review calculations to update draft       $513.00     3.0   $1,539.00
                            analysis.
   Strahle, Robert          Continue to review calculations to        $513.00     3.3   $1,692.90
                            update draft analysis.
09/08/2017
   Strahle, Robert          Review calculations to update draft       $513.00     3.0   $1,539.00
                            analysis.
   Strahle, Robert          Continue to review calculations to        $513.00     3.5   $1,795.50
                            update draft analysis.
09/11/2017
   Cohen, Mark              Meeting with S. Stanton, J. Larson, R.    $592.00     0.1     $59.20
                            Strahle, D. McGonigle, J. Letts, and K.
                            Hommen (Deloitte) to discuss
                            upcoming call with client and Foley and
                            draft analysis.
   Cohen, Mark              Review draft of analysis.                 $592.00     1.2    $710.40




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Date                        Description                                 Rate    Hours       Fees

Project Barracuda
09/11/2017
   Hommen, Kelly            Meeting with M. Cohen, S. Stanton, J.     $340.00     0.1     $34.00
                            Larson, R. Strahle, D. McGonigle, and
                            J. Letts (Deloitte) to discuss upcoming
                            call with client and Foley and draft
                            analysis.
   Larson, Jen              Meeting with M. Cohen, S. Stanton, R.     $592.00     0.1     $59.20
                            Strahle, D. McGonigle, J. Letts, and K.
                            Hommen (Deloitte) to discuss
                            upcoming call with client and Foley and
                            draft analysis.
   Letts, Joshua            Research supporting documents for         $340.00     3.0   $1,020.00
                            Project Barracuda.
   Letts, Joshua            Meeting with M. Cohen, S. Stanton, J.     $340.00     0.1     $34.00
                            Larson, R. Strahle, D. McGonigle, and
                            K. Hommen (Deloitte) to discuss
                            upcoming call with client and Foley and
                            draft analysis.
   Letts, Joshua            Continue to research supporting           $340.00     1.8    $612.00
                            documents for Project Barracuda.
   McGonigle, David         Meeting with M. Cohen, S. Stanton, J.     $473.00     0.1     $47.30
                            Larson, R. Strahle, J. Letts, and K.
                            Hommen (Deloitte) to discuss
                            upcoming call with client and Foley and
                            draft analysis.
   McGonigle, David         Continue to draft analysis.               $473.00     2.3   $1,087.90
   Stanton, Steven          Review draft analysis.                    $592.00     0.9    $532.80
   Stanton, Steven          Meeting with M. Cohen, J. Larson, R.      $592.00     0.1     $59.20
                            Strahle, D. McGonigle, J. Letts, and K.
                            Hommen (Deloitte) to discuss
                            upcoming call with client and Foley,
                            and draft analysis.
   Strahle, Robert          Update draft analysis.                    $513.00     3.0   $1,539.00
   Strahle, Robert          Continue to update draft analysis.        $513.00     2.0   $1,026.00
   Strahle, Robert          Meeting with M. Cohen, S. Stanton, J.     $513.00     0.1     $51.30
                            Larson, D. McGonigle, J. Letts, and K.
                            Hommen (Deloitte) to discuss
                            upcoming call with client and Foley and
                            draft analysis.



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Project Barracuda
09/12/2017
   Cohen, Mark              Review draft analysis and comments in     $592.00     1.3    $769.60
                            preparation for walkthrough with
                            project team.
   Cohen, Mark              Meeting with S. Stanton, S. Minars, R.    $592.00     1.5    $888.00
                            Strahle, and D. McGonigle (Deloitte) to
                            discuss the notes and strategy of the
                            analysis.
   Letts, Joshua            Continue to research supporting           $340.00     2.9    $986.00
                            documents for Project Barracuda.
   Letts, Joshua            Continue to research documents.           $340.00     0.4    $136.00
   Letts, Joshua            Meeting with D. McGonigle (Deloitte) to   $340.00     0.4    $136.00
                            discuss updates to analysis.
   McGonigle, David         Review notes on the analysis in           $473.00     0.8    $378.40
                            preparation for internal meeting.
   McGonigle, David         Meeting with S. Stanton, M. Cohen, S.     $473.00     1.5    $709.50
                            Minars, and R. Strahle (Deloitte) to
                            discuss the notes and strategy of the
                            analysis.
   McGonigle, David         Meeting with J. Letts (Deloitte) to       $473.00     0.4    $189.20
                            discuss updates to analysis.
   Minars, Scott            Review analysis comments and edits.       $592.00     0.6    $355.20
   Minars, Scott            Meeting with S. Stanton, M. Cohen, R.     $592.00     1.5    $888.00
                            Strahle, and D. McGonigle (Deloitte) to
                            discuss the notes and strategy relating
                            to the analysis.
   Stanton, Steven          Review revised analysis in preparation    $592.00     1.0    $592.00
                            for internal meeting.
   Stanton, Steven          Meeting with M. Cohen, S. Minars, R.      $592.00     1.5    $888.00
                            Strahle, and D. McGonigle (Deloitte) to
                            discuss the notes and strategy of the
                            analysis.
   Strahle, Robert          Review revised analysis in preparation    $513.00     1.5    $769.50
                            for internal meeting.
   Strahle, Robert          Meeting with S. Stanton, M. Cohen, S.     $513.00     1.5    $769.50
                            Minars, and D. McGonigle (Deloitte) to
                            discuss the notes and strategy of the
                            analysis.




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Project Barracuda
09/13/2017
   Cohen, Mark              Respond to Counsel's request               $592.00     0.2    $118.40
                            regarding proposed personnel.
   Letts, Joshua            Review and edit exhibits for analysis.     $340.00     3.0   $1,020.00
   Letts, Joshua            Meeting with D. McGonigle (Deloitte) to    $340.00     0.3    $102.00
                            analyze and discuss exhibits and
                            supporting schedules to analysis.
   Letts, Joshua            Continue to review and edit exhibits for   $340.00     2.2    $748.00
                            analysis.
   McGonigle, David         Meeting with J. Letts (Deloitte) to        $473.00     0.3    $141.90
                            analyze and discuss exhibits and
                            supporting schedules to analysis.
09/14/2017
   Stanton, Steven          Review analysis comments and edits.        $592.00     0.5    $296.00
09/15/2017
   Letts, Joshua            Review and edit exhibits for analysis.     $340.00     2.0    $680.00
   Minars, Scott            Review and edit analysis and outline of    $592.00     3.0   $1,776.00
                            analysis.
   Minars, Scott            Continue to review and edit analysis       $592.00     0.7    $414.40
                            and outline of analysis.
09/19/2017
   Stafford, Ted            Review analysis.                           $513.00     1.2    $615.60
09/20/2017
   Hommen, Kelly            Meeting with S. Minars, S. Stanton, J.     $340.00     0.3    $102.00
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, and J. Letts to discuss
                            progress and drafting plan of analysis.
   Larson, Jen              Meeting with S. Minars, S. Stanton, T.     $592.00     0.3    $177.60
                            Stafford, R. Strahle, D. McGonigle, J.
                            Letts, and K. Hommen to discuss
                            progress and drafting plan of analysis.
   Letts, Joshua            Meeting with S. Minars, S. Stanton, J.     $340.00     0.3    $102.00
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, and K. Hommen to discuss
                            progress and drafting plan of analysis.




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Project Barracuda
09/20/2017
   McGonigle, David         Meeting with S. Minars, S. Stanton, J.       $473.00     0.3    $141.90
                            Larson, T. Stafford, R. Strahle, J. Letts,
                            and K. Hommen to discuss progress
                            and drafting plan of analysis.
   Minars, Scott            Review and edit analysis and outline of      $592.00     0.1     $59.20
                            analysis.
   Minars, Scott            Meeting with S. Stanton, J. Larson, T.       $592.00     0.3    $177.60
                            Stafford, R. Strahle, D. McGonigle, J.
                            Letts, and K. Hommen to discuss
                            progress and drafting plan of analysis.
   Stafford, Ted            Meeting with J. Egertson (Professional)      $513.00     0.5    $256.50
                            to discuss status of process.
   Stafford, Ted            Meeting with S. Minars, S. Stanton, J.       $513.00     0.3    $153.90
                            Larson, R. Strahle, D. McGonigle, J.
                            Letts, and K. Hommen to discuss
                            progress and drafting plan of analysis.
   Stanton, Steven          Review and edit analysis and outline of      $592.00     0.2    $118.40
                            analysis.
   Stanton, Steven          Meeting with S. Minars, J. Larson, T.        $592.00     0.3    $177.60
                            Stafford, R. Strahle, D. McGonigle, J.
                            Letts, and K. Hommen to discuss
                            progress and drafting plan of analysis.
   Strahle, Robert          Meeting with S. Minars, S. Stanton, J.       $513.00     0.3    $153.90
                            Larson, T. Stafford, D. McGonigle, J.
                            Letts, and K. Hommen to discuss
                            progress and drafting plan of analysis.
09/22/2017
   McGonigle, David         Continue to work on the analysis.            $473.00     3.0   $1,419.00
   Stanton, Steven          Review and edit analysis and outline of      $592.00     0.5    $296.00
                            analysis.
09/24/2017
   McGonigle, David         Continue to work on analysis.                $473.00     3.1   $1,466.30
09/25/2017
   Cohen, Mark              Meeting with S. Minars, S. Stanton, R.       $592.00     0.7    $414.40
                            Strahle, T. Stafford, and D. McGonigle
                            (Deloitte) to discuss the analysis.




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Date                        Description                                    Rate    Hours       Fees

Project Barracuda
09/25/2017
   Hommen, Kelly            Meeting with S. Minars, S. Stanton, J.       $340.00     0.1     $34.00
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, and J. Letts to discuss
                            coordination and planning of meeting
                            with client and Foley.
   Larson, Jen              Meeting with S. Minars, S. Stanton, T.       $592.00     0.1     $59.20
                            Stafford, R. Strahle, D. McGonigle, J.
                            Letts, K. Hommen to discuss
                            coordination and planing of meeting
                            with client and Foley.
   Letts, Joshua            Prepare outline and supporting               $340.00     2.6    $884.00
                            documents for analysis.
   Letts, Joshua            Meeting with S. Minars, T. Stafford,         $340.00     0.3    $102.00
                            and D. McGonigle (Deloitte) to discuss
                            request from Foley for analysis.
   Letts, Joshua            Meeting with S. Minars, S. Stanton, J.       $340.00     0.1     $34.00
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, and K. Hommen to discuss
                            coordination and planning of meeting
                            with client and Foley.
   McGonigle, David         Continue to perform updates on the           $473.00     2.1    $993.30
                            analysis.
   McGonigle, David         Perform updates on the analysis.             $473.00     2.3   $1,087.90
   McGonigle, David         Meeting with S. Minars, T. Stafford,         $473.00     0.3    $141.90
                            and J. Letts (Deloitte) to discuss
                            request from Foley for analysis.
   McGonigle, David         Meeting with S. Minars, S. Stanton, J.       $473.00     0.1     $47.30
                            Larson, T. Stafford, R. Strahle, J. Letts,
                            and K. Hommen to discuss
                            coordination and planning of meeting
                            with client and Foley.
   McGonigle, David         Meeting with M. Cohen, S. Minars, S.         $473.00     0.7    $331.10
                            Stanton, R. Strahle, and T. Stafford
                            (Deloitte) to discuss the analysis.
   Minars, Scott            Meeting with S. Stanton, J. Larson, T.       $592.00     0.1     $59.20
                            Stafford, R. Strahle, D. McGonigle, J.
                            Letts, and K. Hommen to discuss
                            coordination and planning of meeting
                            with client and Foley.
   Minars, Scott            Edit revised analysis.                       $592.00     0.4    $236.80

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Project Barracuda
09/25/2017
   Minars, Scott            Meeting with M. Cohen, S. Stanton, R.     $592.00     0.7    $414.40
                            Strahle, T. Stafford, and D. McGonigle
                            (Deloitte) to discuss the analysis.
   Minars, Scott            Meeting with T. Stafford, D.              $592.00     0.3    $177.60
                            McGonigle, and J. Letts (Deloitte) to
                            discuss request from Foley for
                            analysis.
   Stafford, Ted            Call with Foley to discuss status of      $513.00     0.4    $205.20
                            client matter.
   Stafford, Ted            Meeting with S. Minars, D. McGonigle,     $513.00     0.3    $153.90
                            and J. Letts (Deloitte) to discuss
                            request from Foley for analysis.
   Stafford, Ted            Read analysis workpapers.                 $513.00     0.7    $359.10
   Stafford, Ted            Meeting with M. Cohen, S. Minars, S.      $513.00     0.7    $359.10
                            Stanton, R. Strahle, and D. McGonigle
                            (Deloitte) to discuss the analysis.
   Stafford, Ted            Meeting with S. Stanton to discuss        $513.00     0.4    $205.20
                            calculation related to analysis.
   Stafford, Ted            Meeting with S. Minars, S. Stanton, J.    $513.00     0.1     $51.30
                            Larson, R. Strahle, D. McGonigle, J.
                            Letts, and K. Hommen to discuss
                            coordination and planning of meeting
                            with client and Foley.
   Stanton, Steven          Meeting with T. Stafford to discuss       $592.00     0.4    $236.80
                            calculation related to analysis.
   Stanton, Steven          Meeting with S. Minars, J. Larson, T.     $592.00     0.1     $59.20
                            Stafford, R. Strahle, D. McGonigle, J.
                            Letts, and K. Hommen to discuss
                            coordination and planning of meeting
                            with client and Foley.
   Stanton, Steven          Meeting with M. Cohen, S. Minars, R.      $592.00     0.7    $414.40
                            Strahle, T. Stafford, and D. McGonigle
                            (Deloitte) to discuss the analysis.
   Strahle, Robert          Meeting with S. Minars, S. Stanton, J.    $513.00     0.1     $51.30
                            Larson, T. Stafford, D. McGonigle, J.
                            Letts, K. Hommen to discuss
                            coordination and planning of meeting
                            with client and Foley.




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Project Barracuda
09/25/2017
   Strahle, Robert          Meeting with M. Cohen, S. Minars, S.      $513.00     0.7    $359.10
                            Stanton, T. Stafford, and D. McGonigle
                            (Deloitte) to discuss the analysis.
09/26/2017
   Cohen, Mark              Meeting with client, Foley, and S.        $592.00     0.4    $236.80
                            Minars, T. Stafford, and D. McGonigle
                            (Deloitte) to discuss the status of
                            process and analysis.
   Letts, Joshua            Prepare outline and supporting            $340.00     3.0   $1,020.00
                            documents for analysis.
   Letts, Joshua            Continue to prepare outline and           $340.00     3.8   $1,292.00
                            supporting documents for analysis.
   Letts, Joshua            Meeting with D. McGonigle (Deloitte) to   $340.00     0.5    $170.00
                            discuss outline of analysis and
                            additional analysis to be performed.
   McGonigle, David         Update analysis based on S. Minars        $473.00     0.7    $331.10
                            comments.
   McGonigle, David         Meeting with J. Letts (Deloitte) to       $473.00     0.5    $236.50
                            discuss outline of analysis and
                            additional analysis to be perfomed.
   McGonigle, David         Meeting with S. Minars (Deloitte) to      $473.00     0.8    $378.40
                            discuss comments on the initial
                            analysis.
   McGonigle, David         Meeting with client, Foley, and S.        $473.00     0.4    $189.20
                            Minars, M. Cohen, and T. Stafford to
                            discuss the status of process and
                            analysis.
   McGonigle, David         Compose email for the team's review       $473.00     0.1     $47.30
                            of the analysis.
   Minars, Scott            Meeting with S. Stanton and T.            $592.00     0.4    $236.80
                            Stafford (Deloitte) to discuss
                            quantification of analysis.
   Minars, Scott            Meeting with client, Foley, and M.        $592.00     0.4    $236.80
                            Cohen, T. Stafford, and D. McGonigle
                            (Deloitte) to discuss the status of
                            process and analysis.
   Minars, Scott            Edit analysis update.                     $592.00     1.9   $1,124.80




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Project Barracuda
09/26/2017
   Minars, Scott            Meeting with D. McGonigle (Deloitte) to   $592.00     0.8    $473.60
                            discuss comments on the initial
                            analysis.
   Stafford, Ted            Meeting with S. Minars and S. Stanton     $513.00     0.4    $205.20
                            (Deloitte) to discuss quantification of
                            analysis.
   Stafford, Ted            Meeting with client, Foley, and S.        $513.00     0.4    $205.20
                            Minars, M. Cohen, and D. McGonigle
                            (Deloitte) to discuss the status of
                            process and analysis.
   Stafford, Ted            Meeting with Foley and S. Stanton         $513.00     0.1     $51.30
                            (Deloitte) to discuss quantification of
                            analysis.
   Stafford, Ted            Read analysis workpaper.                  $513.00     2.1   $1,077.30
   Stanton, Steven          Meeting with Foley and T. Stafford        $592.00     0.1     $59.20
                            (Deloitte) to discuss quantification of
                            analysis.
   Stanton, Steven          Meeting with S. Minars and T. Stafford    $592.00     0.4    $236.80
                            (Deloitte) to discuss quantification of
                            analysis.
   Strahle, Robert          Review current version of draft           $513.00     1.1    $564.30
                            analysis.
09/27/2017
   Cohen, Mark              Review updated analysis.                  $592.00     0.5    $296.00
   Letts, Joshua            Review documents for inclusion within     $340.00     1.4    $476.00
                            supporting documents for analysis.
   Letts, Joshua            Meeting with T. Stafford (Deloitte) to    $340.00     1.2    $408.00
                            discuss analysis.
   Letts, Joshua            Prepare outline for analysis.             $340.00     1.2    $408.00
   Letts, Joshua            Prepare supporting documents for          $340.00     1.6    $544.00
                            analysis.
   Letts, Joshua            Meeting with S. Minars and T. Stafford    $340.00     0.3    $102.00
                            (Deloitte) to discuss upcoming
                            meetings with client and Foley.
   Minars, Scott            Meeting with T. Stafford and J. Letts     $592.00     0.3    $177.60
                            (Deloitte) to discuss upcoming
                            meetings with client and Foley.
   Stafford, Ted            Review analysis workpaper.                $513.00     1.0    $513.00

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Project Barracuda
09/27/2017
   Stafford, Ted           Meeting with S. Minars and J. Letts          $513.00     0.3    $153.90
                           (Deloitte) to discuss upcoming
                           meetings with client and Foley.
   Stafford, Ted           Meeting with J. Letts (Deloitte) to          $513.00     1.2    $615.60
                           discuss analysis.
09/28/2017
   Letts, Joshua           Prepare outline for analysis.                $340.00     2.4    $816.00
   Letts, Joshua           Prepare supporting documents for             $340.00     3.0   $1,020.00
                           analysis.
   Stafford, Ted           Review analysis workpapers.                  $513.00     3.0   $1,539.00
   Stafford, Ted           Draft analysis workpaper.                    $513.00     2.5   $1,282.50
09/29/2017
   Letts, Joshua           Prepare supporting documents for             $340.00     2.3    $782.00
                           analysis.
   Stafford, Ted           Continue drafting analysis workpaper.        $513.00     1.1    $564.30
   Stafford, Ted           Draft analysis workpaper.                    $513.00     2.9   $1,487.70
   Stafford, Ted           Email client regarding analysis.             $513.00     0.1     $51.30
   Stafford, Ted           Review analysis workpaper.                   $513.00     2.1   $1,077.30
   Stanton, Steven         Review and edit analysis.                    $592.00     0.2    $118.40
10/02/2017
   Cohen, Mark             Discuss upcoming meetings and                $592.00     0.3    $177.60
                           analyses for Barracuda with D.
                           McGonigle, S. Stanton, S. Minars, J.
                           Larson, T. Stafford, R. Strahle, J. Letts,
                           and K. Hommen (all Deloitte).
   Cohen, Mark             Review of updated position memo.             $592.00     1.3    $769.60
   Hommen, Kelly           Discuss upcoming meetings and                $340.00     0.3    $102.00
                           analyses for Barracuda with S.
                           Stanton, D. McGonigle, S. Minars, J.
                           Larson, T. Stafford, R. Strahle, M.
                           Cohen, and J. Letts (all Deloitte).
   Larson, Jen             Discuss upcoming meetings and                $592.00     0.3    $177.60
                           analyses for Barracuda with S.
                           Stanton, D. McGonigle, S. Minars, T.
                           Stafford, R. Strahle, M. Cohen, J.
                           Letts, and K. Hommen (all Deloitte).

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Project Barracuda
10/02/2017
   Letts, Joshua            Discuss upcoming meetings and             $340.00     0.3    $102.00
                            analyses for Barracuda with S.
                            Stanton, D. McGonigle, S. Minars, J.
                            Larson, T. Stafford, R. Strahle, M.
                            Cohen, and K. Hommen (all Deloitte).
   McGonigle, David         Discuss upcoming meetings and             $473.00     0.3    $141.90
                            analyses for Barracuda with S.
                            Stanton, S. Minars, J. Larson, T.
                            Stafford, R. Strahle, M. Cohen, J.
                            Letts, and K. Hommen (all Deloitte).
   Minars, Scott            Discuss upcoming meetings and             $592.00     0.3    $177.60
                            analyses for Barracuda with S.
                            Stanton, D. McGonigle, J. Larson, T.
                            Stafford, R. Strahle, M. Cohen, J.
                            Letts, and K. Hommen (all Deloitte).
   Stafford, Ted            Discuss upcoming meetings and             $513.00     0.3    $153.90
                            analyses for Barracuda with S.
                            Stanton, S. Minars, J. Larson, D.
                            McGonigle, R. Strahle, M. Cohen, J.
                            Letts, and K. Hommen (all Deloitte).
   Stafford, Ted            Review of client report.                  $513.00     2.7   $1,385.10
   Stanton, Steven          Discuss upcoming meetings and             $592.00     0.3    $177.60
                            analyses for Barracuda with D.
                            McGonigle, S. Minars, J. Larson, T.
                            Stafford, R. Strahle, M. Cohen, J.
                            Letts, and K. Hommen (all Deloitte).
   Strahle, Robert          Discuss upcoming meetings and             $513.00     0.3    $153.90
                            analyses for Barracuda with S.
                            Stanton, S. Minars, J. Larson, T.
                            Stafford, D. McGonigle, M. Cohen, J.
                            Letts, and K. Hommen (all Deloitte).
10/03/2017
   Letts, Joshua            Call with T. Stafford (Deloitte) to       $340.00     0.5    $170.00
                            discuss edits to the outline and
                            supporting documents.
   Letts, Joshua            Draft outline of report and supporting    $340.00     3.0   $1,020.00
                            documents.
   Letts, Joshua            Draft outline of supporting documents.    $340.00     0.6    $204.00
   Letts, Joshua            Continue to draft outline of report and   $340.00     3.0   $1,020.00
                            supporting document.

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Project Barracuda
10/03/2017
   Stafford, Ted            Call with J. Letts (Deloitte) to discuss   $513.00     0.5    $256.50
                            edits to the outline and supporting
                            documents.
   Stafford, Ted            Review of report for post-closing          $513.00     3.0   $1,539.00
                            process.
   Stafford, Ted            Call with S. Stanton (Deloitte) to         $513.00     0.5    $256.50
                            discuss edits to workpapers and
                            supporting documents.
   Stanton, Steven          Call with T. Stafford (Deloitte) to        $592.00     0.5    $296.00
                            discuss edits to workpapers and
                            supporting documents.
   Stanton, Steven          Review report.                             $592.00     3.0   $1,776.00
10/04/2017
   Cohen, Mark              Discuss plan and schedule for drafting     $592.00     0.2    $118.40
                            the report with S. Stanton, S. Minars,
                            T. Stafford, R. Strahle, D. McGonigle,
                            J. Letts, and M. Cohen (all Deloitte).
   Hommen, Kelly            Discuss plan and schedule for drafting     $340.00     0.2     $68.00
                            the report with S. Stanton, S. Minars,
                            T. Stafford, R. Strahle, D. McGonigle,
                            J. Letts, and M. Cohen (all Deloitte).
   Letts, Joshua            Discuss plan and schedule for drafting     $340.00     0.2     $68.00
                            the report with S. Stanton, S. Minars,
                            T. Stafford, R. Strahle, D. McGonigle,
                            M. Cohen, and K. Hommen (all
                            Deloitte).
   Letts, Joshua            Review historical documents related to     $340.00     3.3   $1,122.00
                            post-closing.
   McGonigle, David         Discuss plan and schedule for drafting     $473.00     0.2     $94.60
                            the report with S. Stanton, S. Minars,
                            T. Stafford, R. Strahle, M. Cohen, J.
                            Letts, and K. Hommen (all Deloitte).
   Minars, Scott            Discuss plan and schedule for drafting     $592.00     0.2    $118.40
                            the report with S. Stanton, K. Hommen,
                            T. Stafford, R. Strahle, D. McGonigle,
                            J. Letts, and M. Cohen (all Deloitte).
   Stafford, Ted            Discuss plan and schedule for drafting     $513.00     0.2    $102.60
                            the report with S. Stanton, S. Minars,
                            K. Hommen, R. Strahle, D. McGonigle,
                            J. Letts, and M. Cohen (all Deloitte).

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Project Barracuda
10/04/2017
   Stafford, Ted            Review draft report.                       $513.00     2.8   $1,436.40
   Stanton, Steven          Review report.                             $592.00     1.0    $592.00
   Stanton, Steven          Discuss plan and schedule for drafting     $592.00     0.2    $118.40
                            the report with S. Minars, K. Hommen,
                            R. Strahle, D. McGonigle, J. Letts, and
                            M. Cohen (all Deloitte).
   Strahle, Robert          Discuss plan and schedule for drafting     $513.00     0.2    $102.60
                            the report with S. Stanton, S. Minars,
                            T. Stafford, M. Cohen, D. McGonigle,
                            J. Letts, and M. Cohen (all Deloitte).
10/05/2017
   Letts, Joshua            Review historical documents related to     $340.00     3.0   $1,020.00
                            post-closing.
   Letts, Joshua            Upload documents to project site for       $340.00     0.8    $272.00
                            Foley.
   Letts, Joshua            Continue to review historical              $340.00     2.5    $850.00
                            documents related to post-closing.
   Letts, Joshua            Call with T. Stafford (Deloitte) to walk   $340.00     0.4    $136.00
                            through documents for post-closing.
   Stafford, Ted            Call with J. Letts (Deloitte) to walk      $513.00     0.4    $205.20
                            through documents for post-closing.
   Stafford, Ted            Review of workpaper for post-closing       $513.00     0.7    $359.10
                            calculation.
10/06/2017
   Letts, Joshua            Review historical documents related to     $340.00     3.0   $1,020.00
                            post-closing.
   Letts, Joshua            Edit exhibits to report related to post-   $340.00     1.8    $612.00
                            closing.
   Letts, Joshua            Call with T. Stafford (Deloitte) to walk   $340.00     0.4    $136.00
                            through documents for post-closing.
   Letts, Joshua            Call with D. McGonigle (Deloitte) to       $340.00     0.3    $102.00
                            discuss edits to exhibits to report.
   McGonigle, David         Preparation of the agenda for internal     $473.00     2.4   $1,135.20
                            meeting.
   McGonigle, David         Continue to review the current position    $473.00     2.3   $1,087.90
                            memo to prepare an agenda for the
                            internal meeting.


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Project Barracuda
10/06/2017
   McGonigle, David         Review of the current position memo        $473.00     2.7   $1,277.10
                            and related comments from our
                            internal team to prepare an agenda for
                            the internal meeting.
   McGonigle, David         Call with J. Letts (Deloitte) to discuss   $473.00     0.3    $141.90
                            edits to exhibits to report.
   Stafford, Ted            Call with J. Letts (Deloitte) to walk      $513.00     0.4    $205.20
                            through documents for post-closing.
   Stafford, Ted            Review of workpaper for post-closing       $513.00     1.6    $820.80
                            calculation.
   Stanton, Steven          Review report.                             $592.00     3.0   $1,776.00
   Strahle, Robert          Review report.                             $513.00     2.0   $1,026.00
10/09/2017
   Cohen, Mark              Strategy discussion for Project            $592.00     7.0   $4,144.00
                            Barracuda with Consultant, S. Minars,
                            S. Stanton, T. Stafford, R. Strahle, and
                            D. McGonigle (all Deloitte).
   Letts, Joshua            Review relativity documents.               $340.00     1.3    $442.00
   McGonigle, David         Strategy discussion for Project            $473.00     7.0   $3,311.00
                            Barracuda with Consultant, S. Minars,
                            S. Stanton, T. Stafford, R. Strahle, and
                            M. Cohen (all Deloitte).
   McGonigle, David         Prepare for strategy discussion for        $473.00     0.5    $236.50
                            Project Barracuda.
   Minars, Scott            Strategy discussion for Project            $592.00     7.0   $4,144.00
                            Barracuda with Consultant, M. Cohen,
                            S. Stanton, T. Stafford, R. Strahle, and
                            D. McGonigle (all Deloitte).
   Minars, Scott            Review and reading of Draft of position    $592.00     0.9    $532.80
                            paper and added comments.
   Stafford, Ted            Strategy discussion for Project            $513.00     7.0   $3,591.00
                            Barracuda with Consultant, S. Minars,
                            S. Stanton, M. Cohen, R. Strahle, and
                            D. McGonigle (all Deloitte).
   Stanton, Steven          Strategy discussion for Project            $592.00     7.0   $4,144.00
                            Barracuda with Consultant, S. Minars,
                            M. Cohen, T. Stafford, R. Strahle, and
                            D. McGonigle (all Deloitte).


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Project Barracuda
10/09/2017
   Strahle, Robert          Strategy discussion for Project            $513.00     7.0   $3,591.00
                            Barracuda with Consultant, S. Minars,
                            S. Stanton, T. Stafford, M. Cohen, and
                            D. McGonigle (all Deloitte).
10/10/2017
   Cohen, Mark              Discussion with R. Strahle on updates      $592.00     0.5    $296.00
                            to position paper.
   Letts, Joshua            Prepare draft analysis for client.         $340.00     3.0   $1,020.00
   Letts, Joshua            Continue to prepare draft analysis for     $340.00     1.4    $476.00
                            client.
   Letts, Joshua            Review relativity documents.               $340.00     2.7    $918.00
   Matulewicz, Kari         Continue to review procedures process      $473.00     1.5    $709.50
                            for position paper.
   Matulewicz, Kari         Review procedures process for              $473.00     3.0   $1,419.00
                            position paper.
   McGonigle, David         Strategy discussion for Project            $473.00     3.5   $1,655.50
                            Barracuda with Consultant, S. Minars,
                            S. Stanton, T. Stafford, and R. Strahle
                            (all Deloitte).
   McGonigle, David         Write analysis for Project Barracuda.      $473.00     2.1    $993.30
   Minars, Scott            Strategy discussion for Project            $592.00     3.5   $2,072.00
                            Barracuda with Consultant, S. Stanton,
                            T. Stafford, R. Strahle, and D.
                            McGonigle (all Deloitte).
   Stafford, Ted            Meeting with client, Foley, and S.         $513.00     1.9    $974.70
                            Stanton (Deloitte) to discuss analysis.
   Stafford, Ted            Strategy discussion for Project            $513.00     3.5   $1,795.50
                            Barracuda with Consultant, S. Minars,
                            S. Stanton, R. Strahle, and D.
                            McGonigle (all Deloitte).
   Stanton, Steven          Strategy discussion for Project            $592.00     3.5   $2,072.00
                            Barracuda with Consultant, S. Minars,
                            T. Stafford, R. Strahle, and D.
                            McGonigle (all Deloitte).
   Stanton, Steven          Meeting with client, Foley, and T.         $592.00     1.9   $1,124.80
                            Stafford (Deloitte) to discuss analysis.
   Stanton, Steven          Prepare for meeting with client and        $592.00     2.1   $1,243.20
                            Foley.

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Project Barracuda
10/10/2017
   Strahle, Robert          Strategy discussion for Project            $513.00     3.5   $1,795.50
                            Barracuda with Consultant, S. Minars,
                            S. Stanton, T. Stafford, and D.
                            McGonigle (all Deloitte).
10/11/2017
   Letts, Joshua            Call with D. McGonigle (Deloitte) to       $340.00     0.4    $136.00
                            discuss ongoing analysis of
                            documents.
   Letts, Joshua            Review relativity documents.               $340.00     0.4    $136.00
   Letts, Joshua            Prepare draft analysis for client.         $340.00     2.8    $952.00
   Letts, Joshua            Call with T. Neyland (Deloitte) to         $340.00     0.4    $136.00
                            discuss next steps on project
                            Barracuda.
   Matulewicz, Kari         Review construction elements of            $473.00     4.2   $1,986.60
                            position paper.
   Matulewicz, Kari         Continue to review construction            $473.00     4.0   $1,892.00
                            elements of position paper.
   McGonigle, David         Call with J. Letts (Deloitte) to discuss   $473.00     0.4    $189.20
                            ongoing analysis of documents.
   McGonigle, David         Write analysis for Project Barracuda.      $473.00     2.2   $1,040.60
   Neyland, Tamsyn          Call with J. Letts (Deloitte) to discuss   $473.00     0.4    $189.20
                            next steps on project Barracuda.
   Stafford, Ted            Meeting with client, Foley, and S.         $513.00     0.5    $256.50
                            Stanton (Deloitte) to discuss analysis.
   Stafford, Ted            Meeting with client, Foley, Weil, and S.   $513.00     3.3   $1,692.90
                            Stanton (Deloitte) to discuss Project
                            Barracuda.
   Stanton, Steven          Meeting with client, Foley, and T.         $592.00     0.5    $296.00
                            Stafford (Deloitte) to discuss analysis.
   Stanton, Steven          Meeting with client, Foley, Weil, and T.   $592.00     3.3   $1,953.60
                            Stafford (Deloitte) to discuss Project
                            Barracuda.
   Stanton, Steven          Prepare for meeting with client and        $592.00     1.2    $710.40
                            Foley.
10/12/2017
   Cohen, Mark              Review interview questions.                $592.00     0.5    $296.00
   Matulewicz, Kari         Review elements of position paper.         $473.00     3.3   $1,560.90

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Project Barracuda
10/12/2017
   Stafford, Ted            Draft work product for Project             $513.00     1.1    $564.30
                            Barracuda.
   Strahle, Robert          Review analysis and related questions.     $513.00     2.1   $1,077.30
10/13/2017
   Letts, Joshua            Call with T. Stafford, D. McGonigle,       $340.00     0.4    $136.00
                            and T. Neyland (all Deloitte) to discuss
                            plan and schedule for upcoming
                            analysis.
   Matulewicz, Kari         Review elements of position paper.         $473.00     6.1   $2,885.30
   McGonigle, David         Call with T. Stafford, J. Letts, and T.    $473.00     0.4    $189.20
                            Neyland (all Deloitte) to discuss plan
                            and schedule for upcoming analysis.
   McGonigle, David         Write analysis for Project Barracuda.      $473.00     1.3    $614.90
   McGonigle, David         Continue to write analysis for Project     $473.00     2.1    $993.30
                            Barracuda.
   Neyland, Tamsyn          Call with T. Stafford, D. McGonigle,       $473.00     0.4    $189.20
                            and J. Letts (all Deloitte) to discuss
                            plan and schedule for upcoming
                            analysis.
   Stafford, Ted            Call with J. Letts, D. McGonigle, and T.   $513.00     0.4    $205.20
                            Neyland (all Deloitte) to discuss plan
                            and schedule for upcoming analysis.
   Stafford, Ted            Review of work product for Project         $513.00     1.0    $513.00
                            Barracuda.
   Strahle, Robert          Review client analysis.                    $513.00     1.7    $872.10
10/16/2017
   Cohen, Mark              Discussion with S. Minars, S. Stanton,     $592.00     0.5    $296.00
                            R. Strahle, T. Stafford, T. Neyland, K.
                            Hommen, and D. McGonigle (all
                            Deloitte) regarding client meeting and
                            current progress of Project Barracuda.
   Hommen, Kelly            Discussion with S. Minars, S. Stanton,     $340.00     0.5    $170.00
                            R. Strahle, T. Stafford, T. Neyland, M.
                            Cohen, and D. McGonigle (all Deloitte)
                            regarding client meeting and current
                            progress of Project Barracuda.
   Matulewicz, Kari         Review elements of position paper.         $473.00     5.5   $2,601.50


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Project Barracuda
10/16/2017
   McGonigle, David         Discussion with S. Minars, S. Stanton,     $473.00     0.5    $236.50
                            R. Strahle, T. Stafford, T. Neyland, K.
                            Hommen, and M. Cohen (all Deloitte)
                            regarding client meeting and current
                            progress of Project Barracuda.
   McGonigle, David         Discuss Project Barracuda next steps       $473.00     1.4    $662.20
                            with T. Neyland (Deloitte).
   McGonigle, David         Continued to perform analyses for          $473.00     1.3    $614.90
                            Project Barracuda.
   McGonigle, David         Perform analyses for Project               $473.00     2.7   $1,277.10
                            Barracuda.
   Minars, Scott            Review for materials relating to Project   $592.00     0.4    $236.80
                            Barracuda.
   Minars, Scott            Discussion with M. Cohen, S. Stanton,      $592.00     0.5    $296.00
                            R. Strahle, T. Stafford, T. Neyland, K.
                            Hommen, and D. McGonigle (all
                            Deloitte) regarding client meeting and
                            current progress of Project Barracuda.
   Neyland, Tamsyn          Discuss Project Barracuda next steps       $473.00     1.4    $662.20
                            with D. McGonigle (Deloitte).
   Neyland, Tamsyn          Discussion with S. Minars, S. Stanton,     $473.00     0.5    $236.50
                            R. Strahle, T. Stafford, M. Cohen, K.
                            Hommen, and D. McGonigle (all
                            Deloitte) regarding client meeting and
                            current progress of Project Barracuda.
   Stafford, Ted            Review of workpaper for Project            $513.00     0.6    $307.80
                            Barracuda.
   Stafford, Ted            Discussion with S. Minars, S. Stanton,     $513.00     0.5    $256.50
                            R. Strahle, M. Cohen, T. Neyland, K.
                            Hommen, and D. McGonigle (all
                            Deloitte) regarding client meeting and
                            current progress of Project Barracuda.
   Stanton, Steven          Discussion with S. Minars, M. Cohen,       $592.00     0.5    $296.00
                            R. Strahle, T. Stafford, T. Neyland, K.
                            Hommen, and D. McGonigle (all
                            Deloitte) regarding client meeting and
                            current progress of Project Barracuda.




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Project Barracuda
10/16/2017
   Strahle, Robert          Discussion with S. Minars, S. Stanton,     $513.00     0.5    $256.50
                            M. Cohen, T. Stafford, T. Neyland, K.
                            Hommen, and D. McGonigle (all
                            Deloitte) regarding client meeting and
                            current progress of Project Barracuda.
   Strahle, Robert          Review client analysis.                    $513.00     1.8    $923.40
10/17/2017
   Cohen, Mark              Call with client, Foley, S. Stanton, D.    $592.00     0.2    $118.40
                            McGonigle, R. Strahle, and T. Stafford
                            (all Deloitte) to discuss the current
                            status of Project Barracuda.
   McGonigle, David         Performed analyses for Project             $473.00     2.4   $1,135.20
                            Barracuda
   McGonigle, David         Call with client, Foley, S. Stanton, M.    $473.00     0.2     $94.60
                            Cohen, R. Strahle, and T. Stafford (all
                            Deloitte) to discuss the current status
                            of Project Barracuda.
   Stafford, Ted            Call with client, Foley, S. Stanton, M.    $513.00     0.2    $102.60
                            Cohen, R. Strahle, and D. McGonigle
                            (all Deloitte) to discuss the current
                            status of Project Barracuda.
   Stanton, Steven          Call with client, Foley, T. Stafford, M.   $592.00     0.2    $118.40
                            Cohen, R. Strahle, and D. McGonigle
                            (all Deloitte) to discuss the current
                            status of Project Barracuda.
   Strahle, Robert          Call with client, Foley, S. Stanton, M.    $513.00     0.2    $102.60
                            Cohen, T. Stafford, and D. McGonigle
                            (all Deloitte) to discuss the current
                            status of Project Barracuda.
   Strahle, Robert          Review additional document request.        $513.00     0.5    $256.50
10/18/2017
   Hommen, Kelly            Discussion with J. Larson, S. Stanton,     $340.00     0.5    $170.00
                            S. Minars, R. Strahle, T. Stafford, T.
                            Neyland, and D. McGonigle (all
                            Deloitte) to discuss status of Project
                            Barracuda.




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Project Barracuda
10/18/2017
   Larson, Jen              Discussion with K. Hommen, S.              $592.00     0.5    $296.00
                            Stanton, S. Minars, R. Strahle, T.
                            Stafford, T. Neyland, and D.
                            McGonigle (all Deloitte) to discuss
                            status of Project Barracuda.
   McGonigle, David         Perform analyses for Project               $473.00     1.8    $851.40
                            Barracuda.
   McGonigle, David         Continue to perform analyses for           $473.00     2.3   $1,087.90
                            Project Barracuda.
   McGonigle, David         Discussion with K. Hommen, S.              $473.00     0.5    $236.50
                            Stanton, S. Minars, R. Strahle, T.
                            Stafford, T. Neyland, and J. Larson (all
                            Deloitte) to discuss status of Project
                            Barracuda.
   Minars, Scott            Discussion with K. Hommen, S.              $592.00     0.5    $296.00
                            Stanton, J. Larson, R. Strahle, T.
                            Stafford, T. Neyland, and D.
                            McGonigle (all Deloitte) to discuss
                            status of Project Barracuda.
   Neyland, Tamsyn          Discussion with K. Hommen, S.              $473.00     0.5    $236.50
                            Stanton, S. Minars, R. Strahle, T.
                            Stafford, J. Larson, and D. McGonigle
                            (all Deloitte) to discuss status of
                            Project Barracuda.
   Stafford, Ted            Discussion with K. Hommen, S.              $513.00     0.5    $256.50
                            Stanton, S. Minars, R. Strahle, J.
                            Larson, T. Neyland, and D. McGonigle
                            (all Deloitte) to discuss status of
                            Project Barracuda.
   Stanton, Steven          Discussion with K. Hommen, J. Larson,      $592.00     0.5    $296.00
                            S. Minars, R. Strahle, T. Stafford, T.
                            Neyland, and D. McGonigle (all
                            Deloitte) to discuss status of Project
                            Barracuda.
   Strahle, Robert          Discussion with K. Hommen, S.              $513.00     0.5    $256.50
                            Stanton, S. Minars, J. Larson, T.
                            Stafford, T. Neyland, and D.
                            McGonigle (all Deloitte) to discuss
                            status of Project Barracuda.




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Date                        Description                                 Rate    Hours       Fees

Project Barracuda
10/19/2017
   McGonigle, David         Perform analyses for Project              $473.00     3.0   $1,419.00
                            Barracuda.
   McGonigle, David         Continue to perform analyses for          $473.00     2.1    $993.30
                            Project Barracuda.
   McGonigle, David         Continued to perform analyses for         $473.00     2.4   $1,135.20
                            Project Barracuda
10/20/2017
   McGonigle, David         Call with T. Stafford (Deloitte)          $473.00     0.5    $236.50
                            regarding status of Project Barracuda.
   Neyland, Tamsyn          Read documents and related                $473.00     2.2   $1,040.60
                            background material related to Project
                            Barracuda.
   Stafford, Ted            Review of Project Barracuda work          $513.00     0.5    $256.50
                            product.
   Stafford, Ted            Call with D. McGonigle (Deloitte)         $513.00     0.5    $256.50
                            regarding status of Project Barracuda.
10/23/2017
   Cohen, Mark              Discussion with S. Minars, S. Stanton,    $592.00     0.1     $59.20
                            R. Strahle, T. Stafford, K. Hommen,
                            and D. McGonigle (all Deloitte)
                            regarding status of Project Barracuda
                            and finalized details for an upcoming
                            internal meeting.
   Hommen, Kelly            Discussion with S. Minars, S. Stanton,    $340.00     0.1     $34.00
                            R. Strahle, T. Stafford, M. Cohen, and
                            D. McGonigle (all Deloitte) regarding
                            status of Project Barracuda and
                            finalized details for an upcoming
                            internal meeting.
   McGonigle, David         Call with T. Stafford and T. Neyland      $473.00     0.4    $189.20
                            (both Deloitte) to discuss the current
                            work streams for Project Barracuda.
   McGonigle, David         Discussion with S. Minars, S. Stanton,    $473.00     0.1     $47.30
                            R. Strahle, T. Stafford, K. Hommen,
                            and M. Cohen (all Deloitte) regarding
                            status of Project Barracuda and
                            finalized details for an upcoming
                            internal meeting.



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Project Barracuda
10/23/2017
   Minars, Scott            Discussion with M. Cohen, S. Stanton,     $592.00     0.1     $59.20
                            R. Strahle, T. Stafford, K. Hommen,
                            and D. McGonigle (all Deloitte)
                            regarding status of Project Barracuda
                            and finalized details for an upcoming
                            internal meeting.
   Neyland, Tamsyn          Read background materials for Project     $473.00     2.6   $1,229.80
                            Barracuda.
   Neyland, Tamsyn          Call with T. Stafford and D. McGonigle    $473.00     0.4    $189.20
                            (both Deloitte) to discuss the current
                            work streams for Project Barracuda.
   Stafford, Ted            Discussion with S. Minars, S. Stanton,    $513.00     0.1     $51.30
                            R. Strahle, M. Cohen, K. Hommen, and
                            D. McGonigle (all Deloitte) regarding
                            status of Project Barracuda and
                            finalized details for an upcoming
                            internal meeting.
   Stafford, Ted            Draft work product for Project            $513.00     0.5    $256.50
                            Barracuda.
   Stafford, Ted            Call with T. Neyland and D. McGonigle     $513.00     0.4    $205.20
                            (both Deloitte) to discuss the current
                            work streams for Project Barracuda.
   Stanton, Steven          Discussion with S. Minars, M. Cohen,      $592.00     0.1     $59.20
                            R. Strahle, T. Stafford, K. Hommen,
                            and D. McGonigle (all Deloitte)
                            regarding status of Project Barracuda
                            and finalized details for an upcoming
                            internal meeting.
   Strahle, Robert          Review client analysis.                   $513.00     0.9    $461.70
   Strahle, Robert          Discussion with S. Minars, S. Stanton,    $513.00     0.1     $51.30
                            M. Cohen, T. Stafford, K. Hommen,
                            and D. McGonigle (all Deloitte)
                            regarding status of Project Barracuda
                            and finalized details for an upcoming
                            internal meeting.
10/24/2017
   Matulewicz, Kari         Review elements of position paper.        $473.00     4.3   $2,033.90
   Matulewicz, Kari         Continue to review elements of            $473.00     3.9   $1,844.70
                            position paper.


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Project Barracuda
10/24/2017
   McGonigle, David         Prepare Project Barracuda analysis.       $473.00     2.7   $1,277.10
   McGonigle, David         Continue to prepare Project Barracuda     $473.00     3.3   $1,560.90
                            analysis.
   Stafford, Ted            Draft work product for Project            $513.00     0.5    $256.50
                            Barracuda.
   Stanton, Steven          Draft and provide comments for Project    $592.00     0.2    $118.40
                            Barracuda work product.
10/25/2017
   Matulewicz, Kari         Update draft position paper.              $473.00     4.5   $2,128.50
   Matulewicz, Kari         Continue to update draft position         $473.00     4.0   $1,892.00
                            paper.
   McGonigle, David         Prepare analysis for Project              $473.00     0.3    $141.90
                            Barracuda.
   Neyland, Tamsyn          Perform ad hoc search in relativity.      $473.00     2.5   $1,182.50
   Stafford, Ted            Draft work product for Project            $513.00     2.9   $1,487.70
                            Barracuda.
   Strahle, Robert          Draft analysis for Project Barracuda.     $513.00     1.8    $923.40
10/26/2017
   Cohen, Mark              Meet with R. Strahle and K. Matulewicz    $592.00     1.2    $710.40
                            regarding analysis for draft position
                            paper.
   Matulewicz, Kari         Meet with R. Strahle and M. Cohen         $473.00     1.2    $567.60
                            regarding analysis for draft position
                            paper.
   Matulewicz, Kari         Update draft position paper.              $473.00     3.0   $1,419.00
   McGonigle, David         Perform analysis for Project              $473.00     1.7    $804.10
                            Barracuda.
   McGonigle, David         Perform analysis for Project              $473.00     2.8   $1,324.40
                            Barracuda.
   McGonigle, David         Perform analysis for Project              $473.00     0.9    $425.70
                            Barracuda.
   McGonigle, David         Call with T. Neyland (Deloitte) to        $473.00     0.1     $47.30
                            discuss document review.
   Neyland, Tamsyn          Call with D. McGonigle (Deloitte) to      $473.00     0.1     $47.30
                            discuss document review.
   Neyland, Tamsyn          Perform document review.                  $473.00     2.9   $1,371.70

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Project Barracuda
10/26/2017
   Stafford, Ted            Draft work product for Project            $513.00     1.4    $718.20
                            Barracuda.
   Strahle, Robert          Meet with M. Cohen and K. Matulewicz      $513.00     1.2    $615.60
                            regarding analysis for draft position
                            paper.
10/27/2017
   Matulewicz, Kari         Review elements of position paper.        $473.00     4.5   $2,128.50
   Matulewicz, Kari         Continue to review elements of            $473.00     4.0   $1,892.00
                            position paper.
   Stafford, Ted            Draft work product for Project            $513.00     0.3    $153.90
                            Barracuda.
10/30/2017
   Hommen, Kelly            Discussion with S. Stanton, S. Minars,    $340.00     0.1     $34.00
                            T. Stafford, D. McGonigle, K.
                            Matulewicz, and J. Letts (all Deloitte)
                            regarding Project Barracuda plan and
                            timeline.
   Letts, Joshua            Call with D. McGonigle (Deloitte) to      $340.00     0.2     $68.00
                            discuss project Barracuda progress.
   Letts, Joshua            Review analysis and discuss next          $340.00     1.5    $510.00
                            steps with D. McGonigle (Deloitte).
   Letts, Joshua            Discussion with S. Stanton, S. Minars,    $340.00     0.1     $34.00
                            T. Stafford, D. McGonigle, K.
                            Matulewicz, and K. Hommen (all
                            Deloitte) regarding Project Barracuda
                            plan and timeline.
   Letts, Joshua            Draft workpaper for Project Barracuda.    $340.00     3.0   $1,020.00
   Letts, Joshua            Continue to draft workpaper for Project   $340.00     3.0   $1,020.00
                            Barracuda.
   Letts, Joshua            Continue to draft workpaper for Project   $340.00     4.2   $1,428.00
                            Barracuda.
   Matulewicz, Kari         Discussion with S. Stanton, S. Minars,    $473.00     0.1     $47.30
                            T. Stafford, D. McGonigle, K. Hommen,
                            and J. Letts (all Deloitte) regarding
                            Project Barracuda plan and timeline.
   Matulewicz, Kari         Review elements of position paper.        $473.00     4.2   $1,986.60




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Project Barracuda
10/30/2017
   McGonigle, David         Discussion with S. Stanton, S. Minars,     $473.00     0.1     $47.30
                            T. Stafford, K. Hommen, K.
                            Matulewicz, and J. Letts (all Deloitte)
                            regarding Project Barracuda plan and
                            timeline.
   McGonigle, David         Review analysis and discuss next           $473.00     1.5    $709.50
                            steps with J. Letts (Deloitte).
   McGonigle, David         Call with J. Letts (Deloitte) to discuss   $473.00     0.2     $94.60
                            project Barracuda progress.
   McGonigle, David         Continue to perform analysis on            $473.00     2.1    $993.30
                            Project Barracuda.
   McGonigle, David         Discussion with S. Minars (Deloitte)       $473.00     0.4    $189.20
                            regarding analysis and timing for
                            Project Barracuda.
   McGonigle, David         Perform analysis for Project               $473.00     3.5   $1,655.50
                            Barracuda.
   McGonigle, David         Continue to perform analysis on            $473.00     2.4   $1,135.20
                            Project Barracuda.
   Minars, Scott            Discussion with D. McGonigle               $592.00     0.4    $236.80
                            (Deloitte) regarding analysis and timing
                            for Project Barracuda.
   Minars, Scott            Discussion with S. Stanton, K.             $592.00     0.1     $59.20
                            Hommen, T. Stafford, D. McGonigle, K.
                            Matulewicz, and J. Letts (all Deloitte)
                            regarding Project Barracuda plan and
                            timeline.
   Stafford, Ted            Discussion with S. Stanton, S. Minars,     $513.00     0.1     $51.30
                            K. Hommen, D. McGonigle, K.
                            Matulewicz, and J. Letts (all Deloitte)
                            regarding Project Barracuda plan and
                            timeline.
   Stafford, Ted            Review client analysis.                    $513.00     0.8    $410.40
   Stanton, Steven          Discussion with K. Hommen, S.              $592.00     0.1     $59.20
                            Minars, T. Stafford, D. McGonigle, K.
                            Matulewicz, and J. Letts (all Deloitte)
                            regarding Project Barracuda plan and
                            timeline.
   Strahle, Robert          Review client analysis.                    $513.00     0.7    $359.10



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Project Barracuda
10/31/2017
   Letts, Joshua            Review analysis performed yesterday,         $340.00     1.0    $340.00
                            related comments and analysis to be
                            performed for the day with D.
                            McGonigle (Deloitte).
   Letts, Joshua            Update report.                               $340.00     3.0   $1,020.00
   Letts, Joshua            Continue to update report.                   $340.00     3.0   $1,020.00
   Letts, Joshua            Address comments related to report,          $340.00     4.7   $1,598.00
                            including supporting exhibits.
   Matulewicz, Kari         Address comments in position paper.          $473.00     4.8   $2,270.40
   McGonigle, David         Review analysis performed yesterday,         $473.00     1.0    $473.00
                            related comments and analysis to be
                            performed for the day with J. Letts
                            (Deloitte).
   McGonigle, David         Update analysis for Project Barracuda.       $473.00     2.7   $1,277.10
   McGonigle, David         Perform analysis for Project                 $473.00     2.9   $1,371.70
                            Barracuda.
   McGonigle, David         Call with client, S. Stanton, T. Stafford,   $473.00     0.1     $47.30
                            and S. Minars (all Deloitte) to discuss
                            the current status on Project
                            Barracuda.
   McGonigle, David         Close review notes regarding Project         $473.00     2.1    $993.30
                            Barracuda analysis.
   McGonigle, David         Continue to perform analysis for             $473.00     1.7    $804.10
                            Project Barracuda.
   McGonigle, David         Perform analysis for Project                 $473.00     1.3    $614.90
                            Barracuda.
   Minars, Scott            Edit draft submission document.              $592.00     1.9   $1,124.80
   Minars, Scott            Call with client, S. Stanton, T. Stafford,   $592.00     0.1     $59.20
                            and D. McGonigle (all Deloitte) to
                            discuss the current status on Project
                            Barracuda.
   Stafford, Ted            Draft client analysis.                       $513.00     3.0   $1,539.00
   Stafford, Ted            Review client analysis.                      $513.00     3.0   $1,539.00
   Stafford, Ted            Call with client, S. Stanton, S. Minars,     $513.00     0.1     $51.30
                            and D. McGonigle (all Deloitte) to
                            discuss the current status on Project
                            Barracuda.


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Project Barracuda
10/31/2017
   Stanton, Steven          Call with client, S. Minars, T. Stafford,   $592.00     0.1     $59.20
                            and D. McGonigle (all Deloitte) to
                            discuss the current status on Project
                            Barracuda.
11/01/2017
   Letts, Joshua            Edit client report.                         $350.00     3.0   $1,050.00
   Letts, Joshua            Continue to edit client report.             $350.00     3.1   $1,085.00
   Letts, Joshua            Discussion with D. McGonigle                $350.00     1.3    $455.00
                            (Deloitte) of analyses performed
                            yesterday, related comments, and
                            analyses to be performed for the day.
   Matulewicz, Kari         Call with D. McGonigle (Deloitte) to        $473.00     0.3    $141.90
                            discuss additional analyses to be
                            performed for Project Barracuda.
   McGonigle, David         Perform analyses for Project                $473.00     2.7   $1,277.10
                            Barracuda.
   McGonigle, David         Review notes on analyses for Project        $473.00     3.0   $1,419.00
                            Barracuda.
   McGonigle, David         Review and update analyses                  $473.00     2.4   $1,135.20
                            performed as appropriate.
   McGonigle, David         Call with K. Matulewicz (Deloitte) to       $473.00     0.3    $141.90
                            discuss additional analyses to be
                            performed for Project Barracuda.
   McGonigle, David         Address review notes on Project             $473.00     0.7    $331.10
                            Barracuda analyses.
   McGonigle, David         Discussion with J. Letts (Deloitte) of      $473.00     1.3    $614.90
                            analyses performed yesterday, related
                            comments, and analyses to be
                            performed for the day.
   Minars, Scott            Edit draft submission document.             $592.00     3.3   $1,953.60
   Stafford, Ted            Review analysis.                            $513.00     2.5   $1,282.50
   Stanton, Steven          Review client report.                       $592.00     0.3    $177.60
11/02/2017
   Letts, Joshua            Review analyses performed for the day       $350.00     0.9    $315.00
                            and related comments with D.
                            McGonigle (Deloitte).
   Letts, Joshua            Continue to edit client report.             $350.00     4.5   $1,575.00

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Project Barracuda
11/02/2017
   Letts, Joshua            Edit client report.                       $350.00     3.0   $1,050.00
   Letts, Joshua            Discussion with D. McGonigle              $350.00     1.1    $385.00
                            (Deloitte) of analyses performed
                            yesterday, related comments, and
                            analyses to be performed for the day.
   Matulewicz, Kari         Address comments in position paper.       $473.00     1.2    $567.60
   McGonigle, David         Review and update analyses on             $473.00     1.6    $756.80
                            Project Barracuda.
   McGonigle, David         Perform analyses for Project              $473.00     2.6   $1,229.80
                            Barracuda.
   McGonigle, David         Continue to review and update             $473.00     2.7   $1,277.10
                            analyses on Project Barracuda.
   McGonigle, David         Address review notes on Project           $473.00     0.4    $189.20
                            Barracuda analyses.
   McGonigle, David         Address additional review notes on        $473.00     2.5   $1,182.50
                            Project Barracuda analyses.
   McGonigle, David         Review analyses performed for the day     $473.00     0.9    $425.70
                            and related comments with J. Letts
                            (Deloitte).
   McGonigle, David         Discussion with J. Letts (Deloitte) of    $473.00     1.1    $520.30
                            analyses performed yesterday, related
                            comments, and analyses to be
                            performed for the day.
   Minars, Scott            Edit draft submission document.           $592.00     2.1   $1,243.20
   Stafford, Ted            Draft analysis.                           $513.00     2.1   $1,077.30
   Stafford, Ted            Review analysis.                          $513.00     3.0   $1,539.00
   Stafford, Ted            Continue to review analysis.              $513.00     1.7    $872.10
11/03/2017
   Letts, Joshua            Edit client report.                       $350.00     3.2   $1,120.00
   Letts, Joshua            Walk through analyses to be               $350.00     0.3    $105.00
                            performed for the day with D.
                            McGonigle (Deloitte).
   McGonigle, David         Perform analyses for Project              $473.00     0.4    $189.20
                            Barracuda.
   McGonigle, David         Walk through analyses to be               $473.00     0.3    $141.90
                            performed for the day with J. Letts
                            (Deloitte).

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Project Barracuda
11/03/2017
   Minars, Scott            Review and edit draft submission          $592.00     0.8    $473.60
                            document
   Stafford, Ted            Review analysis.                          $513.00     0.6    $307.80
   Stanton, Steven          Review work product.                      $592.00     2.0   $1,184.00
11/06/2017
   Cohen, Mark              Discuss upcoming meeting and              $592.00     0.2    $118.40
                            comments to client report with S.
                            Stanton, S. Minars, D. McGonigle, T.
                            Stafford, T. Neyland, K. Matulewicz, J.
                            Letts, K. Hommen (all Deloitte).
   Cohen, Mark              Review draft analysis of working          $592.00     0.6    $355.20
                            capital.
   Hommen, Kelly            Discuss upcoming meeting and              $340.00     0.2     $68.00
                            comments to client report with S.
                            Stanton, S. Minars, M. Cohen, T.
                            Stafford, T. Neyland, K. Matulewicz, J.
                            Letts, D. McGonigle (all Deloitte).
   Letts, Joshua            Edit client report.                       $350.00     2.8    $980.00
   Letts, Joshua            Discuss upcoming meeting and              $350.00     0.2     $70.00
                            comments to client report with S.
                            Stanton, S. Minars, M. Cohen, T.
                            Stafford, T. Neyland, K. Matulewicz, D.
                            McGonigle, K. Hommen (all Deloitte).
   Letts, Joshua            Continue to edit client report.           $350.00     2.6    $910.00
   Matulewicz, Kari         Discuss upcoming meeting and              $473.00     0.2     $94.60
                            comments to client report with S.
                            Stanton, S. Minars, M. Cohen, T.
                            Stafford, T. Neyland, D. McGonigle, J.
                            Letts, K. Hommen (all Deloitte).
   McGonigle, David         Discuss upcoming meeting and              $473.00     0.2     $94.60
                            comments to client report with S.
                            Stanton, S. Minars, M. Cohen, T.
                            Stafford, T. Neyland, K. Matulewicz, J.
                            Letts, K. Hommen (all Deloitte).
   McGonigle, David         Prepare agenda for internal meetings      $473.00     2.8   $1,324.40
                            for Project Barracuda.
   McGonigle, David         Update analyses for Project               $473.00     2.3   $1,087.90
                            Barracuda.


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Project Barracuda
11/06/2017
   McGonigle, David         Discuss adjustments to Project              $473.00     0.7    $331.10
                            Barracuda analyses with S. Minars
                            (Deloitte).
   McGonigle, David         Address review notes on analyses for        $473.00     2.0    $946.00
                            Project Barracuda.
   Minars, Scott            Discuss upcoming meeting and                $592.00     0.2    $118.40
                            comments to client report with S.
                            Stanton, D. McGonigle, M. Cohen, T.
                            Stafford, T. Neyland, K. Matulewicz, J.
                            Letts, K. Hommen (all Deloitte).
   Minars, Scott            Update analysis of Project Barracuda.       $592.00     2.4   $1,420.80
   Minars, Scott            Discuss adjustments to Project              $592.00     0.7    $414.40
                            Barracuda analyses with D. McGonigle
                            (Deloitte).
   Neyland, Tamsyn          Discuss upcoming meeting and                $473.00     0.2     $94.60
                            comments to client report with S.
                            Stanton, S. Minars, M. Cohen, T.
                            Stafford, D. McGonigle, K. Matulewicz,
                            J. Letts, K. Hommen (all Deloitte).
   Stafford, Ted            Review of work product.                     $513.00     0.3    $153.90
   Stafford, Ted            Discuss upcoming meeting and                $513.00     0.2    $102.60
                            comments to client report with S.
                            Stanton, S. Minars, M. Cohen, D.
                            McGonigle, T. Neyland, K. Matulewicz,
                            J. Letts, K. Hommen (all Deloitte).
   Stanton, Steven          Discuss upcoming meeting and                $592.00     0.2    $118.40
                            comments to client report with D.
                            McGonigle, S. Minars, M. Cohen, T.
                            Stafford, T. Neyland, K. Matulewicz, J.
                            Letts, K. Hommen (all Deloitte).
11/07/2017
   Letts, Joshua            Draft client report, including supporting   $350.00     3.0   $1,050.00
                            exhibits.
   Letts, Joshua            Continue to draft client report,            $350.00     1.8    $630.00
                            including supporting exhibits.
   McGonigle, David         Review and provide comments on              $473.00     4.6   $2,175.80
                            Project Barracuda analyses.




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Project Barracuda
11/07/2017
   McGonigle, David         Continue to review and provide            $473.00     2.9   $1,371.70
                            comments on Project Barracuda
                            analyses.
   Minars, Scott            Update analysis of Project Barracuda.     $592.00     1.7   $1,006.40
   Minars, Scott            Continue to update analysis of Project    $592.00     2.8   $1,657.60
                            Barracuda.
   Minars, Scott            Review of meeting agenda.                 $592.00     0.6    $355.20
11/08/2017
   Cohen, Mark              Review of draft analysis of working       $592.00     1.3    $769.60
                            capital.
   Letts, Joshua            Edit draft client report.                 $350.00     1.2    $420.00
   McGonigle, David         Discuss Project Barracuda analyses        $473.00     0.4    $189.20
                            with S. Minars (Deloitte).
   McGonigle, David         Review analyses for Project               $473.00     1.0    $473.00
                            Barracuda.
   Minars, Scott            Discuss Project Barracuda analyses        $592.00     0.4    $236.80
                            with D. McGonigle (Deloitte).
   Strahle, Robert          Review comments on draft report.          $513.00     1.1    $564.30
11/09/2017
   Letts, Joshua            Edit client report.                       $350.00     0.4    $140.00
   McGonigle, David         Perform analyses for Project              $473.00     3.1   $1,466.30
                            Barracuda.
   McGonigle, David         Continue to perform analyses for          $473.00     1.9    $898.70
                            Project Barracuda.
   Minars, Scott            Update analysis of Project Barracuda.     $592.00     1.8   $1,065.60
   Stafford, Ted            Review of work product for Barracuda.     $513.00     2.1   $1,077.30
   Stanton, Steven          Review work product.                      $592.00     2.0   $1,184.00
11/10/2017
   Letts, Joshua            Meeting to discuss Project Barracuda      $350.00     5.0   $1,750.00
                            analyses with J. Egertson, S. Stanton,
                            S. Minars, T. Stafford, and D.
                            McGonigle (all Deloitte).
   McGonigle, David         Perform analyses for Project              $473.00     2.1    $993.30
                            Barracuda.



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Project Barracuda
11/10/2017
   McGonigle, David         Discuss analyses for Project                $473.00     0.3    $141.90
                            Barracuda with S. Minars (Deloitte).
   McGonigle, David         Update analyses for Project                 $473.00     1.0    $473.00
                            Barracuda.
   McGonigle, David         Meeting to discuss Project Barracuda        $473.00     5.0   $2,365.00
                            analyses with J. Egertson, S. Stanton,
                            S. Minars, T. Stafford, and J. Letts (all
                            Deloitte).
   Minars, Scott            Meeting to discuss Project Barracuda        $592.00     5.0   $2,960.00
                            analyses with J. Egertson, S. Stanton,
                            D. McGonigle, T. Stafford, and J. Letts
                            (all Deloitte).
   Minars, Scott            Discuss analyses for Project                $592.00     0.3    $177.60
                            Barracuda with D. McGonigle
                            (Deloitte).
   Minars, Scott            Review of analyses for Project              $592.00     0.2    $118.40
                            Barracuda.
   Stafford, Ted            Meeting to discuss Project Barracuda        $513.00     5.0   $2,565.00
                            analyses with J. Egertson, S. Stanton,
                            S. Minars, J. Letts, and D. McGonigle
                            (all Deloitte).
   Stanton, Steven          Meeting to discuss Project Barracuda        $592.00     5.0   $2,960.00
                            analyses with J. Egertson, S. Stanton,
                            S. Minars, T. Stafford, and D.
                            McGonigle (all Deloitte).
11/13/2017
   Cohen, Mark              Discuss timeline for Project Barracuda      $592.00     0.1     $59.20
                            with D. McGonigle, S. Minars, R.
                            Strahle, T. Stafford, K. Matulewicz, K.
                            Hommen, and J. Letts.
   Hommen, Kelly            Discuss timeline for Project Barracuda      $340.00     0.1     $34.00
                            with M. Cohen, S. Minars, R. Strahle,
                            T. Stafford, K. Matulewicz, D.
                            McGonigle, and J. Letts.
   Letts, Joshua            Discuss timeline for Project Barracuda      $350.00     0.1     $35.00
                            with M. Cohen, S. Minars, R. Strahle,
                            T. Stafford, K. Matulewicz, K.
                            Hommen, and D. McGonigle.
   Letts, Joshua            Review and edit draft report.               $350.00     4.0   $1,400.00


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Project Barracuda
11/13/2017
   Letts, Joshua            Review analyses to be performed for       $350.00     0.4    $140.00
                            Project Barracuda.
   Letts, Joshua            Review and edit draft report.             $350.00     4.0   $1,400.00
   Letts, Joshua            Walk through analysis for Project         $350.00     0.9    $315.00
                            Barracuda with D. McGonigle
                            (Deloitte).
   Matulewicz, Kari         Discuss timeline for Project Barracuda    $473.00     0.1     $47.30
                            with M. Cohen, S. Minars, R. Strahle,
                            T. Stafford, D. McGonigle, K. Hommen,
                            and J. Letts.
   McGonigle, David         Perform analyses for Project              $473.00     2.7   $1,277.10
                            Barracuda.
   McGonigle, David         Discuss adjustments to and timeline for   $473.00     0.5    $236.50
                            Project Barracuda analyses with S.
                            Minars.
   McGonigle, David         Review Barracuda analyses.                $473.00     2.7   $1,277.10
   McGonigle, David         Continued to review analysis for          $473.00     2.3   $1,087.90
                            Barracuda.
   McGonigle, David         Walk through analysis for Project         $473.00     0.9    $425.70
                            Barracuda with J. Letts (Deloitte).
   McGonigle, David         Discuss timeline for Project Barracuda    $473.00     0.1     $47.30
                            with M. Cohen, S. Minars, R. Strahle,
                            T. Stafford, K. Matulewicz, K.
                            Hommen, and J. Letts.
   McGonigle, David         Perform analyses for Project              $473.00     0.4    $189.20
                            Barracuda.
   Minars, Scott            Discuss adjustments to and timeline for   $592.00     0.5    $296.00
                            Project Barracuda analyses with D.
                            McGonigle (Deloitte).
   Minars, Scott            Discuss timeline for Project Barracuda    $592.00     0.1     $59.20
                            with M. Cohen, D. McGonigle, R.
                            Strahle, T. Stafford, K. Matulewicz, K.
                            Hommen, and J. Letts.
   Stafford, Ted            Review of work product.                   $513.00     0.7    $359.10
   Stafford, Ted            Discuss timeline for Project Barracuda    $513.00     0.1     $51.30
                            with M. Cohen, S. Minars, R. Strahle,
                            D. McGonigle, K. Matulewicz, K.
                            Hommen, and J. Letts.


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Project Barracuda
11/14/2017
   Letts, Joshua            Walk through analysis and drafts          $350.00     1.3    $455.00
                            related to Project Barracuda with D.
                            McGonigle (Deloitte).
   Letts, Joshua            Review and edit report.                   $350.00     4.0   $1,400.00
   Letts, Joshua            Discuss analysis to be performed with     $350.00     0.2     $70.00
                            D. McGonigle (Deloitte).
   Letts, Joshua            Draft exhibits, including schedules to    $350.00     3.3   $1,155.00
                            report.
   Letts, Joshua            Continue to edit report.                  $350.00     4.0   $1,400.00
   McGonigle, David         Perform analyses for Barracuda.           $473.00     2.5   $1,182.50
   McGonigle, David         Walk through analysis and drafts          $473.00     1.3    $614.90
                            related to Project Barracuda with J.
                            Letts (Deloitte).
   McGonigle, David         Perform analyses for Project              $473.00     2.8   $1,324.40
                            Barracuda.
   McGonigle, David         Continue to review Project Barracuda      $473.00     2.8   $1,324.40
                            analyses.
   McGonigle, David         Review Project Barracuda analyses.        $473.00     1.6    $756.80
   McGonigle, David         Continue to perform analyses for          $473.00     0.7    $331.10
                            Project Barracuda.
   McGonigle, David         Discuss analysis to be performed with     $473.00     0.2     $94.60
                            J. Letts (Deloitte).
   Minars, Scott            Review of analyses for Project            $592.00     1.6    $947.20
                            Barracuda.
   Minars, Scott            Continue to review analyses for Project   $592.00     2.3   $1,361.60
                            Barracuda.
   Stafford, Ted            Review of work product.                   $513.00     1.6    $820.80
11/15/2017
   Letts, Joshua            Review and edit draft report.             $350.00     2.3    $805.00
   McGonigle, David         Perform analyses for Project              $473.00     1.8    $851.40
                            Barracuda.
   McGonigle, David         Continue to perform analyses for          $473.00     3.0   $1,419.00
                            Project Barracuda.




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Project Barracuda
11/16/2017
   Cohen, Mark              Review engagement letter, including       $592.00     0.5    $296.00
                            proposed schedule for independent
                            auditor.
   Letts, Joshua            Review draft report.                      $350.00     1.3    $455.00
   Letts, Joshua            Review and edit exhibits to report.       $350.00     2.7    $945.00
   Matulewicz, Kari         Meeting with Debtor, Debtors'             $473.00     0.4    $189.20
                            attorneys, S. Stanton, S. Minars, T.
                            Stafford, and D. McGonigle (all
                            Deloitte) to discuss the status of
                            Project Barracuda.
   McGonigle, David         Review schedule for Project               $473.00     0.2     $94.60
                            Barracuda.
   McGonigle, David         Meeting with Debtor, Debtors'             $473.00     0.4    $189.20
                            attorneys, S. Stanton, S. Minars, T.
                            Stafford, and K. Matulewicz (all
                            Deloitte) to discuss the status of
                            Project Barracuda.
   Minars, Scott            Review of analyses for Project            $592.00     0.4    $236.80
                            Barracuda.
   Minars, Scott            Meeting with Debtor, Debtors'             $592.00     0.4    $236.80
                            attorneys, S. Stanton, D. McGonigle, T.
                            Stafford, and K. Matulewicz (all
                            Deloitte) to discuss the status of
                            Project Barracuda.
   Stafford, Ted            Review of work product.                   $513.00     0.7    $359.10
   Stafford, Ted            Meeting with Debtor, Debtors'             $513.00     0.4    $205.20
                            attorneys, S. Stanton, S. Minars, D.
                            McGonigle, and K. Matulewicz (all
                            Deloitte) to discuss the status of
                            Project Barracuda.
   Stanton, Steven          Meeting with Debtor, Debtors'             $592.00     0.4    $236.80
                            attorneys, D. McGonigle, S. Minars, T.
                            Stafford, and K. Matulewicz (all
                            Deloitte) to discuss the status of
                            Project Barracuda.
   Stanton, Steven          Review work product.                      $592.00     3.0   $1,776.00
11/17/2017
   Letts, Joshua            Review report.                            $350.00     1.1    $385.00


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Project Barracuda
11/17/2017
   Minars, Scott            Review of analyses for Project             $592.00     1.9   $1,124.80
                            Barracuda.
   Stafford, Ted            Review of work product.                    $513.00     1.0    $513.00
   Stanton, Steven          Address invoice questions.                 $592.00     0.5    $296.00
11/20/2017
   Cohen, Mark              Call to discuss plan and schedule for      $592.00     0.1     $59.20
                            report draft with S. Stanton, S. Minars,
                            D. McGonigle, T. Stafford, R. Strahle,
                            J. Letts, and K. Hommen (all Deloitte).
   Hommen, Kelly            Call to discuss plan and schedule for      $340.00     0.1     $34.00
                            report draft with S. Stanton, S. Minars,
                            M. Cohen, T. Stafford, R. Strahle, J.
                            Letts, and D. McGonigle (all Deloitte).
   Larson, Jen              Review of work product.                    $592.00     2.8   $1,657.60
   Letts, Joshua            Call to discuss plan and schedule for      $350.00     0.1     $35.00
                            report draft with S. Stanton, S. Minars,
                            M. Cohen, T. Stafford, R. Strahle, D.
                            McGonigle, and K. Hommen (all
                            Deloitte).
   Letts, Joshua            Review draft report.                       $350.00     3.5   $1,225.00
   McGonigle, David         Call to discuss plan and schedule for      $473.00     0.1     $47.30
                            report draft with S. Stanton, S. Minars,
                            M. Cohen, T. Stafford, R. Strahle, J.
                            Letts, and K. Hommen (all Deloitte).
   Minars, Scott            Call to discuss plan and schedule for      $592.00     0.1     $59.20
                            report draft with S. Stanton, D.
                            McGonigle, M. Cohen, T. Stafford, R.
                            Strahle, J. Letts, and K. Hommen (all
                            Deloitte).
   Minars, Scott            Review of analyses for Project             $592.00     0.8    $473.60
                            Barracuda.
   Stafford, Ted            Review of work product.                    $513.00     1.0    $513.00
   Stafford, Ted            Call to discuss plan and schedule for      $513.00     0.1     $51.30
                            report draft with S. Stanton, S. Minars,
                            M. Cohen, D. McGonigle, R. Strahle, J.
                            Letts, and K. Hommen (all Deloitte).




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Project Barracuda
11/20/2017
   Stanton, Steven          Call to discuss plan and schedule for       $592.00     0.1     $59.20
                            report draft with D. McGonigle, S.
                            Minars, M. Cohen, T. Stafford, R.
                            Strahle, J. Letts, and K. Hommen (all
                            Deloitte).
   Stanton, Steven          Review work product.                        $592.00     1.6    $947.20
   Strahle, Robert          Call to discuss plan and schedule for       $513.00     0.1     $51.30
                            report draft with S. Stanton, S. Minars,
                            M. Cohen, T. Stafford, D. McGonigle,
                            J. Letts, and K. Hommen (all Deloitte).
11/21/2017
   Larson, Jen              Review of work product.                     $592.00     2.9   $1,716.80
   Letts, Joshua            Review draft report.                        $350.00     3.0   $1,050.00
   Letts, Joshua            Continue to review draft report.            $350.00     1.5    $525.00
   Minars, Scott            Review of analyses for Project              $592.00     0.7    $414.40
                            Barracuda.
   Stafford, Ted            Review of work product.                     $513.00     1.3    $666.90
   Stanton, Steven          Review of work product.                     $592.00     2.0   $1,184.00
11/22/2017
   Letts, Joshua            Draft report.                               $350.00     3.0   $1,050.00
   Letts, Joshua            Continue to draft report.                   $350.00     3.0   $1,050.00
   Letts, Joshua            Draft schedules as exhibits to report.      $350.00     3.3   $1,155.00
   Minars, Scott            Review of analyses for Project              $592.00     0.4    $236.80
                            Barracuda.
   Stafford, Ted            Review of work product.                     $513.00     1.4    $718.20
   Stanton, Steven          Review of work product.                     $592.00     2.0   $1,184.00
11/25/2017
   Stanton, Steven          Review of work product.                     $592.00     2.0   $1,184.00
11/27/2017
   Cohen, Mark              Call to discuss plan and schedule for       $592.00     0.2    $118.40
                            drafting of report S. Stanton, S. Minars,
                            D. McGonigle, R. Strahle, J. Letts, and
                            K. Hommen (all Deloitte).



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Project Barracuda
11/27/2017
   Hommen, Kelly            Call to discuss plan and schedule for       $340.00     0.2     $68.00
                            drafting of report S. Stanton, S. Minars,
                            M. Cohen, R. Strahle, J. Letts, and D.
                            McGonigle (all Deloitte).
   Letts, Joshua            Call to discuss plan and schedule for       $350.00     0.2     $70.00
                            drafting of report S. Stanton, S. Minars,
                            M. Cohen, R. Strahle, J. Letts, and K.
                            Hommen (all Deloitte).
   Letts, Joshua            Review updated draft of report to           $350.00     0.2     $70.00
                            Deloitte team.
   Letts, Joshua            Review draft of report.                     $350.00     1.1    $385.00
   McGonigle, David         Call to discuss plan and schedule for       $473.00     0.2     $94.60
                            drafting of report S. Stanton, S. Minars,
                            M. Cohen, R. Strahle, J. Letts, and K.
                            Hommen (all Deloitte).
   Minars, Scott            Call to discuss plan and schedule for       $592.00     0.2    $118.40
                            drafting of report S. Stanton, D.
                            McGonigle, M. Cohen, R. Strahle, J.
                            Letts, and K. Hommen (all Deloitte).
   Stafford, Ted            Review of work product.                     $513.00     0.4    $205.20
   Stanton, Steven          Call to discuss plan and schedule for       $592.00     0.2    $118.40
                            drafting of report S. Stanton, S. Minars,
                            M. Cohen, R. Strahle, J. Letts, and D.
                            McGonigle (all Deloitte).
   Strahle, Robert          Call to discuss plan and schedule for       $513.00     0.2    $102.60
                            drafting of report S. Stanton, S. Minars,
                            M. Cohen, D. McGonigle, J. Letts, and
                            K. Hommen (all Deloitte).
11/28/2017
   Letts, Joshua            Discuss analyses to be performed            $350.00     0.6    $210.00
                            today for Project Barracuda with D.
                            McGonigle (Deloitte).
   Letts, Joshua            Review edited report.                       $350.00     3.0   $1,050.00
   Letts, Joshua            Continue to review edited report.           $350.00     2.2    $770.00
   Letts, Joshua            Discuss analyses to be performed            $350.00     0.6    $210.00
                            today for Project Barracuda with D.
                            McGonigle (Deloitte).



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Project Barracuda
11/28/2017
   McGonigle, David         Discuss analyses to be performed          $473.00     0.6    $283.80
                            today for Project Barracuda with J.
                            Letts (Deloitte).
   Minars, Scott            Review of analyses for Project            $592.00     0.4    $236.80
                            Barracuda.
11/29/2017
   Letts, Joshua            Walk through analyses related to          $350.00     0.9    $315.00
                            Project Barracuda with D. McGonigle
                            (Deloitte).
   Letts, Joshua            Review edited report.                     $350.00     2.8    $980.00
   Letts, Joshua            Continue to review edited report.         $350.00     2.5    $875.00
   McGonigle, David         Continue analyses for Project             $473.00     2.0    $946.00
                            Barracuda.
   McGonigle, David         Walk through analyses related to          $473.00     0.9    $425.70
                            Project Barracuda with J. Letts
                            (Deloitte).
   McGonigle, David         Perform analyses for Project              $473.00     1.1    $520.30
                            Barracuda.
   Minars, Scott            Review of analyses for Project            $592.00     0.3    $177.60
                            Barracuda.
   Strahle, Robert          Review draft position paper.              $513.00     2.0   $1,026.00
11/30/2017
   Cohen, Mark              Review of draft position paper.           $592.00     3.3   $1,953.60
   Letts, Joshua            Review exhibit to report.                 $350.00     0.6    $210.00
   Letts, Joshua            Continue to update report.                $350.00     3.2   $1,120.00
   Letts, Joshua            Update report.                            $350.00     3.5   $1,225.00
   Letts, Joshua            Call with D. McGonigle and T. Stafford    $350.00     0.4    $140.00
                            (both Deloitte) regarding Project
                            Barracuda.
   McGonigle, David         Perform analyses for Project              $473.00     2.8   $1,324.40
                            Barracuda.
   McGonigle, David         Continue to perform analyses for          $473.00     2.4   $1,135.20
                            Project Barracuda.
   Minars, Scott            Review of analyses for Project            $592.00     0.7    $414.40
                            Barracuda.


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Project Barracuda
11/30/2017
   Stafford, Ted            Call with D. McGonigle and J. Letts        $513.00     0.4    $205.20
                            (both Deloitte) regarding Project
                            Barracuda.
   Stafford, Ted            Review of work product.                    $513.00     1.2    $615.60
   Strahle, Robert          Review draft report.                       $513.00     3.0   $1,539.00
12/01/2017
   McGonigle, David         Continue to perform analyses for           $473.00     1.8    $851.40
                            Project Barracuda
   McGonigle, David         Continue to perform analyses at            $473.00     2.8   $1,324.40
                            Project Barracuda.
   McGonigle, David         Perform analyses for Project               $473.00     2.0    $946.00
                            Barracuda
   Minars, Scott            Review of analyses for Project             $592.00     1.4    $828.80
                            Barracuda
   Stafford, Ted            Review of work product.                    $513.00     1.2    $615.60
   Stafford, Ted            Call with client and client advisor        $513.00     0.3    $153.90
                            regarding Project Barracuda.
12/04/2017
   Cohen, Mark              Call to discuss project process and        $592.00     0.5    $296.00
                            timeline, as well as edits to the report
                            with S. Minars, J. Larson, T. Stafford,
                            R. Strahle, D. McGonigle, J. Letts, and
                            K. Hommen (all Deloitte).
   Cohen, Mark              Review of comments to draft position       $592.00     0.6    $355.20
                            paper.
   Hiemstra, Jeff           Review draft Project Barracuda report.     $592.00     3.0   $1,776.00
   Hommen, Kelly            Call to discuss project process and        $340.00     0.5    $170.00
                            timeline, as well as edits to the report
                            with S. Minars, J. Larson, T. Stafford,
                            R. Strahle, D. McGonigle, J. Letts, and
                            M. Cohen (all Deloitte).
   Larson, Jen              Call to discuss project process and        $592.00     0.5    $296.00
                            timeline, as well as edits to the report
                            with S. Minars, M. Cohen, T. Stafford,
                            R. Strahle, D. McGonigle, J. Letts, and
                            K. Hommen (all Deloitte).
   Letts, Joshua            Continue to edit work product              $350.00     2.2    $770.00


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Project Barracuda
12/04/2017
   Letts, Joshua            Review analyses related to Project         $350.00     1.7    $595.00
                            Barracuda with D. McGonigle
                            (Deloitte).
   Letts, Joshua            Call to discuss project process and        $350.00     0.5    $175.00
                            timeline, as well as edits to the report
                            with S. Minars, J. Larson, T. Stafford,
                            R. Strahle, D. McGonigle, M. Cohen,
                            and K. Hommen (all Deloitte).
   Letts, Joshua            Edit work product.                         $350.00     3.0   $1,050.00
   McGonigle, David         Call to discuss project process and        $473.00     0.5    $236.50
                            timeline, as well as edits to the report
                            with S. Minars, J. Larson, T. Stafford,
                            R. Strahle, M. Cohen, J. Letts, and K.
                            Hommen (all Deloitte).
   McGonigle, David         Continue to perform analyses for           $473.00     3.0   $1,419.00
                            Project Barracuda.
   McGonigle, David         Perform analyses for Project               $473.00     2.3   $1,087.90
                            Barracuda
   McGonigle, David         Continue to perform analyses for           $473.00     1.9    $898.70
                            Project Barracuda
   McGonigle, David         Review analyses related to Project         $473.00     1.7    $804.10
                            Barracuda with J. Letts (Deloitte).
   Minars, Scott            Call to discuss project process and        $592.00     0.5    $296.00
                            timeline, as well as edits to the report
                            with M. Cohen, J. Larson, T. Stafford,
                            R. Strahle, D. McGonigle, J. Letts, and
                            K. Hommen (all Deloitte).
   Stafford, Ted            Review of work product.                    $513.00     3.0   $1,539.00
   Stafford, Ted            Continue review of work product.           $513.00     1.3    $666.90
   Stafford, Ted            Call to discuss project process and        $513.00     0.5    $256.50
                            timeline, as well as edits to the report
                            with S. Minars, J. Larson, M. Cohen, R.
                            Strahle, D. McGonigle, J. Letts, and K.
                            Hommen (all Deloitte).
   Stanton, Steven          Review work product.                       $592.00     1.5    $888.00
   Storer, Glen             Review work product.                       $592.00     4.0   $2,368.00




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Project Barracuda
12/04/2017
   Strahle, Robert          Call to discuss project process and        $513.00     0.5    $256.50
                            timeline, as well as edits to the report
                            with S. Minars, J. Larson, T. Stafford,
                            M. Cohen, D. McGonigle, J. Letts, and
                            K. Hommen (all Deloitte).
12/05/2017
   Letts, Joshua            Edit work product.                         $350.00     4.3   $1,505.00
   Letts, Joshua            Continue to edit work product.             $350.00     3.0   $1,050.00
   McGonigle, David         Perform analyses for Project               $473.00     3.0   $1,419.00
                            Barracuda
   McGonigle, David         Continue to perform analyses for           $473.00     1.3    $614.90
                            Project Barracuda
   McGonigle, David         Discuss updates to analyses for            $473.00     0.6    $283.80
                            Project Barracuda with S. Minars
                            (Deloitte).
   Minars, Scott            Discuss updates to analyses for            $592.00     0.6    $355.20
                            Project Barracuda with D. McGonigle
                            (Deloitte).
   Minars, Scott            Review of analyses for Project             $592.00     0.4    $236.80
                            Barracuda
   Stafford, Ted            Review of work product.                    $513.00     0.7    $359.10
12/06/2017
   Hommen, Kelly            Call to discuss report feedback with S.    $340.00     0.2     $68.00
                            Stanton, S. Minars, D. McGonigle, and
                            J. Letts (all Deloitte).
   Letts, Joshua            Call to discuss report feedback with S.    $350.00     0.2     $70.00
                            Stanton, S. Minars, D. McGonigle, and
                            K. Hommen (all Deloitte).
   Letts, Joshua            Edit work product.                         $350.00     3.2   $1,120.00
   Letts, Joshua            Continue to edit work product.             $350.00     3.0   $1,050.00
   McGonigle, David         Continue to perform analyses for           $473.00     2.7   $1,277.10
                            Project Barracuda.
   McGonigle, David         Perform analyses for Project               $473.00     1.4    $662.20
                            Barracuda
   McGonigle, David         Call to discuss report feedback with S.    $473.00     0.2     $94.60
                            Stanton, S. Minars, K. Hommen, and J.
                            Letts (all Deloitte).

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Project Barracuda
12/06/2017
   Minars, Scott            Call to discuss report feedback with S.   $592.00     0.2    $118.40
                            Stanton, D. McGonigle, J. Letts, and K.
                            Hommen (all Deloitte).
   Minars, Scott            Review of analyses for Project            $592.00     1.0    $592.00
                            Barracuda
   Stanton, Steven          Call to discuss report feedback with S.   $592.00     0.2    $118.40
                            Minars, D. McGonigle, J. Letts, and K.
                            Hommen (all Deloitte).
   Stanton, Steven          Review work product.                      $592.00     0.3    $177.60
12/07/2017
   Hiemstra, Jeff           Discuss potential updates to the          $592.00     0.6    $355.20
                            Project Barracuda report with S.
                            Stanton, T. Stafford, and D. McGonigle
                            (all Deloitte).
   Letts, Joshua            Review and edit workpapers.               $350.00     3.6   $1,260.00
   Letts, Joshua            Review and edit work product.             $350.00     3.0   $1,050.00
   Letts, Joshua            Walk through analyses to be               $350.00     0.7    $245.00
                            performed for Project Barracuda with
                            D. McGonigle (Deloitte).
   McGonigle, David         Perform analyses for Project              $473.00     1.0    $473.00
                            Barracuda
   McGonigle, David         Walk through analyses to be               $473.00     0.7    $331.10
                            performed for Project Barracuda with J.
                            Letts (Deloitte).
   McGonigle, David         Discuss potential updates to the          $473.00     0.6    $283.80
                            Project Barracuda report with S.
                            Stanton, T. Stafford, and J. Hiemstra
                            (all Deloitte).
   Minars, Scott            Review of analyses for Project            $592.00     2.7   $1,598.40
                            Barracuda
   Minars, Scott            Review of analyses for Project            $592.00     1.1    $651.20
                            Barracuda
   Stafford, Ted            Review of work product.                   $513.00     0.2    $102.60
   Stafford, Ted            Discuss potential updates to the          $513.00     0.6    $307.80
                            Project Barracuda report with S.
                            Stanton, J. Hiemstra, and D.
                            McGonigle (all Deloitte).
   Stafford, Ted            Continue review of work product.          $513.00     0.2    $102.60

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Project Barracuda
12/07/2017
   Stanton, Steven          Discuss potential updates to the          $592.00     0.6    $355.20
                            Project Barracuda report with J.
                            Hiemstra, T. Stafford, and D.
                            McGonigle (all Deloitte).
   Stanton, Steven          Review work product.                      $592.00     1.5    $888.00
12/08/2017
   Cohen, Mark              Review of preamble/supplement to          $592.00     0.7    $414.40
                            draft position paper.
   Letts, Joshua            Edit work product.                        $350.00     3.0   $1,050.00
   Letts, Joshua            Continue to edit work product.            $350.00     2.0    $700.00
   McGonigle, David         Perform analyses for Project              $473.00     2.7   $1,277.10
                            Barracuda
   McGonigle, David         Continue to perform analyses for          $473.00     1.8    $851.40
                            Project Barracuda
   Minars, Scott            Review of analyses for Project            $592.00     0.9    $532.80
                            Barracuda
   Stafford, Ted            Review of work product.                   $513.00     1.5    $769.50
   Stanton, Steven          Review work product.                      $592.00     3.0   $1,776.00
12/10/2017
   Stafford, Ted            Review of work product.                   $513.00     0.7    $359.10
12/11/2017
   Hommen, Kelly            Discuss updated plan and schedule for     $340.00     0.3    $102.00
                            report with S. Stanton, S. Minars, T.
                            Stafford, R. Strahle, D. McGonigle, and
                            J. Letts (all Deloitte).
   Letts, Joshua            Review work product.                      $350.00     1.4    $490.00
   Letts, Joshua            Discuss updated plan and schedule for     $350.00     0.3    $105.00
                            report with S. Stanton, S. Minars, T.
                            Stafford, R. Strahle, D. McGonigle, and
                            K. Hommen (all Deloitte).
   McGonigle, David         Discuss updated plan and schedule for     $473.00     0.3    $141.90
                            report with S. Stanton, S. Minars, T.
                            Stafford, R. Strahle, K. Hommen, and
                            J. Letts (all Deloitte).




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Project Barracuda
12/11/2017
   Minars, Scott            Discuss updated plan and schedule for     $592.00     0.3    $177.60
                            report with S. Stanton, K. Hommen, T.
                            Stafford, R. Strahle, D. McGonigle, and
                            J. Letts (all Deloitte).
   Stafford, Ted            Review of work product.                   $513.00     0.8    $410.40
   Stafford, Ted            Discuss updated plan and schedule for     $513.00     0.3    $153.90
                            report with S. Stanton, S. Minars, D.
                            McGonigle, R. Strahle, K. Hommen,
                            and J. Letts (all Deloitte).
   Stanton, Steven          Discuss updated plan and schedule for     $592.00     0.3    $177.60
                            report with J. Letts, S. Minars, T.
                            Stafford, R. Strahle, D. McGonigle, and
                            K. Hommen (all Deloitte).
   Strahle, Robert          Discuss updated plan and schedule for     $513.00     0.3    $153.90
                            report with S. Stanton, S. Minars, T.
                            Stafford, K. Hommen, D. McGonigle,
                            and J. Letts (all Deloitte).
12/12/2017
   Letts, Joshua            Review work product.                      $350.00     0.3    $105.00
   Minars, Scott            Review of analyses for Project            $592.00     0.6    $355.20
                            Barracuda
   Stafford, Ted            Review of work product.                   $513.00     0.2    $102.60
12/13/2017
   Letts, Joshua            Continue to edit work product.            $350.00     1.1    $385.00
   Letts, Joshua            Call to walk through comments to draft    $350.00     0.5    $175.00
                            report with T. Stafford (Deloitte), D.
                            McGonigle (Deloitte), and expert.
   Letts, Joshua            Edit work product.                        $350.00     3.0   $1,050.00
   McGonigle, David         Call to walk through comments to draft    $473.00     0.5    $236.50
                            report with J. Letts (Deloitte), T.
                            Stafford (Deloitte), and expert.
   Minars, Scott            Review of analyses for Project            $592.00     0.2    $118.40
                            Barracuda
   Stafford, Ted            Review of work product.                   $513.00     0.6    $307.80
   Stafford, Ted            Call to walk through comments to draft    $513.00     0.5    $256.50
                            report with J. Letts (Deloitte), D.
                            McGonigle (Deloitte), and expert.

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Project Barracuda
12/14/2017
   Letts, Joshua            Review work product.                        $350.00     0.3    $105.00
12/15/2017
   Minars, Scott            Review of analyses for Project              $592.00     0.7    $414.40
                            Barracuda
12/18/2017
   Cohen, Mark              Discuss status of report with S.            $592.00     0.2    $118.40
                            Stanton, S. Minars, R. Strahle, D.
                            McGonigle, and J. Letts (all Deloitte).
   Letts, Joshua            Discuss status of report with S.            $350.00     0.2     $70.00
                            Stanton, S. Minars, R. Strahle, D.
                            McGonigle, and M. Cohen (all
                            Deloitte).
   McGonigle, David         Discuss status of report with S.            $473.00     0.2     $94.60
                            Stanton, S. Minars, R. Strahle, M.
                            Cohen, and J. Letts (all Deloitte).
   Minars, Scott            Discuss status of report with S.            $592.00     0.2    $118.40
                            Stanton, M. Cohen, R. Strahle, D.
                            McGonigle, and J. Letts (all Deloitte).
   Stanton, Steven          Discuss status of report with S. Minars,    $592.00     0.2    $118.40
                            M. Cohen, R. Strahle, D. McGonigle,
                            and J. Letts (all Deloitte).
   Strahle, Robert          Discuss status of report with S.            $513.00     0.2    $102.60
                            Stanton, S. Minars, M. Cohen, D.
                            McGonigle, and J. Letts (all Deloitte).
12/19/2017
   Cohen, Mark              Discuss current progress of Project         $592.00     0.2    $118.40
                            Barracuda with S. Minars, R. Strahle,
                            T. Stafford, and D. McGonigle (all
                            Deloitte).
   McGonigle, David         Discuss current progress of Project         $473.00     0.2     $94.60
                            Barracuda with S. Minars, R. Strahle,
                            T. Stafford, and M. Cohen (all Deloitte).
   Minars, Scott            Discuss current progress of Project         $592.00     0.2    $118.40
                            Barracuda with M. Cohen, R. Strahle,
                            T. Stafford, and D. McGonigle (all
                            Deloitte).




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Project Barracuda
12/19/2017
   Stafford, Ted            Discuss current progress of Project       $513.00     0.2    $102.60
                            Barracuda with S. Minars, M. Cohen,
                            R. Strahle, and D. McGonigle (all
                            Deloitte).
   Strahle, Robert          Discuss current progress of Project       $513.00     0.2    $102.60
                            Barracuda with S. Minars, M. Cohen,
                            T. Stafford, and D. McGonigle (all
                            Deloitte).
12/22/2017
   McGonigle, David         Update analyses for Project               $473.00     0.5    $236.50
                            Barracuda.
   Minars, Scott            Review of analyses for Project            $592.00     2.1   $1,243.20
                            Barracuda.
01/02/2018
   Stafford, Ted            Review of analysis.                       $513.00     0.3    $153.90
   Stafford, Ted            Call with S. Stanton (Deloitte) to        $513.00     0.3    $153.90
                            discuss status of project.
   Stanton, Steven          Call with T. Stafford (Deloitte) to       $592.00     0.3    $177.60
                            discuss status of project.
01/03/2018
   Stafford, Ted            Review of analysis.                       $513.00     0.1     $51.30
01/04/2018
   Stanton, Steven          Internal call to discuss independence     $592.00     0.5    $296.00
                            issues.
01/08/2018
   Cohen, Mark              Discuss timeline with S. Stanton and      $592.00     0.2    $118.40
                            R. Strahle (both Deloitte).
   Stafford, Ted            Review of report.                         $513.00     0.1     $51.30
   Stanton, Steven          Discuss timeline with M. Cohen and R.     $592.00     0.2    $118.40
                            Strahle (both Deloitte).
   Strahle, Robert          Discuss timeline with M. Cohen and S.     $513.00     0.2    $102.60
                            Stanton (both Deloitte).




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Project Barracuda
01/09/2018
   McGonigle, David         Meet with Client and attorneys to         $473.00     0.4    $189.20
                            discuss the status of Project Barracuda
                            with S. Stanton, S. Minars, and T.
                            Stafford.
   Minars, Scott            Meet with Client and attorneys to         $592.00     0.4    $236.80
                            discuss the status of Project Barracuda
                            with S. Stanton, T. Stafford, and D.
                            McGonigle (all Deloitte).
   Minars, Scott            Review of analysis for Project            $592.00     0.3    $177.60
                            Barracuda.
   Stafford, Ted            Review of Project Barracuda third party   $513.00     0.4    $205.20
                            contracts.
   Stanton, Steven          Meet with Client and attorneys to         $592.00     0.5    $296.00
                            discuss the status of Project Barracuda
                            with S. Minars, T. Stafford, and D.
                            McGonigle (all Deloitte).
01/10/2018
   Minars, Scott            Review of analysis for Project            $592.00     1.6    $947.20
                            Barracuda.
   Stafford, Ted            Review of Project Barracuda third party   $513.00     0.4    $205.20
                            contracts.
01/11/2018
   Minars, Scott            Review of analysis for Project            $592.00     1.4    $828.80
                            Barracuda.
   Stafford, Ted            Review of report.                         $513.00     0.5    $256.50
01/12/2018
   Letts, Joshua            Review work product.                      $350.00     0.2     $70.00
   Stafford, Ted            Review of supporting analysis.            $513.00     1.7    $872.10
01/16/2018
   Stafford, Ted            Read draft of third party engagement      $513.00     0.2    $102.60
                            letter.
01/17/2018
   Letts, Joshua            Discuss next steps regarding Project      $350.00     0.3    $105.00
                            Barracuda with S. Minars, T. Stafford,
                            R. Strahle, and D. McGonigle (all
                            Deloitte).


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Date                        Description                                    Rate    Hours       Fees

Project Barracuda
01/17/2018
   McGonigle, David         Discuss next steps regarding Project         $473.00     0.3    $141.90
                            Barracuda with S. Minars, T. Stafford,
                            R. Strahle, and J. Letts (all Deloitte).
   Minars, Scott            Discuss next steps regarding Project         $592.00     0.3    $177.60
                            Barracuda with J. Letts, T. Stafford, R.
                            Strahle, and D. McGonigle (all
                            Deloitte).
   Stafford, Ted            Discuss next steps regarding Project         $513.00     0.3    $153.90
                            Barracuda with S. Minars, J. Letts, R.
                            Strahle, and D. McGonigle (all
                            Deloitte).
   Stafford, Ted            Review of work product.                      $513.00     2.0   $1,026.00
   Stanton, Steven          Review of work product.                      $592.00     0.5    $296.00
   Strahle, Robert          Discuss next steps regarding Project         $513.00     0.3    $153.90
                            Barracuda with S. Minars, T. Stafford,
                            J. Letts, and D. McGonigle (all
                            Deloitte).
01/19/2018
   Stafford, Ted            Read draft of third party engagement         $513.00     0.1     $51.30
                            letter.
01/22/2018
   Cohen, Mark              Discuss status of Project Barracuda          $592.00     0.4    $236.80
                            with S. Stanton, S. Minars, T. Stafford,
                            R. Strahle, J. Letts, and K. Hommen
                            (all Deloitte).
   Hommen, Kelly            Discuss status of Project Barracuda          $340.00     0.4    $136.00
                            with S. Stanton, S. Minars, M. Cohen,
                            T. Stafford, R. Strahle, and J. Letts (all
                            Deloitte).
   Letts, Joshua            Discuss status of Project Barracuda          $350.00     0.4    $140.00
                            with S. Stanton, S. Minars, T. Stafford,
                            R. Strahle, M. Cohen, and K. Hommen
                            (all Deloitte).
   Minars, Scott            Discuss status of Project Barracuda          $592.00     0.4    $236.80
                            with S. Stanton, M. Cohen, T. Stafford,
                            R. Strahle, J. Letts, and K. Hommen
                            (all Deloitte).




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Date                        Description                                  Rate    Hours      Fees

Project Barracuda
01/22/2018
   Stafford, Ted            Discuss status of Project Barracuda        $513.00     0.4    $205.20
                            with S. Stanton, S. Minars, M. Cohen,
                            R. Strahle, J. Letts, and K. Hommen
                            (all Deloitte).
   Stanton, Steven          Discuss status of Project Barracuda        $592.00     0.4    $236.80
                            with M. Cohen, S. Minars, T. Stafford,
                            R. Strahle, J. Letts, and K. Hommen
                            (all Deloitte).
   Stanton, Steven          Review of work product.                    $592.00     0.5    $296.00
   Strahle, Robert          Discuss status of Project Barracuda        $513.00     0.4    $205.20
                            with S. Stanton, S. Minars, T. Stafford,
                            M. Cohen, J. Letts, and K. Hommen
                            (all Deloitte).
01/23/2018
   Minars, Scott            Review of analysis for Project             $592.00     0.3    $177.60
                            Barracuda.
01/25/2018
   Stafford, Ted            Review of work product.                    $513.00     0.2    $102.60
01/29/2018
   Cohen, Mark              Discuss status of Project Barracuda        $592.00     0.1     $59.20
                            with S. Stanton, S. Minars, D.
                            McGonigle, J. Letts, and K. Hommen
                            (Deloitte).
   Hommen, Kelly            Discuss status of Project Barracuda        $340.00     0.1     $34.00
                            with S. Stanton, S. Minars, D.
                            McGonigle, J. Letts, and M. Cohen
                            (Deloitte).
   Letts, Joshua            Discuss status of Project Barracuda        $350.00     0.1     $35.00
                            with S. Stanton, S. Minars, D.
                            McGonigle, M. Cohen, and K.
                            Hommen (Deloitte).
   McGonigle, David         Discuss status of Project Barracuda        $473.00     0.1     $47.30
                            with S. Stanton, S. Minars, M. Cohen,
                            J. Letts, and K. Hommen (Deloitte).
   Minars, Scott            Discuss status of Project Barracuda        $592.00     0.1     $59.20
                            with S. Stanton, M. Cohen, D.
                            McGonigle, J. Letts, and K. Hommen
                            (Deloitte).


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Date                        Description                                  Rate    Hours       Fees

Project Barracuda
01/29/2018
   Stafford, Ted            Review of work product.                    $513.00     2.0   $1,026.00
   Stanton, Steven          Discuss status of Project Barracuda        $592.00     0.1     $59.20
                            with M. Cohen, S. Minars, D.
                            McGonigle, J. Letts, and K. Hommen
                            (Deloitte).
01/30/2018
   Stafford, Ted            Preparation of work product.               $513.00     2.1   $1,077.30
   Stafford, Ted            Read draft of third party engagement       $513.00     0.1     $51.30
                            letter.
   Stanton, Steven          Edits to proposed third party              $592.00     0.2    $118.40
                            engagement letter.
01/31/2018
   Stafford, Ted            Review of work product.                    $513.00     0.2    $102.60
02/05/2018
   Letts, Joshua            Call with T. Stafford and D. McGonigle     $350.00     0.5    $175.00
                            (both Deloitte) to discuss work product
                            records documentation.
   McGonigle, David         Call with T. Stafford and J. Letts (both   $473.00     0.5    $236.50
                            Deloitte) to discuss work product
                            records documentation.
   Stafford, Ted            Call with D. McGonigle and J. Letts        $513.00     0.5    $256.50
                            (both Deloitte) to discuss work product
                            records documentation.
   Stafford, Ted            Review of work product.                    $513.00     0.3    $153.90
02/06/2018
   Stafford, Ted            Review analyses for Project                $513.00     0.3    $153.90
                            Barracuda.
02/09/2018
   Cohen, Mark              Call with T. Baird and R. Swanson          $592.00     0.5    $296.00
                            (WEC) to discuss Project Barracuda.
02/13/2018
   Minars, Scott            Review of analyses for Project             $592.00     0.2    $118.40
                            Barracuda.




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Project Barracuda
02/14/2018
   Cohen, Mark              Call with J. Egertson, S. Minars, and D.   $592.00     0.5    $296.00
                            McGonigle (Deloitte) to discuss current
                            status of Project Barracuda.
   McGonigle, David         Call with J. Egertson, S. Minars, and      $473.00     0.5    $236.50
                            M. Cohen (Deloitte) to discuss current
                            status of Project Barracuda.
   McGonigle, David         Perform analyses for Project               $473.00     3.0   $1,419.00
                            Barracuda.
   Minars, Scott            Call with J. Egertson, M. Cohen, and       $592.00     0.5    $296.00
                            D. McGonigle (Deloitte) to discuss
                            current status of Project Barracuda.
   Minars, Scott            Review of analyses for Project             $592.00     0.4    $236.80
                            Barracuda.
   Stanton, Steven          Review status of Project Barracuda.        $592.00     0.5    $296.00
02/19/2018
   Cohen, Mark              Call with S. Stanton, S. Minars, D.        $592.00     0.3    $177.60
                            McGonigle, J. Letts, and K. Hommen
                            (all Deloitte) to discuss status and
                            updates to Project Barracuda.
   Hommen, Kelly            Call with S. Stanton, S. Minars, D.        $340.00     0.3    $102.00
                            McGonigle, J. Letts, and M. Cohen (all
                            Deloitte) to discuss status and updates
                            to Project Barracuda.
   Letts, Joshua            Call with S. Stanton, S. Minars, D.        $350.00     0.3    $105.00
                            McGonigle, M. Cohen, and K.
                            Hommen (all Deloitte) to discuss status
                            and updates to Project Barracuda.
   McGonigle, David         Call with S. Stanton, S. Minars, M.        $473.00     0.3    $141.90
                            Cohen, J. Letts, and K. Hommen (all
                            Deloitte) to discuss status and updates
                            to Project Barracuda.
   Minars, Scott            Call with S. Stanton, M. Cohen, D.         $592.00     0.3    $177.60
                            McGonigle, J. Letts, and K. Hommen
                            (all Deloitte) to discuss status and
                            updates to Project Barracuda.
   Stanton, Steven          Call with M. Cohen, S. Minars, D.          $592.00     0.3    $177.60
                            McGonigle, J. Letts, and K. Hommen
                            (all Deloitte) to discuss status and
                            updates to Project Barracuda.


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Project Barracuda
03/12/2018
   Cohen, Mark                 Call to discuss updates and status of      $592.00       0.2      $118.40
                               Project Barracuda with S. Minars, D.
                               McGonigle, S. Stanton, R. Strahle, J.
                               Letts, and K. Hommen (all Deloitte).
   Hommen, Kelly               Call to discuss updates and status of      $340.00       0.2       $68.00
                               Project Barracuda with S. Minars, M.
                               Cohen, S. Stanton, R. Strahle, J. Letts,
                               and D. McGonigle (all Deloitte).
   Letts, Joshua               Call to discuss updates and status of      $350.00       0.2       $70.00
                               Project Barracuda with S. Minars, S.
                               Stanton, M. Cohen, R. Strahle, D.
                               McGonigle, and K. Hommen (all
                               Deloitte).
   McGonigle, David            Call to discuss updates and status of      $473.00       0.2       $94.60
                               Project Barracuda with S. Minars, S.
                               Stanton, M. Cohen, R. Strahle, J. Letts,
                               and K. Hommen (all Deloitte).
   Minars, Scott               Call to discuss updates and status of      $592.00       0.2      $118.40
                               Project Barracuda with D. McGonigle,
                               S. Stanton, M. Cohen, R. Strahle, J.
                               Letts, and K. Hommen (all Deloitte).
   Stanton, Steven             Call to discuss updates and status of      $592.00       0.2      $118.40
                               Project Barracuda with S. Minars, J.
                               Letts, M. Cohen, R. Strahle, D.
                               McGonigle, and K. Hommen (all
                               Deloitte).
   Subtotal for Project Barracuda:                                                  1,131.0   $540,691.60

Project Bluefin
08/02/2017
   McGonigle, David            Review analysis for client.                $473.00       0.5      $236.50
   McGonigle, David            Meeting with L. Sturiale (Deloitte) to     $473.00       0.2       $94.60
                               discuss responses to client.
   Sturiale, Lisa              Meeting with D. McGonigle (Deloitte) to    $592.00       0.2      $118.40
                               discuss responses to client.




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Project Bluefin
08/03/2017
   McGonigle, David         Call with L. Sturiale and client            $473.00     0.4    $189.20
                            regarding memo.
   Sturiale, Lisa           Review schedules provided by client.        $592.00     0.6    $355.20
   Sturiale, Lisa           Call with D. McGonigle (Deloitte) and       $592.00     0.4    $236.80
                            client regarding memo.
08/04/2017
   Oliveti, Frank           Prepare for and call with L. Sturiale       $592.00     0.5    $296.00
                            (Deloitte) regarding memo updates.
   Sturiale, Lisa           Draft internal email regarding memo         $592.00     0.2    $118.40
                            updates.
   Sturiale, Lisa           Call with F. Oliveti (Deloitte) regarding   $592.00     0.3    $177.60
                            memo updates.
08/07/2017
   McGonigle, David         Meeting with L. Sturiale, F. Oliveti, S.    $473.00     0.7    $331.10
                            Minars (Deloitte) to discuss potential
                            changes to the memo.
   McGonigle, David         Meeting with client and L. Sturiale         $473.00     0.7    $331.10
                            (Deloitte) to discuss potential changes
                            to the memo.
   Minars, Scott            Meeting with L. Sturiale, F. Oliveti, D.    $592.00     0.7    $414.40
                            McGonigle (Deloitte) to discuss
                            potential changes to the memo.
   Oliveti, Frank           Meeting with L. Sturiale, S. Minars, D.     $592.00     0.7    $414.40
                            McGonigle (Deloitte) to discuss
                            potential changes to the memo.
   Sturiale, Lisa           Meeting with F. Oliveti, S. Minars, D.      $592.00     0.7    $414.40
                            McGonigle (Deloitte) to discuss
                            potential changes to the memo.
   Sturiale, Lisa           Meeting with client and McGonigle           $592.00     0.7    $414.40
                            (Deloitte) to discuss potential changes
                            to the memo.
08/08/2017
   McGonigle, David         Review calculation for client.              $473.00     0.7    $331.10
   McGonigle, David         Meeting with client, S. Minars and L.       $473.00     0.6    $283.80
                            Sturiale (Deloitte) to discuss potential
                            changes to the memo.



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Project Bluefin
08/08/2017
   Minars, Scott            Meeting with client, L. Sturiale and D.    $592.00     0.6    $355.20
                            McGonigle (Deloitte) to discuss
                            potential changes to the memo.
   Sturiale, Lisa           Meeting with client, S. Minars and D.      $592.00     0.6    $355.20
                            McGonigle (Deloitte) to discuss
                            potential changes to the memo.
08/09/2017
   McGonigle, David         Email to client regarding calculation.     $473.00     0.1     $47.30
09/14/2017
   McGonigle, David         Perform calculations for the client        $473.00     2.7   $1,277.10
                            memo.
   McGonigle, David         Meeting with S. Minars (Deloitte) to       $473.00     0.4    $189.20
                            discuss calculation for the client memo.
   Minars, Scott            Review updated client memo.                $592.00     0.2    $118.40
   Minars, Scott            Meeting with D. McGonigle (Deloitte) to    $592.00     0.4    $236.80
                            discuss calculation for the client memo.
09/15/2017
   McGonigle, David         Update client memo based on updated        $473.00     0.4    $189.20
                            information provided by client.
   Minars, Scott            Perform quality review of updated          $592.00     0.5    $296.00
                            client memo.
   Sturiale, Lisa           Review client memo.                        $592.00     1.0    $592.00
09/18/2017
   McGonigle, David         Review and analyze client comments         $473.00     0.5    $236.50
                            to the memo.
   Minars, Scott            Formulated response and responded          $592.00     0.4    $236.80
                            to client's queries on memo.
   Sturiale, Lisa           Review emails regarding calculation        $592.00     0.5    $296.00
                            and establish call with J. Rohrs.
09/19/2017
   McGonigle, David         Meeting with J. Rohrs (Deloitte) to        $473.00     0.5    $236.50
                            discuss Project Bluefin.
   McGonigle, David         Perform a subsequent update to memo        $473.00     2.0    $946.00
                            based on client comments.
   McGonigle, David         Update client memo based on updated        $473.00     1.0    $473.00
                            information obtained.

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Project Bluefin
09/19/2017
   McGonigle, David                Meeting with client, L. Sturiale, and S.   $473.00     1.0     $473.00
                                   Minars (Deloitte) to discuss updates to
                                   the client memo.
   Minars, Scott                   Meeting with client, L. Sturiale, and D.   $592.00     1.0     $592.00
                                   McGonigle (Deloitte) to discuss
                                   updates to the client memo.
   Rohrs, Jane                     Meeting with D. McGonigle (Deloitte) to    $592.00     0.5     $296.00
                                   discuss Project Bluefin.
   Sturiale, Lisa                  Meeting with client, S. Minars, and D.     $592.00     1.0     $592.00
                                   McGonigle (Deloitte) to discuss
                                   updates to the client memo.
   Subtotal for Project Bluefin:                                                         24.1   $12,791.60

Project Bluefin - Post Closing
03/29/2017
   Sasso, Anthony                  Reviewed WEC's public bankruptcy           $592.00     1.0     $592.00
                                   filings
03/31/2017
   Sasso, Anthony                  Researched bankruptcy accounting           $592.00     0.1      $59.20
                                   issues pertaining to WEC
04/05/2017
   Minars, Scott                   Researched issues related to               $592.00     0.5     $296.00
                                   bankruptcy that pertain to WEC.
04/06/2017
   Minars, Scott                   Call with T. Sasso (Deloitte) regarding    $592.00     1.0     $592.00
                                   planning for training for WEC
                                   management
   Sasso, Anthony                  Call with S. Minars (Deloitte) regarding   $592.00     1.0     $592.00
                                   planning for training for WEC
                                   management
04/07/2017
   Sasso, Anthony                  Developed training presentation to         $592.00     2.8    $1,657.60
                                   present to WEC personnel pertaining
                                   to bankruptcy financial reporting




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Project Bluefin - Post Closing
04/07/2017
   Sasso, Anthony         Continued to develop training             $592.00     2.2   $1,302.40
                          presentation to present to WEC
                          personnel pertaining to bankruptcy
                          financial reporting
04/12/2017
   Sasso, Anthony         Planning for bankruptcy training          $592.00     0.5    $296.00
                          session to present to WEC's
                          accounting personnel
04/17/2017
   Sasso, Anthony         Analyze internal controls related to      $592.00     1.0    $592.00
                          Chapter 11
04/19/2017
   Sasso, Anthony         Researched SOX related issues             $592.00     1.5    $888.00
                          relevant to WEC
04/20/2017
   Sasso, Anthony         Research WEC to assess accounting         $592.00     1.2    $710.40
                          issues that will pertain to the Company
                          during bankruptcy
04/24/2017
   Sasso, Anthony         Conducted company research to             $592.00     0.6    $355.20
                          assess percentage of completion
                          bankruptcy impacts
   Sasso, Anthony         Reviewed Company accounting               $592.00     2.1   $1,243.20
                          memos regarding percentage of
                          completion bankruptcy impacts
   Sasso, Anthony         Accounting research to assess POC         $592.00     0.3    $177.60
                          BK impacts
   Sasso, Anthony         Prepare training decks to be presented    $592.00     2.0   $1,184.00
                          to WEC's accounting personnel
                          regarding bankruptcy accounting items
                          pertaining to the WEC
04/25/2017
   Minars, Scott          Participated in training session for      $592.00     3.0   $1,776.00
                          WEC personnel pertaining to internal
                          audit bankruptcy impacts
   Minars, Scott          Continue to participated in training      $592.00     3.0   $1,776.00
                          session for WEC personnel pertaining
                          to internal audit bankruptcy impacts

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Project Bluefin - Post Closing
04/25/2017
   Minars, Scott          Reviewed material for training session    $592.00     2.0   $1,184.00
                          for WEC personnel pertaining to
                          internal audit bankruptcy impacts
   Sasso, Anthony         Prepare training decks to be presented    $592.00     2.0   $1,184.00
                          to WEC's accounting personnel
                          regarding bankruptcy accounting items
                          pertaining to the WEC
   Sasso, Anthony         Presented training session to WEC         $592.00     3.0   $1,776.00
                          personnel pertaining to internal audit
                          bankruptcy impacts
   Sasso, Anthony         Continued to present training session     $592.00     3.0   $1,776.00
                          to WEC personnel pertaining to
                          internal audit bankruptcy impacts
04/26/2017
   Minars, Scott          Participated in training session for      $592.00     3.0   $1,776.00
                          WEC personnel pertaining to internal
                          audit bankruptcy impacts
   Minars, Scott          Continue to participate in training       $592.00     2.2   $1,302.40
                          session for WEC personnel pertaining
                          to internal audit bankruptcy impacts
   Minars, Scott          Client meeting with D. Evankovich         $592.00     0.8    $473.60
                          (WEC), G. Yauch (Deloitte) and T.
                          Sasso (Deloitte) regarding bankruptcy
                          proceedings and project timeline
   Sasso, Anthony         Client meeting with D. Evankovich         $592.00     0.8    $473.60
                          (WEC), G. Yauch (Deloitte) and S.
                          Minars (Deloitte) regarding bankruptcy
                          proceedings and project timeline
   Sasso, Anthony         Presented training session to WEC         $592.00     3.0   $1,776.00
                          personnel pertaining to internal audit
                          bankruptcy impacts
   Sasso, Anthony         Continued to present training session     $592.00     1.0    $592.00
                          to WEC personnel pertaining to
                          internal audit bankruptcy impacts
04/27/2017
   Minars, Scott          Research related to accounting            $592.00     1.0    $592.00
                          matters for WEC bankruptcy




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Project Bluefin - Post Closing
04/27/2017
   Sasso, Anthony                Reviewed T. Baird (WEC) comments         $592.00      1.0       $592.00
                                 to bankruptcy slides subsequent to
                                 bankruptcy filing
04/28/2017
   Sasso, Anthony                Revised bankruptcy decks related to      $592.00      0.8       $473.60
                                 bankruptcy filing based on T. Baird
                                 (WEC) comments
   Sasso, Anthony                Responded to T. Baird (WEC)              $592.00      0.2       $118.40
                                 regarding bankruptcy training deck
                                 comments
    Subtotal for Project Bluefin - Post Closing:                                      47.6    $28,179.20

Tax Consultative Services
04/03/2017
   Collins, Bryan                Review of company's public               $592.00      1.0       $592.00
                                 bankruptcy filing in preparation of
                                 clients meeting related to bankruptcy
                                 tax issues.
04/04/2017
   Collins, Bryan                Review current financial position and    $592.00      0.9       $532.80
                                 debt position to prepare for client
                                 meetings related to bankruptcy tax
                                 issues.
   Collins, Bryan                Prepare materials for discussion with    $592.00      1.3       $769.60
                                 client regarding bankruptcy tax issues
   Collins, Bryan                Prepare materials for discussion with    $592.00      1.8      $1,065.60
                                 client regarding planning a bankruptcy
                                 emergence transaction
   Collins, Bryan                Meeting with S. Minars (Deloitte)        $592.00      3.0      $1,776.00
                                 regarding tax related bankruptcy
                                 issues
   Minars, Scott                 Meeting with B. Collins (Deloitte)       $592.00      3.0      $1,776.00
                                 regarding tax related bankruptcy
                                 issues
   Minars, Scott                 Review materials for tax related         $592.00      1.8      $1,065.60
                                 bankruptcy issues with client
    Subtotal for Tax Consultative Services:                                           12.8      $7,577.60
Total                                                                               1,912.6   $893,289.85

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                                  Recapitulation
Name                                                 Rate        Hours          Fees
Cohen, Mark                                      $592.00          73.6     $43,571.20
Collins, Bryan                                   $592.00           8.0      $4,736.00
Donohue, Alycia                                  $592.00           1.0       $592.00
Hiemstra, Jeff                                   $592.00           3.6      $2,131.20
Johnston, Josh                                   $592.00           7.9      $4,676.80
Larson, Jen                                      $592.00           8.1      $4,795.20
Minars, Scott                                    $592.00         205.1   $121,419.20
Oliveti, Frank                                   $592.00           1.2       $710.40
Rohrs, Jane                                      $592.00           0.5       $296.00
Sasso, Anthony                                   $592.00          32.3     $19,121.60
Stanton, Steven                                  $592.00         110.6     $65,475.20
Storer, Glen                                     $592.00           4.0      $2,368.00
Sturiale, Lisa                                   $592.00           8.5      $5,032.00
Larson, Jen                                      $513.00          21.4     $10,978.20
Stafford, Ted                                    $513.00         217.1   $111,372.30
Strahle, Robert                                  $513.00          89.5     $45,913.50
Matulewicz, Kari                                 $473.00          68.3     $32,305.90
McGonigle, David                                 $473.00         438.3   $207,315.90
Neyland, Tamsyn                                  $473.00          21.4     $10,122.20
Sakuma, Takeru                                   $406.00          20.6      $8,363.60
Abrom, Carisa                                    $350.00          30.9     $10,815.00
Cooper, Carla                                    $350.00          77.8     $27,230.00
Letts, Joshua                                    $350.00         165.3     $57,855.00
Hommen, Kelly                                    $340.00          15.6      $5,304.00
Letts, Joshua                                    $340.00         223.7     $76,058.00
Cohen, Mark                                      $296.00           8.0      $2,368.00
Sasso, Anthony                                   $296.00           7.0      $2,072.00
Stafford, Ted                                    $256.50          33.3      $8,541.45

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                                 Recapitulation
Name                                                Rate        Hours         Fees
Letts, Joshua                                   $175.00          10.0     $1,750.00




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                            EXHIBIT B
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                   Westinghouse Electric Company LLC
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Category               Date            Description                                             Amount



Airfare
                                       DELTA AIR LINES INC. JACKSONVI Coach class
                                       roundtrip airfare from New York to Pittsburgh for
 Tzavelis, Elias       03/29/2017                                                              $848.93
                                       travel for Westinghouse Electric Company for
                                       client meeting
                                       UNITED AIRLINES JACKSONVI Rondtrip Coach
                                       airfare for travel from Washington D.C. to
 Collins, Bryan        03/30/2017                                                              $548.40
                                       Pittsburgh for Westinghouse Electric Company for
                                       clientmeeting/presentation
                                       UNITED AIRLINES JACKSONVI Coach class
                                       roundtrip airfare for travel from New York to
 Minars, Scott         04/19/2017                                                              $902.90
                                       Pittsburgh for Westinghouse Electric Company for
                                       client service meeting
                                       UNITED AIRLINES JACKSONVI Coach class
                                       roundtrip airfare for travel from New York to
 Sasso, Anthony        04/20/2017                                                              $875.92
                                       Pittsburgh for Westinghouse Electric Company -
                                       client service meetings
                                       SOUTHWEST AIRLINES DALLAS Coach class
                                       roundtrip airfare for travel for Westinghouse
 Stafford, Ted         06/13/2017                                                              $457.97
                                       Electric Company for meeting with Westinghouse
                                       and Foley on progress of arbitration proceedings
                                       UNITED AIRLINES JACKSONVILLE Coach class
 Larson, Jen           06/19/2017      roundtrip airfare for Westinghouse for team             $327.44
                                       meeting
                                       SOUTHWEST AIRLINES ( Roundtrip Coach class
                                       airfare for travel for Westinghouse Electric
 Stafford, Ted         07/04/2017                                                              $317.96
                                       Company for meeting with Foley and WEC from
                                       Dallas, Tx to NYC, NY)
                                       UNITED AIRLINES JACKSONVILLE Roundtrip
                                       Coach class airfare from New York to Pittsburgh
 Minars, Scott         07/10/2017                                                              $784.02
                                       for travel for Westinghouse Electric Company for
                                       Client service meeting
                                       UNITED AIRLINES JACKSONVILLE Roundtrip
                                       Coach class Coach class airfare for travel from
 Cohen, Mark           07/11/2017      New York to Pittsburgh for Westinghouse Electric        $957.90
                                       Company for travel to Pittsburgh to attend meeting
                                       with WEC and counsel


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                        Westinghouse Electric Company LLC
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Category                   Date            Description                                             Amount



Airfare
                                           UNITED AIRLINES JACKSONVILLE Change fee
                                           for Roundtrip Coach class airfare from New York
 Minars, Scott             07/11/2017      to Pittsburgh for travel for Westinghouse Electric     $247.82
                                           Company for client service meeting due to change
                                           in timing of the meeting.
                                           AMERICAN AIRLINES IN JACKSONVI Roundtrip
                                           Coach class airfare for travel from Dallas, Tx to
 Stafford, Ted             07/12/2017                                                             $232.75
                                           Pittsburgh, PA for Westinghouse Electric
                                           Company for meeting with Foley and WEC
                                           Roundtrip coach airfare from Dallas, TX to New
 Stafford, Ted             09/26/2017                                                             $386.95
                                           York, NY
                                           Roundtrip coach airfare from Dallas, TX to New
 Stafford, Ted             09/26/2017                                                             $386.95
                                           York, NY
                                           Roundtrip coach airfare from Dallas, TX to New
 Stafford, Ted             10/27/2017                                                             $213.97
                                           York, NY
                                           Roundtrip coach airfare from Atlanta, GA to New
 Letts, Joshua             11/06/2017                                                             $477.20
                                           York, NY.
                                           One-way coach airfare from New York, NY to
 Stafford, Ted             11/10/2017                                                             $182.50
                                           Dallas, TX.
Subtotal for Airfare:                                                                            $8,149.58


Ground Transportation
                                           UBER *US APR03 OHH HELP.UBER Taxi for
 Tzavelis, Elias           04/03/2017      Westinghouse Electric Company from New York,            $50.66
                                           New York to LGA for client meeting
                                           GLAZER SERVICES 0000 PITTSBURG Taxi for
 Collins, Bryan            04/04/2017      Westinghouse Electric Company from client               $53.00
                                           location to airportfor meeting/presentation
                                           Z VIP SEDAN & LIMOUS TEMPLE HI Car Service
 Collins, Bryan            04/04/2017      for Westinghouse Electric Company from home to          $74.12
                                           airport for meeting/presentation
                                           UBER *US APR04 2J7 HELP.UBER Taxi for
 Collins, Bryan            04/04/2017      Westinghouse Electric Company from client               $36.21
                                           location to airport for meeting/presentation


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                   Westinghouse Electric Company LLC
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Category               Date            Description                                          Amount



Ground Transportation
                                       MTA EWRLOTCTP/CT 002 NEWARK Parking for
 Minars, Scott         04/04/2017      two days for travel for Westinghouse Electric         $78.00
                                       Company for client service meeting
                                       Z VIP SEDAN & LIMOUS TEMPLE HI Taxi for
 Collins, Bryan        04/05/2017      Westinghouse Electric Company from airport to         $75.21
                                       office
                                       CAREY WASHINGTO Car Service for
 Minars, Scott         04/05/2017      Westinghouse Electric Company from PIT to hotel       $83.40
                                       for client service meeting
                                       CAREY WASHINGTO Car Service for
 Tzavelis, Elias       04/05/2017      Westinghouse Electric Company from client to          $83.40
                                       PIT airport for client service meeting
                                       UBER *US APR04 TQK HELP.UBER Taxi for
 Tzavelis, Elias       04/05/2017      Westinghouse Electric Company from LGA to             $33.48
                                       home for clientservices meeting
                                       CAREY WASHINGTO Car Service for
 Minars, Scott         04/06/2017      Westinghouse Electric Company from client LGA        $197.44
                                       to EWR for client service meeting
                                       EMPIRE INTERNATIONAL Secaucus Car Service
 Sasso, Anthony        04/24/2017      for Westinghouse Electric Company - to Newark        $109.90
                                       Airport
                                       AVIS RENT A CAR PITTSBURG Auto Rental for
 Minars, Scott         04/26/2017      one day for Westinghouse Electric Company for        $118.06
                                       client service meeting
                                       MTA EWRLOTCTP/CT 002 NEWARK Parking for
 Minars, Scott         04/26/2017      two days for travel for Westinghouse Electric         $98.00
                                       Company for client service meeting
                                       EMPIRE INTERNATIONAL Secaucus Car Service
 Sasso, Anthony        04/26/2017      for Westinghouse Electric Company return to          $118.45
                                       Colts Neckfrom Newark airport
                                       Lyft Taxi for Westinghouse Electric Company from
 Stafford, Ted         06/21/2017                                                            $32.09
                                       LGA to Hotel for meeting with Foley and WEC.
                                       LYFT *RIDE WED 3PM SAN FRANC Taxi for
 Stafford, Ted         06/21/2017      Westinghouse Electric Company from Home to            $20.01
                                       Dallas for meeting with Foley and WEC



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Category               Date            Description                                           Amount



Ground Transportation
                                       LYFT *RIDE WED 3PM SAN FRANC Taxi for
 Stafford, Ted         06/21/2017      Westinghouse Electric Company from Home to              $2.00
                                       Dallas for meeting with Foley and WEC
                                       PARKFAST 022 NEWARK Parking for travel for
 Cohen, Mark           06/22/2017      Westinghouse Electric Company for meeting              $15.00
                                       inNYC with WEC personnel and counsel
                                       662 10TH AVENUE MGM NEW YORK Taxi for
 Larson, Jen           06/22/2017      Westinghouse from airport to Foley for team            $63.07
                                       meeting
                                       NYC TAXI - VERIFONE LONG ISAL Taxi for
 Larson, Jen           06/22/2017      Westinghouse from airport to Foley for team            $51.67
                                       meeting
                                       Lyft Taxi for Westinghouse Electric Company from
 Stafford, Ted         06/22/2017                                                             $23.37
                                       DAL to home for meetingswith Foley and WEC
                                       LYFT *RIDE WED 9PM SAN FRANC Taxi for
 Stafford, Ted         06/22/2017      Westinghouse Electric Company from Foley to            $17.09
                                       LGA for meeting with Foley and WEC
                                       LYFT *RIDE THU 6PM SAN FRANC Taxi for
 Stafford, Ted         06/22/2017      Westinghouse Electric Company from Dallas to           $23.37
                                       home for meeting with Foley and WEC
                                       VITAL TRANSPORTATIONBROOKLYN Car
 Strahle, Robert       06/22/2017      Service for Westinghouse Electric Company from        $188.60
                                       client meeting to home
                                       CONCORDE WORLDWIDE C FREEHOLD Car
 Strahle, Robert       06/23/2017      Service for Westinghouse Electric Company from        $282.77
                                       home to meeting in NYC
                                       FLYTE TYME WORLDWIDE MAHWAH Car
 Larson, Jen           06/26/2017      Service for Westinghouse Electric Company from         $97.54
                                       home to airport for NYC meeting
                                       FLYTE TYME WORLDWIDE MAHWAH Car
 Larson, Jen           06/26/2017      Service for Westinghouse Electric Company from        $105.54
                                       airport to home for NYC meeting
                                       LYFT *RIDE WED 10P Taxi for Westinghouse
 Stafford, Ted         07/05/2017      Electric Company from LGA to hotel for meeting         $29.00
                                       with Foley and WEC



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Category               Date            Description                                             Amount



Ground Transportation
                                       LYFT *RIDE WED 3PM Taxi for Westinghouse
 Stafford, Ted         07/05/2017      Electric Company from home to DAL for meeting            $20.18
                                       with Foley and WEC
                                       AMTRAK WASHINGTON Train Business class
 Stanton, Steven       07/05/2017                                                              $322.00
                                       ticket from BWI to NY Penn for client meeting
                                       AMTRAK WASHINGTON Train Business class
 Stanton, Steven       07/05/2017      ticket for dispute consulting from NY Penn to BWI       $194.00
                                       for client meeting
                                       LAZ PARKING 240 NEW YORK Second parking
 Minars, Scott         07/06/2017      for Westinghouse Electric Company at Manhattan           $25.00
                                       for client meeting
                                       JTL MANAGEMENT JTL M LONG ISLA Taxi for
 Stafford, Ted         07/06/2017      Westinghouse Electric Company from meeting to            $38.47
                                       LGA for meeting with Foley and WEC
                                       LYFT *RIDE WED 10P Taxi for Westinghouse
 Stafford, Ted         07/06/2017      Electric Company from LGA to hotel for meeting            $2.00
                                       with Foley and WEC
                                       32754 - BWI RAIL STA BALTIMORE Parking for
 Stanton, Steven       07/06/2017                                                                $9.00
                                       travel for dispute consulting for client meeting
                                       LYFT *RIDE THU 7PM Taxi for Westinghouse
 Stafford, Ted         07/07/2017      Electric Company from DAL to home for                    $17.19
                                       meetingwith Foley and WEC
                                       LYFT *RIDE SUN 6PM Taxi for Westinghouse
 Stafford, Ted         07/16/2017      Electric Company from home to DAL for meeting            $18.72
                                       with Foley and WEC
                                       Auto tolls for Westinghouse Electric Company for
                                       travel to Newark airport for travel to Pittsburgh to
 Cohen, Mark           07/17/2017                                                                $8.00
                                       attend WEC board meeting and meeting with
                                       counsel and WEC personnel
                                       MTA EWRLOTCTP/CT 002 NEWARK Parking for
                                       one day for travel for Westinghouse Electric
 Cohen, Mark           07/17/2017                                                               $39.00
                                       Company for travel to Pittsburgh to attend meeting
                                       with counsel and client and WEC boardmeeting
                                       AVIS RENT A CAR PITTSBURG Auto Rental for
 Minars, Scott         07/17/2017      Westinghouse Electric Company for client service         $59.69
                                       meeting


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Category               Date            Description                                             Amount



Ground Transportation
                                       ZTRIP Taxi for Westinghouse Electric Company
 Stafford, Ted         07/17/2017      from Pittsburgh airport to hotel for Board meeting       $26.40
                                       preparation with Foley and WEC
                                       GLOBAL LIMO &TAXI S Arlington Taxi for
                                       Westinghouse Electric Company from Dallas Love
 Stafford, Ted         07/18/2017                                                               $73.02
                                       Field airport to home for Board meeting
                                       preparation with Foley and WEC
                                       Train for Westinghouse Electric Company from
 Stanton, Steven       10/04/2017                                                              $176.00
                                       New York Penn to BWI for Barracuda meetings
                                       Train for Westinghouse Electric Company from
 Stanton, Steven       10/04/2017                                                              $197.00
                                       BWI to New York Penn for Barracuda meetings
                                       Taxi for Westinghouse Electric Company from
 Stafford, Ted         10/08/2017                                                               $16.78
                                       home to DAL for Project Barracuda
                                       Taxi for Westinghouse Electric Company from
 Stafford, Ted         10/08/2017                                                               $41.95
                                       LGA to hotel for Project Barracuda
                                       Taxi for Westinghouse Electric Company from
 Cohen, Mark           10/09/2017      Penn Station to Deloitte offices at 30 Rock to           $12.00
                                       attend meeting
                                       Taxi for Westinghouse Electric Company from
 Stanton, Steven       10/09/2017                                                               $15.80
                                       Penn Station to office for Barracuda meeting
                                       Taxi for Westinghouse Electric Company from
 Stafford, Ted         10/11/2017                                                                $9.35
                                       hotel to Foley for Project Barracuda
                                       Parking for travel for Westinghouse Electric
 Stanton, Steven       10/11/2017                                                               $27.00
                                       Company for Barracuda meetings
                                       Taxi for Westinghouse Electric Company from
 Stanton, Steven       10/11/2017                                                               $13.80
                                       hotel to Foley office for Barracuda meeting
                                       Train for Westinghouse Electric Company from
 Stanton, Steven       10/11/2017                                                               $21.00
                                       New York to BWI for Barracuda meetings
                                       Taxi for Westinghouse Electric Company from
 Stafford, Ted         10/12/2017                                                               $21.88
                                       DAL to home for Project Barracuda
                                       Taxi for Westinghouse Electric Company from
 Stafford, Ted         11/09/2017                                                               $62.80
                                       New York airport to hotel for Project Barracuda.
                                       Taxi for Westinghouse Electric Company from
 Stanton, Steven       11/09/2017                                                               $59.80
                                       Parsipanny, NY to for Project Barracuda.
                                       Taxi for Westinghouse Electric Company from
 Letts, Joshua         11/10/2017                                                               $15.00
                                       New York airport to hotel for Project Barracuda.

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Ground Transportation
                                         Taxi for Westinghouse Electric Company from
 Stafford, Ted           11/10/2017                                                               $51.07
                                         New York airport to hotel for Project Barracuda.
                                         Taxi for Westinghouse Electric Company from
 Stafford, Ted           11/10/2017                                                               $56.40
                                         Dallas airport to home for Project Barracuda.
Subtotal for Ground
Transportation:                                                                                 $3,810.75


Hotel
                                         WESTIN CONV CTR PITT PITTSBURG Hotel
 Minars, Scott           04/03/2017      stay for travel for Westinghouse Electric Company       $178.98
                                         for client service meeting
                                         WESTIN CONV CTR PITT PITTSBURG Hotel
 Tzavelis, Elias         04/03/2017      stay for travel for Westinghouse Electric Company       $204.06
                                         for client service meeting
                                         PITTSBURGH NORTH AT CRANBERRY Hotel
 Minars, Scott           04/24/2017      stay for travel for Westinghouse Electric Company       $158.73
                                         for client service meeting
                                         PITTSBURGH NORTH AT CRANBERRY Hotel
 Sasso, Anthony          04/24/2017                                                              $158.73
                                         stay for travel for Westinghouse Electric Company
                                         PITTSBURGH NORTH AT CRANBERRY Hotel
 Minars, Scott           04/25/2017      stay for travel for Westinghouse Electric Company       $158.73
                                         for client service meeting
                                         PITTSBURGH NORTH AT CRANBERRY Hotel
 Sasso, Anthony          04/25/2017                                                              $158.73
                                         stay for travel for Westinghouse Electric Company
                                         NEW YORK EASTSIDE MA NEW YORK Hotel
                                         stay for one night travel for Westinghouse Electric
 Strahle, Robert         06/21/2017                                                              $350.00
                                         Company meeting with client in NYC (capped at
                                         $350)
                                         WESTIN NY GRAND CENT NEW YORK Hotel
                                         stay for travel for one night Westinghouse Electric
 Stafford, Ted           06/22/2017                                                              $350.00
                                         Company for meeting with Foley and WEC
                                         (capped at $350)
                                         WESTIN NY GRAND CENT NEW YORK Hotel
 Stafford, Ted           07/06/2017      stay for travel for Westinghouse Electric Company       $346.61
                                         for meeting with Foley and WEC

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Category                  Date            Description                                              Amount



Hotel
                                          SHERATON PITTSBURGH CORAOPLIS Hotel
 Stafford, Ted            07/16/2017      stay for travel for Westinghouse Electric Company       $125.01
                                          for meeting with Foley and WEC
 Stafford, Ted            10/08/2017      Hotel stay in New York, NY (W hotel)                    $392.51
 Stafford, Ted            10/09/2017      Hotel stay in New York, NY (W hotel)                    $392.51
 Stanton, Steven          10/09/2017      Hotel stay in New York, NY (Hilton Midtown)             $507.25
 Strahle, Robert          10/09/2017      Hotel stay in New York, NY (Marriott)                   $552.00
 Stafford, Ted            10/10/2017      Hotel stay in New York, NY (W hotel)                    $392.51
 Stanton, Steven          10/10/2017      Hotel stay in New York, NY (Hilton Midtown)             $507.25
 Letts, Joshua            11/09/2017      Hotel stay in New York, NY (Hilton Garden Inn).         $289.23
 Stafford, Ted            11/09/2017      Hotel stay in New York, NY (W New York).                $350.00
 Stanton, Steven          11/09/2017      Hotel stay in New York, NY (Hilton New York).           $415.45
Subtotal for Hotel:                                                                              $5,988.29


InternetAccess while Traveling
                                          SWA INFLIGHT WIFI WESTLAKE Internet
 Stafford, Ted            06/21/2017      Access while traveling for Westinghouse Electric          $8.00
                                          Company for meeting with Foley and WEC
                                          SWA INFLIGHT WIFI WESTLAKE Internet
 Stafford, Ted            06/22/2017      Access while traveling for Westinghouse Electric          $8.00
                                          Company for meeting with Foley and WEC
Subtotal for
InternetAccess while
Traveling:                                                                                         $16.00


Meals
                                          BILL BAR BGR PIT 00A PITTSBURG Lunch
                                          during travel for Westinghouse Electric Company
 Minars, Scott            04/03/2017                                                               $25.00
                                          for client services meeting ATTENDEES: Scott
                                          Minars



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Category               Date            Description                                        Amount



Meals
                                       DULLESAIRAUBONPAIN26 STERLING Breakfast
                                       during travel for Westinghouse Electric Company
 Collins, Bryan        04/04/2017                                                           $2.28
                                       for meeting/presentation ATTENDEES: Bryan
                                       Collins
                                       CHICK FIL A 65000000 PITTSBURG Dinner
                                       during travel for Westinghouse Electric Company
 Collins, Bryan        04/04/2017                                                           $7.76
                                       formeeting/presentation ATTENDEES: Bryan
                                       Collins
                                       CRAZY MOCHA WINTERGA Pittsburg breakfast
                                       during travel for Westinghouse Electric Company
 Collins, Bryan        04/04/2017                                                           $2.03
                                       formeeting/presentation ATTENDEES: Bryan
                                       Collins
                                       TGI FRIDAYS #1500 00 PITTSBURG Dinner
                                       during travel for Westinghouse Electric Company
 Tzavelis, Elias       04/04/2017                                                          $50.00
                                       for client services meeting ATTENDEES: Elias
                                       Tzavelis,Scott Minars
                                       WESTIN CONV CTR PITT PITTSBURG Breakfast
                                       for travel for Westinghouse Electric Company for
 Tzavelis, Elias       04/04/2017                                                          $15.00
                                       client service meeting ATTENDEES: Elias
                                       Tzavelis
                                       LA MADELEINE #052 00 DALLAS Business lunch
 Johnston, Josh        04/11/2017      while attending conference call ATTENDEES:          $10.06
                                       Josh Johnston
                                       UNITED CLUB DFW LIQU DFW AIRPO Lunch
 Minars, Scott         04/21/2017      during travel for Westinghouse Electric Company     $17.24
                                       ATTENDEES: Scott Minars
                                       GROVE EWR THE GROVE NEWARK Breakfast
 Sasso, Anthony        04/24/2017      during travel for Westinghouse Electric Company      $4.76
                                       ATTENDEES: Anthony Sasso
                                       PITTSBURGH NORTH AT CRANBERRY Dinner
                                       while traveling for Westinghouse Electric
 Minars, Scott         04/25/2017                                                          $25.00
                                       Company for client service meeting ATTENDEES:
                                       Scott Minars
                                       PITTSBURGH NORTH AT CRANBERRY
                                       Breakfast for travel for Westinghouse Electric
 Minars, Scott         04/26/2017                                                           $7.63
                                       Company for client service meeting ATTENDEES:
                                       Scott Minars


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Category               Date            Description                                              Amount



Meals
                                       MARRIOTT PITTSBURGH- CRANBERRY
 Sasso, Anthony        04/26/2017      Breakfast during travel for Westinghouse Electric         $14.46
                                       Company ATTENDEES: Anthony Sasso
                                       QUAKER STEAK & LUBE PITTSBURG Dinner
 Sasso, Anthony        04/26/2017      during travel for Westinghouse Electric Company           $50.00
                                       ATTENDEES: Anthony Sasso,Scott Minars
                                       HUDSONNEWS ST27 000 FLUSHING Dinner
                                       during travel for Westinghouse Electric Company
 Stafford, Ted         06/22/2017                                                                 $7.73
                                       for meeting with Foley and WEC. ATTENDEES:
                                       Ted Stafford
                                       LAGUARDIAAUBONPAIN72 NEW YORK Dinner
                                       during travel for Westinghouse Electric Company
 Stafford, Ted         07/05/2017                                                                $13.15
                                       for meeting with Foley and WEC ATTENDEES:
                                       Ted Stafford
                                       HYO DONG GAK 0000000 NEW YORK Dinner
 Stanton, Steven       07/06/2017      during travel for client meeting ATTENDEES:               $21.95
                                       Steven Stanton
                                       BWI TRAIN STATION #1 BALTIMORE Breakfast
 Stanton, Steven       07/06/2017      during travel for client meeting ATTENDEES:               $11.31
                                       Steven Stanton
                                       LGAAIRPORTRESTAURANT JAMAICA Dinner
                                       during travel for Westinghouse Electric Company
 Stafford, Ted         07/07/2017                                                                $34.58
                                       for meeting with Foley and WEC ATTENDEES:
                                       Ted Stafford
                                       CANTINA LAREDO DLF 0 DALLAS Dinner during
                                       travel for Westinghouse Electric Company for
 Stafford, Ted         07/16/2017                                                                $22.23
                                       Board meeting preparation with Foley and WEC
                                       ATTENDEES: Ted Stafford
                                       SHERATON PITTSBURGH CORAOPLIS
                                       Breakfast for travel for Westinghouse Electric
 Stafford, Ted         07/16/2017                                                                $15.00
                                       Company for meeting with Foley and WEC
                                       ATTENDEES: Ted Stafford
                                       MARTINI BAR 0067 PITTSBURG Dinner during
                                       travel for Westinghouse Electric Company for
 Cohen, Mark           07/17/2017      travel to Pittsburgh to attend meeting with counsel,     $138.56
                                       WEC personnel and WEC board ATTENDEES:
                                       Mark Cohen,Scott Minars,Ted Stafford


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                      Westinghouse Electric Company LLC
                      Deloitte Financial Advisory Services LLP
           Expenses Sorted by Category for the Fee Period
                                    March 29, 2017 - March 31, 2018



Category                  Date            Description                                              Amount



Meals
                                          TGI FRIDAYS PITTSBURG Lunch during travel
                                          for Westinghouse Electric Company for client
 Minars, Scott            07/17/2017                                                                $50.00
                                          service meeting ATTENDEES: Scott Minars,Mark
                                          Cohen
                                          HUDSON NEWS ST421 00 PITTSBURG
                                          Breakfast during travel for Westinghouse Electric
 Stafford, Ted            07/17/2017                                                                 $4.98
                                          Company for Board meeting preparation with
                                          Foley and WEC ATTENDEES: Ted Stafford
                                          STARBUCKS BAG 681516 PITTSBURG Lunch
                                          during travel for Westinghouse Electric Company
 Minars, Scott            07/18/2017                                                                 $8.03
                                          for client service meeting ATTENDEES: Scott
                                          Minars,Mark Cohen
 Stafford, Ted            10/08/2017      Dinner in New York, NY                                    $16.13
 Stanton, Steven          10/09/2017      Breakfast in New York, NY                                  $6.50
 Strahle, Robert          10/09/2017      Dinner in New York, NY                                    $78.33
 Stafford, Ted            10/10/2017      Breakfast in New York, NY                                  $5.17
 Stafford, Ted            10/11/2017      Breakfast in New York, NY                                 $11.43
 Stanton, Steven          10/11/2017      Breakfast in New York, NY                                  $5.62
 Stafford, Ted            10/12/2017      Lunch in New York, NY                                     $21.20
 Letts, Joshua            11/09/2017      Dinner in New York, NY.                                   $30.75
 Stanton, Steven          11/09/2017      Dinner in New York, NY.                                   $50.00
 Letts, Joshua            11/10/2017      Breakfast in New York, NY.                                 $3.04
 Stafford, Ted            11/10/2017      Lunch for T. Stafford, J. Letts in Flushing, NY.          $23.15
Subtotal for Meals:                                                                                $810.06


Telephone, Conference
                                          CONFERENCING 0848700 800-47506 for client
 Minars, Scott            04/04/2017                                                                 $2.23
                                          meeting
                                          CONFERENCING 0848700 800-47506 for client
 Minars, Scott            04/04/2017                                                                 $0.18
                                          meeting
                                          CONFERENCING 0848700 800-47506 for client
 Minars, Scott            04/06/2017                                                                 $2.30
                                          meeting

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                    Westinghouse Electric Company LLC
                   Deloitte Financial Advisory Services LLP
           Expenses Sorted by Category for the Fee Period
                                     March 29, 2017 - March 31, 2018



Category                   Date            Description                                             Amount



Telephone, Conference
                                           CONFERENCING 0848700 800-47506 for client
 Minars, Scott             04/06/2017                                                                $2.90
                                           meeting
                                           CONFERENCING 0848700 800-47506 for client
 Minars, Scott             07/09/2017                                                                $0.16
                                           meeting
                                           CONFERENCING 0848700 800-47506 for client
 Minars, Scott             07/10/2017                                                                $1.25
                                           meeting
                                           CONFERENCING 0848700 800-47506 for client
 Sturiale, Lisa            07/27/2017                                                                $1.61
                                           meeting
                                           CONFERENCING 0848700 800-47506 Call with
 Sturiale, Lisa            08/07/2017      client and L. Sturiale and D. McGonigle (Deloitte)        $2.24
                                           to discuss potential changes to memo
 Cohen, Mark               10/02/2017      Conference call expense                                   $2.02
Subtotal for Telephone,
Conference:                                                                                        $14.89
Total                                                                                           $18,789.57




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              Westinghouse Electric Company LLC
             Deloitte Financial Advisory Services LLP
    Expenses Sorted by Category for the Fee Period
                            March 29, 2017 - March 31, 2018




                                    Recapitulation
   Category                                                              Amount

   Airfare                                                          $8,149.58

   Hotel                                                            $5,988.29

   Ground Transportation                                            $3,810.75

   Meals                                                                 $810.06

   InternetAccess while Traveling                                         $16.00

   Telephone, Conference                                                  $14.89




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                            EXHIBIT C
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 Deloitte Financial Advisory Services LLP
 555 12th Street NW Suite 400
 Washington, DC 20004-1207
 Telephone: 202.220.2120
 Facsimile: 855.405.2590
 Steven Stanton

 Financial Advisory Services Provided
 --------------------------------------------------------------- |
 In re:                                                          |
                                                                 | Chapter 11
 WESTINGHOUSE ELECTRIC COMPANY                                   |
 LLC, et al., 1                                                  | Case No. 17-10751 (MEW)
                                   Debtors.                      |
                                                                 | (Jointly Administered)
 --------------------------------------------------------------- |

     CERTIFICATION UNDER GUIDELINES FOR FEES AND DISBURSEMENTS
        FOR PROFESSIONALS IN RESPECT OF FINAL FEE APPLICATION
 BY DELOITTE FINANCIAL ADVISORY SERVICES LLP FOR COMPENSATION FOR
    SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED
  AS FINANCIAL ADVISORY SERVICES PROVIDER TO THE DEBTORS FOR THE
             PERIOD MARCH 29, 2017 THROUGH MARCH 31, 2018
 Steven Stanton, deposes and says:
                     1.        I am a managing director of Deloitte Financial Advisory Services LLP
 (“Deloitte FAS”), which has an office located at 555 12th Street NW, Suite 400, Washington, DC
 20004.       I make this certification in connection with the final fee application (the “Final
 Application”) of Deloitte FAS, in the above-captioned debtors’ (the “Debtors”) chapter 11 cases.
                     2.        I submit this certification with respect to Deloitte FAS’s compliance with
 and pursuant to the Court’s General Order M-447, the Amended Guidelines for Fees and
 Disbursements for Professionals in the Southern District of New York adopted by the Court on
 November 25, 2009 (the “Local Guidelines”), and the United States Trustee Guidelines for


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   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, if any,
 are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833), Fauske and Associates LLC
 (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR Nuclear Holding Co., Inc. (7944), PaR
 Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services, LLC (0436), Shaw Nuclear Services, Inc. (6250),
 Stone & Webster Asia Inc. (1348), Stone & Webster Construction Inc. (1673), Stone & Webster, Inc. d/b/a WECTEC Global
 Project Services Inc. (8572); Stone & Webster International Inc. (1586), Stone & Webster Services LLC (5448), Toshiba Nuclear
 Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina Energy Solutions, Inc. (8735),
 WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining Solutions,
 LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC Contractors Inc. (4168),
 WECTEC LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse
 Industry Products International Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse
 Technology Licensing Company LLC (5961). The Debtors’ principal offices are located at 1000 Westinghouse Drive, Cranberry
 Township, Pennsylvania 16066.
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 Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C.
 330, effective January 30, 1996 (the “UST Guidelines”) (collectively, and with the Order to
 Establish Procedures for Interim Compensation and Reimbursement of Expenses of Professionals
 entered in these cases on May 24, 2017 (the “Compensation Order”) the “Guidelines”).
               3.       In compliance with the Guidelines, I hereby certify that:

                        a.     I have read the Final Application and am familiar with the services

               for which compensation is being sought that are described therein;

                        b.     To the best of my knowledge, information and belief, the fees and

               disbursement sought in the Final Application are in substantial compliance with the

               Guidelines.

                        c.     The fees and disbursements sought in the Final Application are

               billed at rates or in accordance with practice customarily employed by Deloitte FAS

               for similar services and generally accepted by Deloitte FAS’s clients.

                        d.     To the extent applicable, Deloitte FAS has not made a profit with

               respect to the expenses, if any, requested in the Final Application.

                        e.     No agreement or understanding exists between Deloitte FAS and

               any other non-affiliated person or persons for the sharing of compensation received

               or to be received for professional services rendered in or in connection with these

               cases.

                        f.     Deloitte FAS has not entered into any agreement with the office of

               the United States Trustee, the Debtors, any creditor or any other party in interest,

               for the purpose of fixing the amount of any of the fees or other compensation

               allowed out of or paid from the assets of the Debtors.

                        g.     Copies of the Final Application were provided to the appropriate

               parties on or about the date set for the filing of applications by the Compensation

               Order.


                                              /s/ Steven Stanton
                                              Steven Stanton
                                              Managing Director
                                                  2
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 Dated: October 1, 2018




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